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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS



 NATIONAL ASSOCIATION FOR GUN RIGHTS,
 and JOSEPH R. CAPEN,

               Plaintiffs,                                    Civil Action No. 1:22-cv-11431-FDS

      v.

 ANDREA JOY CAMPBELL, in her official
 capacity as Attorney General of the Commonwealth
 of Massachusetts,

               Defendant.



                                      Declaration of Grace Gohlke

        I, Grace Gohlke, hereby depose and state:

        1.        I am an Assistant Attorney General at the Massachusetts Office of the Attorney

General and am a member in good standing of the Massachusetts bar. I represent the Defendant

in this matter.

        2.        I make this declaration in opposition to the Plaintiffs’ Motion for Preliminary

Injunction. Unless stated otherwise, I have personal knowledge of the facts set forth herein and

am competent to testify thereto.

        3.        Attached as exhibits are true and correct copies of the following documents:

     EXHIBIT                 EXHIBIT DESCRIPTION

           1                 Violence Policy Center, The Militarization of the U.S.
                             Civilian Firearms Market (2011) (excerpt)

           2                 H.R. Rep. No. 103–489, Public Safety and Recreational
                             Firearms Use Protection Act (May 2, 1994)
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3           Pub. L. No. 103–322; 108 Stat. 1796 (1994) (excerpts)

4           Ellen J. Silberman, Acting gov urging strong action vs. assault weapons,
            BOSTON HERALD (June 18, 1998)

5           Press Release, Romney signs off on permanent assault
            weapons ban (July 1, 2004)

6           A. Lambiaso, Romney Signs Assault Weapons Ban
            Extension, Changes in Gun Licensing, STATE HOUSE NEWS SERVICE,
            (July 1, 2004)

7           National Rifle Association, THE BASICS OF PERSONAL PROTECTION IN
            THE HOME (2000) (excerpt)

8           National Rifle Association, NRA GUIDE TO PERSONAL PROTECTION
            OUTSIDE THE HOME (2006) (excerpt)

9           D. Long, The Complete AR-15/M16 Sourcebook (2d ed.
            2001) (excerpt)

10          Department of the Army, Rifle Marksmanship: M16-/M4-Series
            Weapons (August 2008) (excerpts)

11          Bureau of Alcohol, Tobacco, and Firearms, Study in the
            Importability of Certain Shotguns (2011)

12          1782 Mass. Acts 119, ch. 46, An Act in addition to the several acts
            already made for the Prudent Storage of Gun Powder Within the Town
            of Boston (Mar. 1, 1783)

13          1706-7 Mass. Acts ch. 4, reprinted in Acts and Resolves Passed by the
            General Court 588 (1869)

14          1821 Me. Laws 98, chap. 25, § 5, An Act for the Prevention of Damage
            by Fire, and the Safe Keeping of Gun Powder

15          An Act against wearing Swords, &c., Ch. IX (1686), printed in The
            Grants, Concessions, and Original Constitutions of the Province of New
            Jersey (1881)

16          1879 Tenn. Pub. Acts 81, ch. 90, § 1, An Act to Preserve the Peace and
            to Prevent Homicide

17          Acts of the General Assembly of Arkansas, No. 96 § 3 (1881)


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        18             Offenses against the Public Peace, Sec. III, Art. 73-76, William A.
                       Hotchkiss, Codification of the Statute Law of Georgia, 739 (Savannah:
                       J. M. Cooper, 1845)

        19             H. Sher, What I Saw Treating the Victims From Parkland Should
                       Change the Debate on Guns, THE ATLANTIC (Feb.22, 2018) (“The
                       bullets fired by an AR-15 are different: They travel at a higher velocity
                       and are far more lethal than routine bullets fired from a handgun.”)

        20             J. Henderson, “There’s Nothing to Repair”: Emergency Docs on
                       Injuries from Assault Weapons, MEDPAGE TODAY (May 31, 2022)

        21             G. Kolata & C.J. Chivers, Wounds from Military-Style Rifles? ‘A
                       Ghastly Thing to See’, N.Y. TIMES (March 4, 2018)

        22             T. Craig et al., As the Wounded Kept Coming, Hospitals Dealt with
                       Injuries Rarely Seen in U.S., WASH. POST (Oct. 3, 2017)

        23             P. Stefanopoulos et al., Gunshot Wounds: A Review of Ballistics Related
                       to Penetrating Trauma, 3 J. ACUTE DISEASE 178 (2014)

        24             P. Rhee et al., Gunshot Wounds: A review of Ballistics, Bullets,
                       Weapons and Myths, 80 J TRAUMA ACUTE CARE SURG 6 (2016)

        25             E. Moore, Another Mass Shooting: Time to Ban the Assault Rifle, 84 J
                       TRAUMA ACUTE CARE SURG 6 (2018)



        I declare under penalty of perjury on this 31st day of January, 2023 that the foregoing is
true and correct.



                                                     /s/ Grace Gohlke____________
                                                     Grace Gohlke




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                       EXHIBIT 1
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       JUNE 2011




       The Militarization
       of the U.S. Civilian
       Firearms Market


       W W W.V P C . O R G




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ASSAULT RIFLES AND ASSAULT PISTOLS

In the mid-1980s, the industry found another niche market—semiautomatic assault weapons.

Semiautomatic assault weapons are civilian versions of automatic military assault riﬂes (like the AK-47, the
M-16, and FN’s high-tech P-90) and automatic military assault pistols (like the UZI).28

The military weapons “look” the same as the civilian weapons because they are functionally virtually identical.
They differ only in one feature: military assault riﬂes are “machine guns.” A machine gun ﬁres continuously
as long as its trigger is held back—until it runs out of ammunition. Civilian assault riﬂes are semi-automatic
weapons. The trigger of a semiautomatic weapon must be pulled back separately for each round ﬁred.

Because federal law has banned the sale of new machine guns to civilians since 1986,29 and heavily regulates
sales to civilians of pre-1986 machine guns, there is virtually no civilian market for military assault weapons.
The gun industry introduced semiautomatic versions of these deadly military assault weapons in order to
create and exploit civilian markets.




                                                            In his 1986 book pro-gun author Duncan
                                                            Long dismissed in the quote above
                                                            the suggestion that semiautomatic
                                                            civilian assault riﬂes were different in
                                                            any substantial way from their military
                                                            counterparts. The gun lobby has spent
                                                            three decades trying to “rebrand” civilian
                                                            assault riﬂes as mere sporting guns.




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The world’s armies developed assault weapons to meet speciﬁc combat needs. All assault weapons—military
and civilian alike—incorporate speciﬁc features that were designed for laying down a high volume of ﬁre over
a wide killing zone. This is sometimes known as “hosing down” an area. Civilian assault weapons feature the
speciﬁc military design features that make spray-ﬁring easy and distinguish assault weapons from traditional
sporting ﬁrearms.

The most important of these design features are—

Q    High-capacity detachable ammunition magazines that hold as many as 75 rounds of ammunition.

Q    A rear pistol grip (handle), including so-called “thumbhole stocks” and magazines that function like
     pistol grips.

Q   A forward grip or barrel shroud. Forward grips (located under the barrel or the forward stock) give a
     shooter greater control over a weapon during ﬁring.

A gun industry observer summed up the design in September 2009:

     From the minute you get your first modern, AR-style rifle, the first thing that you notice is the
     fact that it truly is one of the most ergonomic long guns you’ll ever put to your shoulder. Makes
     sense, it was designed to take young men, many of whom had never fired a gun of any sort
     before, and quickly make them capable of running the rifle—effectively—in the most extreme
     duress, armed combat. 30




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 AK manual, gun magazine, and riﬂe book illustrate assault riﬂe “hosing down” technique.

Imports—AK-47 Variants. The Soviet Army’s premier assault riﬂe, the AK-47, went into service in 1947. The
AK-47 has been made in many variants since then. It is said to be the most widely-distributed riﬂe in the world.

China was directly responsible for the AK boom in the United States. The country exported few guns to the
United States until 1987, when Chinese riﬂe imports—mostly semiautomatic versions of the AK-47—surged.
The ﬂood of Chinese riﬂes reached 64 percent of all riﬂes imported into the United States in 1993.31

The executive branch has clear, existing authority under the Gun Control Act of 1968 to completely prohibit
the import of any “non-sporting” ﬁrearm, such as these military-derived weapons.32 In 1989, the George H.W.
Bush administration blocked the importation of foreign-made semiautomatic assault riﬂes such as the AK
variants. After the gun industry devised ways to skate around this ban with minor design changes, the Clinton
administration acted again to cut off the ﬂood of so-called “rule beaters.”




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The George W. Bush administration, however, completely and surreptitiously abrogated the ﬁrst Bush
and Clinton import rules. The Obama administration has done nothing to reinstate the earlier tough rules.
Accordingly, Eastern European gun manufacturers have taken the place of the Chinese gun makers. They are
supplying millions of AK-47-type weapons to the U.S. civilian market through licensed importers.




 Guns & Ammo ad for AK-type riﬂes from China in December 1985 (lower right). Since
 George W. Bush’s administration opened the assault riﬂe ﬂoodgates again, AK-type riﬂes
 have poured in from Eastern Europe, as evidenced by this May 20, 2010, ad for J&G Sales
 from Shotgun News, which is typical of fare in the popular publication.


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Domestic Production—AR-15 Variants of the M-16. After studying over three million casualty reports from
World Wars I and II, and data from the Korean War, the U.S. Army concluded, “Marksmanship was not as
important as volume.” Accordingly, it decided in the 1960s to replace its M-14 battle riﬂe with the M-16
assault riﬂe.33

The gun industry quickly churned out civilian versions of the M-16, labeling the semiautomatic model the
“AR-15” (the same designation as the prototype military assault riﬂe). “With the number of companies making
those particular black riﬂes today, it’s tough to keep up them [sic],” a gun industry insider wrote in 2009.34




                              The gun industry created a vast market for
                              AR-15 civilian versions of the U.S. military’s
                              M-16 assault riﬂe.




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Manufacturers have recently introduced assault riﬂes in 22 caliber, considerably cheaper than the .223
ammunition of the usual AR-15 semiautomatic assault riﬂe. The lighter weapons also provide an entry model
for later transition to higher-caliber riﬂes. For example, in August 2009 Smith & Wesson began shipments of
its M&P15-22 semiautomatic assault riﬂe. Here is how one gun writer enthused about the new model:

     ...the M&P15-22 might be the ﬁrst .22 LR AR platform that actually is appropriate for consumers,
     law enforcement and military use that can be used to teach AR operations and basic marksmanship
     skills and know there will be no modiﬁcations necessary to transition to the myriad of other AR
     calibers available.35




 The industry has lately pushed 22 caliber semiautomatic assault riﬂes.




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The 1994 Assault Weapons “Ban” and the Rise of Bushmaster. In 1994, Congress passed a ban on the
production of certain semiautomatic assault weapons as well as new high-capacity ammunition magazines
that held more than 10 rounds. The law banned speciﬁc assault weapons by name and also classiﬁed as assault
weapons semiautomatic ﬁrearms that could accept a detachable ammunition magazine and had two additional
assault weapon design characteristics.36

Because the law listed merely cosmetic features (like bayonet mounts) and did not address the fundamental
design of assault weapons, it was ineffective. The gun industry quickly made slight design changes in “post-
ban” guns to evade the law, a tactic gunmakers dubbed “sporterization.” One of the most aggressive of the
manufacturers of ”post-ban” ARs was Bushmaster Firearms. A Bushmaster XM15 M4 A3 assault riﬂe was
used by the Washington, D.C.-area snipers to kill 10 and injure three in October 2002. A poster child for the
industry’s success at evading the ban, the snipers’ Bushmaster was marketed as a “Post-Ban Carbine.”

The 1994 law expired (“sunset”) on September 13, 2004.




 The Washington, D.C.-area “Beltway Snipers” used the Bushmaster semiautomatic assault
 riﬂe being shown at left above. Among Bushmaster’s latest AR-type assault riﬂes is the
 “Adaptive Combat Riﬂe” featured on the cover of the NRA’s May 2010 American Riﬂeman.




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Assault Pistols—UZI, Ingram, Intratec, and More. A particularly deadly variant in the gun industry’s marketing
program has been the sale of civilian assault pistols, which are for the most part simply semiautomatic
versions of submachine guns. Firearms expert Duncan Long explained the marketing basis of this trend in his
book The Terrifying Three: Uzi, Ingram, and Intratec Weapons Families:

     As the militaries of the world increasingly rely on assault riﬂes to ﬁll the submachine gun role,
     making money on a new submachine gun design becomes harder and harder....Citizens purchasing
     ﬁrearms for everything from plinking to self-defense have provided a lucrative market, especially in
     the United States. Those weapons produced for the civilian market are generally semiauto versions
     of the automatic weapons, often modiﬁed slightly to conform to U.S. ﬁrearms laws.37

A more recent development has been the introduction of AK-47 type pistols, which combine all the deadly
design characteristics of the military-style assault riﬂe with the greater concealability of the handgun.




 Gun dealers offer AK-47 type semiautomatic assault pistols, like the Draco above, through
 the Internet.




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THE ASSAULT WEAPONS HYPE MARKET

The 1980s Explosion. Assault weapons quickly became hot items on the civilian market in the 1980s for a
variety of reasons. For manufacturers, assault weapons helped counter the mid-1980s decline in handgun
sales. Criminals—especially drug traffickers—were drawn to assault weapons’ massive ﬁrepower, useful for
ﬁghting police and especially competing traffickers. Survivalists—who envisioned themselves fending off a
horde of desperate neighbors from within their bomb shelters—loved the combat features of high ammunition
capacity and anti-personnel striking power of assault weapons. Right-wing paramilitary extremists, in their
ongoing battle against the “Zionist Occupational Government,” made these easily purchased ﬁrearms their
gun of choice. And for gun enthusiast fans of popular entertainment—Rambo and Miami Vice—semiautomatic
assault weapons offered the look and feel of the “real thing.”




 German manufacturer Heckler & Koch pushed the civilian version of its military assault
 riﬂe in a series of ads—like these from Guns & Ammo magazine—in the mid-1980s
 stressing “survivalist” themes.




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The Y2K Exploitation. The gun industry has ever since poured its efforts into new assault weapons designs
and into their heavy marketing. One example of the industry’s cynicism was its deliberate exploitation of
widespread fears of a “breakdown” in public order at the turn of the millennium (“Y2K”).38

In the January 1999 issue of Shooting Sports Retailer, editor Bob Rogers predicted, “Amidst social turmoil and
disintegrating economic underpinnings, you will sell more guns in 1999 than you’ve ever sold in your life.”39
Shooting Industry’s Russ Thurman asked readers, “Are you cashing in on the new millennium?”40

The prime danger, the gun industry luridly suggested, was that of rampaging humans: “...since the Have Nots
won’t hesitate to break in and take from the Haves, plan on close contact. And plan on being outnumbered.
High-capacity riﬂes, pistols and shotguns are obvious choices.”41 But domestic pets could also become a threat
to life in the gun industry’s bizarre world: “One might also need to quickly stop a dog or dogs who through
starvation revert to wild beasts. Dogs take a lot of killing, so a powerful round and good shot placement will be
necessary should this distasteful task arise.”42




 Premier gun industry magazine Shooting Industry advised dealers in September 1999 (left)
 that “...taking advantage of the Y2K ‘scare’ is smart business....” In January 2000 the
 magazine reported that “...predictions of massive unrest...prompted gunowners to stock-up
 [sic] on ammunition.”




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Gun World’s Y2K Daisy Chain




Gun World magazine not only published its own article in 1999 about how to “survive
Y2K”—it also referred its readers to its sister publication American Survival Guide, in which
appeared another article of survival advice written by Gun World editor Jan Libourel.




                Typical Y2K gun ads from 1999 are shown above.

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Continuing Incitement. The gun industry, the NRA, and the gun press have exploited every real and imagined
public fear since the 1980s—including the terror attacks of September 2001, Hurricane Katrina, “spillover” of
border violence, and concerns about violent “illegal” immigrants. The industry’s propaganda added fuel to the
militia movement in the 1990s. Lethal confrontations occurred between federal law enforcement and civilians
heavily armed with military-style weapons at Waco, Texas, and Ruby Ridge, Idaho. Barack Obama’s election,
and fears that he would push an anti-gun agenda, ignited growth in the “militia”movement and a disturbing
trend of open display of assault weapons near Presidential speaking engagements.43




The ad for a Benelli shotgun on the left, from the NRA’s 2010 annual meeting brochure,
ostensibly speaks to a “revolution” in shotgun design. The ad for the “tactical” shotgun on
the right, from the September 2010 Guns & Ammo magazine, links “homeland security” to
“Iraq, Afghanistan, Your Livingroom.”




                              THE MILITARIZATION OF THE U.S. CIVILIAN FIREARMS MARKET   VIOLENCE POLICY CENTER |   32
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 The NRA pamphlet Freedom in Peril warns, “Second Amendment freedom today stands
 naked....” Laced with ugly stereotypes of the gun lobby’s political enemies—a classic
 technique for dehumanizing “the other”—it suggests “towering waves” of danger from
 ethnic and racial gangs. “Sometimes,” the brochure suggestively states, “any hope of
 prevailing rests in the hearts and hands of a very urgent few....”




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                                            THE COMMONWEALTH OF MASSACHUSETTS
                                                  EXECUTIVE DEPARTMENT
                                                 STATE HOUSE     BOSTON, MA 02133
                                                          (617) 725-4000

 mitt romney
 governor
 kerry healey
 lieutenant governor


FOR IMMEDIATE RELEASE:                                                       CONTACT:
July 1, 2004                                                                 Shawn Feddeman
                                                                             Nicole St. Peter
                                                                             (617) 725-4025

                  ROMNEY SIGNS OFF ON PERMANENT ASSAULT WEAPONS BAN
                      Legislation also makes improvements to gun licensing system

In a move that will help keep the streets and neighborhoods of Massachusetts safe, Governor Mitt
Romney today signed into law a permanent assault weapons ban that forever makes it harder for
criminals to get their hands on these dangerous guns.

“Deadly assault weapons have no place in Massachusetts,” Romney said, at a bill signing ceremony
with legislators, sportsmen’s groups and gun safety advocates. “These guns are not made for
recreation or self-defense. They are instruments of destruction with the sole purpose of hunting
down and killing people.”

Like the federal assault weapons ban, the state ban, put in place in 1998, was scheduled to expire in
September. The new law ensures these deadly weapons, including AK-47s, UZIs and Mac-10 rifles,
are permanently prohibited in Massachusetts no matter what happens on the federal level.

“We are pleased to mark an important victory in the fight against crime,” said Lieutenant Governor
Kerry Healey. “The most important job of state government is ensuring public safety. Governor
Romney and I are determined to do whatever it takes to stop the flood of dangerous weapons into our
cities and towns and to make Massachusetts safer for law-abiding citizens.”

The new law also makes a number of improvements to the current gun licensing system, including:

      • Extending the term of a firearm identification card and a license to carry firearms from four
        years to six years;
      • Granting a 90-day grace period for holders of firearm identification cards and licenses to carry
        who have applied for renewal; and
      • Creating a seven-member Firearm License Review Board to review firearm license
        applications that have been denied.

“This is truly a great day for Massachusetts’ sportsmen and women,” said Senator Stephen M.
Brewer. “These reforms correct some serious mistakes that were made during the gun debate in
1998, when many of our state’s gun owners were stripped of their long-standing rights to own
firearms. I applaud Senate President Travaglini for allowing the Senate to undertake this necessary
legislation.”



http://web.archive.org/web/20040804033123/http:/www.mass.gov/portal/govPR.jsp?gov_pr... 9/1/2017
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“I want to congratulate everyone that has worked so hard on this issue,” said Representative George
Peterson. “Because of their dedication, we are here today to sign into law this consensus piece of
legislation. This change will go a long way toward fixing the flaws created by the 1998 law.
Another key piece to this legislation addresses those citizens who have applied for renewals. If the
government does not process their renewal in a timely fashion, those citizens won't be put at risk
because of the 90 day grace period that is being adopted today.”

“Never before has there been such bi-partisan cooperation in the passage of gun safety legislation of
this magnitude in this nation,” said John Rosenthal, co-founder and chair of Stop Handgun Violence.
“I applaud the leadership of the Governor, Senate President, House Speaker and entire Legislature
for passage of this assault weapons ban renewal. They have shown that Massachusetts can continue
to lead the nation in protecting the public and law enforcement from military style assault weapons.”

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                                                           FM 3-22.9
               RIFLE MARKSMANSHIP
              M16-/M4-SERIES WEAPONS




                           August 2008
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Change 1                                                                                    Headquarters
                                                                                 Department of the Army
                                                                        Washington, DC, 10 February 2011

                                    Rifle Marksmanship
                                  M16-/M4-Series Weapons
    1. Change FM 3-22.9, 12 August 2008, as follows:

            Remove old pages:                               Insert new pages:

            No pages                                        Summary of Changes
            i through xiv                                   i through xiv
            5-3 through 5-4                                 5-3 through 5-4
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            Index-1 to Index-16                             Index-1 to Index-14
            DA Form 5789-R                                  DA Form 5789-R
            DA Form 5790-R                                  DA Form 5790-R
            No pages                                        DA Form 7682-R

    2. A star (*) marks new or changed material.

    3. File this transmittal sheet in front of the publication.

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                                                                  General, United States Army
                                                                         Chief of Staff
Official:




                JOYCE E. MORROW
             Administrative Assistant to the
                Secretary of the Army
                       1034702

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FIRING FROM WINDOWS
      7-11. When firing from windows, Soldiers should stay in the shadows and make sure that the weapon's
      muzzle does not protrude out of the opening (Figure 7-7).




                                      Figure 7-7. Firing from a window.

  SECTION II. COMBAT FIRE TECHNIQUES
Combat is the ultimate test of a Soldier's ability to apply the fundamentals of marksmanship and firing skills.
Soldiers must apply the marksmanship skills mastered during training, practice, and record fire exercises to
many combat situations (for example, attack, assault, ambush, or UO). Although these situations present
problems, basic techniques and fundamentals require only two modifications: changes to the rate of fire and
alterations in weapon/target alignment.

            NOTE: The necessary changes are significant and must be thoroughly taught and practiced
            before performing LFXs.


RAPID SEMIAUTOMATIC FIRE
      7-12. The most important firing technique during fast-moving, modern combat is rapid semiautomatic fire.
      It is the most accurate technique of placing a large volume of fire on poorly defined targets or target areas,
      such as short exposure, multiple, or moving targets. To apply rapid semiautomatic fire, the Soldier
      intentionally fires a quick series of shots into the target area to ensure a high probability of a hit.

            NOTE: Increased speed and volume should be sought only after the Soldier has demonstrated
            expertise and accuracy during slow semiautomatic fire.




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EFFECTIVENESS AND CONTROL OF RAPID SEMIAUTOMATIC FIRE
    7-13. With proper training, Soldiers can select the appropriate mode of fire: semiautomatic fire, rapid
    semiautomatic fire, or automatic/burst fire.

          NOTE: Leaders must ensure that Soldiers apply proper fire discipline at all times. Even in
          training, unaimed fire must never be tolerated, especially unaimed automatic fire.

    7-14. While Soldiers sacrifice some degree of accuracy to deliver a greater volume of fire, it is surprising
    how devastatingly accurate rapid semiautomatic fire can be. At ranges beyond 25 meters, rapid
    semiautomatic fire is superior to automatic fire in all measures: shots per target, trigger pulls per hit, and
    time to hit. Proper training and repeated practice increases the degree of accuracy.
    7-15. Rapid application of the four fundamentals will result in a well-aimed shot every one or two seconds.
    This technique of fire allows a unit to place the most effective volume of fire in a target area while
    conserving ammunition. It is the most accurate means of delivering suppressive fire.

MODIFICATIONS FOR RAPID SEMIAUTOMATIC FIRE
    7-16. Trainers must consider the impact of the increased rate of fire on the Soldier’s ability to properly
    apply the fundamentals of marksmanship and other combat firing skills, such as immediate action
    procedures.

Marksmanship Fundamentals
    7-17. The following paragraphs describe the modifications necessary for Soldiers to apply the four
    fundamentals when firing in the rapid semiautomatic fire mode.

Steady Position
    7-18. Consider the following modifications to achieve a steady position:
          z  Make sure that the weapon is well-supported to improve accuracy and reduce recovery time
             between shots.
          z  Grip the handgrip tightly to reduce recovery time and rapidly shift or distribute fire to
             subsequent targets.
          z  When possible, pivot the weapon where the nonfiring hand meets the support.
          z  Avoid changing the position of the nonfiring hand on the support; it is awkward and time-
             consuming when rapidly firing a series of shots.

Aiming
    7-19. Consider the following recommendations to properly aim the weapon:
          z  Do not change sighting and stock weld during rapid semiautomatic fire. Keep the cheek on the
             stock for every shot, align the firing eye with the rear aperture, and focus on the front sightpost.
          z  When using slow semiautomatic fire, seek a stable sight picture.
          z  In the fast-moving situations that require rapid semiautomatic fire, accept target movement and
             unsteady sight picture, and keep firing into the target area until the target is down or there is no
             chance of a hit.
          z  Aim every shot.

Breath Control
    7-20. Breath control must be modified because the Soldier does not have time to take a complete breath
    between shots. Consider the following modifications to achieve proper breath control:
          z   Hold your breath at some point in the firing process.
          z   Take shallow breaths between shots.



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Trigger Squeeze
       7-21. To maintain the desired rate of fire, the Soldier has a brief period of time to squeeze the trigger. The
       firer must cause the weapon to fire in about half of a second or less and still not anticipate the precise
       moment of firing. Consider the following modifications to achieve proper trigger squeeze:
              z   Apply initial trigger pressure as soon as a target is identified and while the front sightpost is
                  being brought to the desired point of aim.
              z   When the front sightpost reaches the point of aim, apply final pressure to cause the weapon to
                  fire almost at once. Apply this additional pressure, also known as final trigger squeeze, without
                  disturbing the lay of the weapon.
              z   Increase the firing rate by firing, releasing enough trigger pressure to reset the sear, and then
                  immediately firing the next shot. This technique is called rapid trigger squeeze. It eliminates the
                  time used in fully releasing pressure on the trigger and allows the firer to rapidly deliver
                  subsequent rounds.

             NOTE: Training and practice sessions are required for Soldiers to become proficient in the
             technique of rapid trigger squeeze.

       7-22. Repeated dry-fire training using simulators, such as the EST 2000 and LMTS, and live-fire practice
       ensure that the Soldier can squeeze the trigger and maintain a rapid rate of fire consistently and accurately.

Immediate Action Procedures
       7-23. To maintain an increased rate of suppressive fire, Soldiers must apply immediate action quickly.
       Repeated dry-fire practice using blanks or dummy rounds, followed by live-fire training and evaluation,
       ensures that Soldiers can rapidly apply immediate action procedures while other Soldiers initiate fire.

RAPID SEMIAUTOMATIC FIRE TRAINING
             NOTE: Soldiers should be well-trained in all aspects of slow semiautomatic firing before
             attempting any rapid semiautomatic fire training. Those who display a lack of knowledge of
             fundamental marksmanship skills should not advance to rapid semiautomatic fire training until
             these skills are learned and mastered.

       7-24. Initial training should focus on the modifications to the fundamentals and other basic combat skills
       necessary during rapid semiautomatic firing.

             NOTE: See Table 7-1 for the current training program.




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                             Table 7-1. Rapid semiautomatic fire training program.
 RAPID SEMIAUTOMATIC FIRE TRAINING PROGRAM


 Instructional Intent
      •    Soldiers learn to engage targets using rapid semiautomatic fire and practice rapid magazine changes.
 Special Instructions
 Ensure that—
     •    The M16A2/A3/A4 rifle's or M4 carbine’s rear sight is set on the 0-2 aperture.
     •    The M16A1's rear sight is set on the unmarked aperture.
     •    Soldiers use a 25-meter alternate course C qualification target.
     •    Each Soldier is given four 5-round magazines of 5.56-millimeter ball ammunition.
     •    Soldiers use rapid semiautomatic fire to engage targets.
     •    Each Soldier fires one round at each of the 10 silhouettes on the alternate course C qualification
          target.
     •    Each Soldier does a rapid magazine change after each magazine is fired.
     •    The first iteration of 10 rounds is fired within a time limit of 40 seconds.
     •    The second iteration of 10 rounds is fired within a time limit of 30 seconds.
     •    Each target is inspected, and the results are posted after each iteration.
 Observables
      •    Coaches continuously analyze the firer’s application of the fundamentals.
      •    Each Soldier obtains 14 hits out of 20 silhouette target exposures.


Conduct
   7-25. Each Soldier receives four 5-round magazines of 5.56-millimeter ball ammunition. Using rapid
   semiautomatic fire, the Soldier fires one round at each of the 10 silhouettes on the alternate course C
   qualification target. Soldiers fire two iterations, performing a rapid magazine change after each magazine is
   fired. The targets are inspected, and the results are posted after each iteration. Each Soldier must obtain 14
   hits out of 20 silhouette target exposures.
   7-26. Table 7-2 depicts the two iterations and provides related information, such as time constraints,
   number of rounds that must be fired, type of target that must be used, and the distance away from the firer
   that the target must be placed.
                Table 7-2. Rapid semiautomatic fire training and related information.
 ITERATION        TIME                   NUMBER OF                          TYPE OF TARGET                     DISTANCE
               CONSTRAINTS                ROUNDS                                                                  (m)
     1              40 sec                    10              25-m alternate course C qualification target        25
     2              30 sec                    10              25-m alternate course C qualification target        25


Dry-Fire Exercises
   7-27. Repeated dry-fire exercises are the most efficient means to ensure that Soldiers can apply
   modifications to the fundamentals. Multiple dry-fire exercises are needed, emphasizing a rapid shift in
   position and point of aim, followed by breath control and fast trigger squeeze.

          NOTES: 1.            Blanks or dummy rounds may be used to train rapid magazine changes and
                               immediate action procedures.

                        2.     The Soldier should display knowledge and skill during dry-fire exercises before
                               attempting LFXs.




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Live-Fire Exercises
       7-28. There are two types of LFXs:
             z   Individual.
             z   Collective.

Individual
       7-29. To conduct an individual LFX—
             z   Ensure that the emphasis is on each Soldier maintaining a heavy volume of accurate fire.
             z   Keep weapon downtime (during immediate action and rapid magazine changes) to a minimum.
             z   Begin by firing at shorter ranges, progressing to longer ranges as Soldiers display increased
                 proficiency.
             z   Shorten exposure or engagement times and increase the number of rounds to simulate the need
                 for a heavy volume of fire.
             z   Provide downrange feedback to determine the accuracy of fire.

Collective
       7-30. Rapid semiautomatic fire should be the primary means of delivering fire during a collective LFX. To
       conduct a collective LFX, ensure that the emphasis is on performing staggered rapid magazine changes,
       maintaining a continuous volume of fire, and conserving ammunition.

AUTOMATIC OR BURST FIRE
             NOTE: Automatic or burst fire should be trained only after the Soldier has demonstrated
             expertise during slow and rapid semiautomatic fire.

       7-31. When applying automatic or burst fire, Soldiers deliver the maximum number of rounds (one to three
       rounds per second) into a designated target area while rapidly applying the four fundamentals. This
       specialized technique of delivering suppressive fire may not apply to most combat engagements.

             NOTE: The M16A1/A3 rifle and M4A1 carbine have fully automatic settings. The M16A2/A4
             rifle and M4 carbine use a three-round burst capability.


EFFECTIVENESS AND CONTROL OF AUTOMATIC OR BURST FIRE
       7-32. Automatic or burst fire is inherently less accurate than semiautomatic fire. The first fully automatic
       shot fired may be on target, but recoil and a high cyclic rate of fire often combine to place subsequent
       rounds far from the desired point of impact. Even controlled (three-round burst) automatic or burst fire may
       place only one round on the target. Because of these inaccuracies, it is difficult to evaluate the effectiveness
       of automatic or burst fire, and even more difficult to establish absolute guidelines for its use.

FACTORS FOR USE OF SEMIAUTOMATIC VERSUS AUTOMATIC OR BURST FIRE
       7-33. Trainers must ensure that Soldiers understand the capabilities and limitations of automatic or burst
       fire. They must know when it should and should not be used.




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Semiautomatic Fire
    7-34. M16 rifles and M4 carbines should normally be employed in the semiautomatic fire mode.
    7-35. Depending on the tactical situation, Soldiers should employ the semiautomatic fire mode in the
    following conditions:
          z   Ammunition is in short supply, or resupply may be difficult.
          z   Single targets are being engaged.
          z   Widely spaced multiple targets are being engaged.
          z   The target is located more than 50 meters away.
          z   The effect of bullets on the target cannot be observed.
          z   Artificial support is not available.
          z   Targets may be effectively engaged using semiautomatic fire.

Automatic or Burst Fire
    7-36. In some combat situations, the use of automatic or burst fire can improve survivability and enhance
    mission accomplishment. Clearing buildings, final assaults, FPF, and ambushes may require limited use of
    automatic or burst fire.
    7-37. Depending on the tactical situation, Soldiers should employ automatic or burst fire in the following
    conditions:
          z    Ammunition is readily available, and there are no problems with resupply.
          z    Closely spaced multiple targets are located 50 meters away or less.
          z    Maximum fire is immediately required at an area target.
          z    Tracers or some other means can be used to observe the effect of bullets on the target.
          z    Leaders can maintain adequate control over weapons firing in the automatic fire mode.
          z    Good artificial support is available.
          z    The initial sound of gunfire disperses closely spaced enemy targets.

MODIFICATIONS FOR AUTOMATIC OR BURST FIRE
    7-38. Automatic or burst fire is inherently less accurate than semiautomatic fire. Trainers must consider the
    impact of recoil and the high cyclic rate of fire on the Soldier’s ability to properly apply the fundamentals
    of marksmanship and other combat firing skills, such as immediate action procedures and rapid magazine
    changes.

Marksmanship Fundamentals
    7-39. The following paragraphs describe the modifications necessary for Soldiers to apply the four
    fundamentals when firing in the automatic fire mode.

Steady Position
    7-40. Consider the following modifications to achieve a steady position:
          z  Make sure that the weapon is well-supported.
          z  Grip the weapon a little more firmly and pull it into the shoulder a little tighter than when in the
             semiautomatic fire mode.

          NOTE: This support and increased grip help offset the progressive displacement of
          weapon/target alignment caused by recoil.

          z   To provide maximum stability, assume the modified supported prone firing position (Figure
              7-4).



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             NOTE: If the weapon is equipped with the ARS, use the vertical pistol grip to further increase
             control of the weapon.

Aiming
       7-41. Consider the following recommendations to properly aim the weapon:
             z  Do not change sighting and stock weld during automatic or burst fire. Keep the cheek on the
                stock for every shot, align the firing eye with the rear aperture, and focus on the front sightpost.
             z  Although recoil may disrupt this process, try to apply the aiming techniques throughout recoil.

Breath Control
       7-42. Breath control must be modified because the Soldier does not have time to take a complete breath
       between shots. Consider the following modifications to achieve proper breath control:
             z   Hold your breath at some point in the firing process.
             z   Take shallow breaths between shots.

Trigger Squeeze
       7-43. Training and repeated dry-fire practice aid the Soldier in applying proper trigger squeeze during
       automatic firing. LFXs enable him to improve this skill.

M16A2/3/4 Rifles and M4 Carbines
       7-44. Until the weapon fires, trigger squeeze is applied in the normal manner. To use the burst fire mode—
             (1) Hold the trigger to the rear until three rounds are fired.
             (2) Release pressure on the trigger until it resets.
             (3) Reapply pressure for the next three-round burst.

             NOTES: 1.        Do not slap or jerk the trigger. Squeeze it, and then quickly release pressure.

                         2.   Depending on the position of the burst can when the selector is moved to the
                              burst fire mode, the weapon may fire one, two, or three rounds when the trigger
                              is held to the rear for the first time. If the weapon fires only one or two rounds,
                              quickly release pressure on the trigger and squeeze again, holding it to the rear
                              until a three-round burst is completed.

M16A1 Rifles
       7-45. Until the weapon fires, trigger squeeze is applied in the normal manner. Because three-round bursts
       are the most effective rate of fire, pressure on the trigger should be released as quickly as possible. To use
       the burst fire mode, keep the index finger on the trigger, but quickly release pressure to prevent an
       excessive number of rounds from being fired in one burst. With much dry-fire practice, the Soldier can
       become proficient at delivering three-round bursts with the squeeze/release technique.

Immediate Action
       7-46. To maintain an increased rate of suppressive fire, Soldiers must apply immediate action quickly.
       Repeated dry-fire practice using blanks or dummy rounds, followed by live-fire training and evaluation,
       ensures that Soldiers can rapidly apply immediate action procedures.

Rapid Magazine Changes
       7-47. Rapid magazine changes are vital in maintaining automatic or burst fire. Rapid magazine changes
       must be correctly taught and practiced during dry-fire and live-fire exercises until the Soldier becomes
       proficient.



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AUTOMATIC OR BURST FIRE TRAINING
            NOTE: Soldiers should be well-trained in all aspects of slow semiautomatic firing before
            attempting any automatic training. Those who display a lack of knowledge of fundamental skills
            should not advance to automatic or burst fire training until these skills are learned.

    7-48. Initial training should focus on the modifications to the fundamentals and other basic combat skills
    necessary during automatic firing.
    7-49. Unit training is vital to properly applying this technique. Soldiers must be taught the advantages and
    disadvantages of automatic and burst firing so they know when it should be used. Without this knowledge,
    Soldiers tend to switch to the automatic or burst fire mode in life-threatening situations.

            NOTE: See Table 7-3 for the current training program.

                             Table 7-3. Automatic or burst fire training program.
  AUTOMATIC OR BURST FIRE TRAINING PROGRAM


  Instructional Intent
       •    Soldiers learn the advantages and disadvantages of automatic or burst fire.
  Special Instructions
  Ensure that—
      •    The M16A2/A3/A4 rifle's or M4 carbine's rear sight is set on the 0-2 aperture.
      •    The M16A1's rear sight is set on the unmarked aperture.
      •    Soldiers use a 25-meter alternate course C qualification target.
      •    Each Soldier is in a proper modified automatic/burst firing position.
      •    Each Soldier is given two 15-round magazines of 5.56-millimeter ball ammunition.
      •    Each Soldier fires one 3-round burst at each of the 10 silhouettes on the alternate course C
           qualification target.
      •    Each Soldier does a rapid magazine change after each magazine is emptied.
  Observables
       •    Each Soldier obtains five target hits.
       •    Soldiers demonstrate control of the weapon in the automatic/burst fire mode.


Conduct
    7-50. Each Soldier receives two 15-round magazines of 5.56-millimeter ball ammunition. Each Soldier
    fires one 3-round burst at each of the 10 silhouettes on the alternate course C qualification target,
    performing a rapid magazine change after each magazine is emptied. Each Soldier must obtain five target
    hits.
    7-51. Table 7-4 depicts automatic or burst fire training and provides related information, such as number of
    rounds that must be fired, type of target that must be used, and the distance away from the firer that the
    target must be placed.
                   Table 7-4. Automatic or burst fire training and related information.
           FIRING POSITION                   NUMBER OF ROUNDS                     TYPE OF TARGET                   DISTANCE
                                                                                                                      (m)
 Modified automatic/burst firing position   30, one 3-round burst at     Alternate course C qualification target      25
                                            each of the 10 silhouettes




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Dry-Fire and Live-Fire Exercises
       7-52. Repeated dry-fire exercises are the most efficient means to ensure that Soldiers can apply
       modifications to the fundamentals. Multiple dry-fire exercises are needed, emphasizing a stable position
       and point of aim, followed by breath control and appropriate trigger squeeze.

             NOTES: 1.        Blanks or dummy rounds may be used to train trigger squeeze, rapid magazine
                              changes, and immediate action procedures.

                         2.   The Soldier should display knowledge and skill during dry-fire exercises before
                              attempting LFXs.


SUPPRESIVE FIRE
       7-53. Suppressive fire is precisely aimed at a definite point or area target. Some situations may require a
       Soldier to place suppressive fire into a wide area (for example, wood line, hedgerow, or small building)
       while, at other times, the target may be a smaller area (for example, a bunker or window). Suppressive fire
       is used to control the enemy and the area he occupies. It is employed to kill the enemy or to prevent him
       from observing the battlefield, effectively using his weapons, or moving.

EFFECTIVENESS AND CONTROL OF SUPPRESSIVE FIRE
       7-54. Many Soldiers have difficulty delivering effective suppressive fire when they cannot see a definite
       target, only likely locations or general areas where the enemy is known to exist. Even though definite
       targets cannot be seen, most suppressive fire should be well-aimed.
       7-55. When controlling suppressive fires, two factors must be considered:
             z  Point of aim.
             z  Rate of fire.

Point of Aim
       7-56. Suppressive fire should be well-aimed, sustained, semiautomatic fire. Although lacking a definite
       target, the Soldier must be taught to control and accurately deliver fire within the limits of the suppressed
       area. As when engaging a point target, the weapon sights are used, with the front sightpost placed so each
       shot impacts within the desired area.

Rate of Fire
       7-57. During most phases of live-fire training (for example, grouping, zeroing, qualifying), shots are
       delivered using slow semiautomatic fire (one round every 3 to 10 seconds). During training, this allows a
       slow and precise application of the fundamentals. Successful suppressive fire requires a faster, but
       sustained, rate of fire. Soldiers may need to fire full automatic or bursts (13 rounds per second) for a few
       seconds to gain initial fire superiority. Rapid semiautomatic fire (one round every one or two seconds)
       allows the firer to sustain a large volume of accurate fire while conserving ammunition.

MODIFICATIONS FOR SUPPRESSIVE FIRE
       7-58. The tactical situation dictates the most useful rate of fire, but the following must be considered:
             z   Marksmanship fundamentals.
             z   Rapid magazine changes.
             z   Ammunition conservation.




7-16                                                FM 3-22.9                                   12 August 2008
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                                                                                   FM 3-22.9
                                                                              12 August 2008




By Order of the Secretary of the Army:




                                                            GEORGE W. CASEY, JR.
                                                            General, United States Army
                                                                  Chief of Staff
Official:




            Administrative Assistant to the
               Secretary of the Army
                         0820409




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                        EXHIBIT 11
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 U.S. Department of Justice

 Bureau of Alcohol, Tobacco, Firearms and Explosives




                              Firearms and Explosives Industry Division




                                                                          January 2011
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                                                 Study on the Importability of Certain Shotguns

                                                               Executive Summary

The purpose of this study is to establish criteria that the Bureau of Alcohol, Tobacco, Firearms
and Explosives (ATF) will use to determine the importability of certain shotguns under the
provisions of the Gun Control Act of 1968 (GCA).

The Gun Control Act of 1968 (GCA) generally prohibits the importation of firearms into the
United States. 1 However, pursuant to 18 U.S.C. § 925(d), the GCA creates four narrow
categories of firearms that the Attorney General must authorize for importation. Under one such
category, subsection 925(d)(3), the Attorney General shall approve applications for importation
when the firearms are generally recognized as particularly suitable for or readily adaptable to
sporting purposes (the “sporting purposes test”).

After passage of the GCA in 1968, a panel was convened to provide input on the sporting
suitability standards which resulted in factoring criteria for handgun importations. Then in 1989,
and again in 1998, the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) conducted
studies to determine the sporting suitability and importability of certain firearms under section
925(d)(3). However, these studies focused mainly on a type of firearm described as
“semiautomatic assault weapons.” The 1989 study determined that assault rifles contained a
variety of physical features that distinguished them from traditional sporting rifles. The study
concluded that there were three characteristics that defined semiautomatic assault rifles.2

The 1998 study concurred with the conclusions of the 1989 study, but included a finding that
“the ability to accept a detachable large capacity magazine originally designed and produced for
a military assault weapon should be added to the list of disqualifying military configuration
features identified in 1989.” 3 Further, both studies concluded that the scope of “sporting
purposes” did not include all lawful activity, but was limited to traditional sports such as hunting,
skeet shooting, and trap shooting. This effectively narrowed the universe of firearms considered
by each study because a larger number of firearms are “particularly suitable for or readily
adaptable to a sporting purpose” if plinking 4 and police or military-style practical shooting
competitions are also included as a “sporting purpose.” 5

Although these studies provided effective guidelines for determining the sporting purposes of
rifles, ATF recognized that no similar studies had been completed to determine the sporting

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  Chapter 44, Title 18, United States Code (U.S.C.), at 18 U.S.C. § 922(l).
2
  These characteristics were: (a) a military configuration (ability to accept a detachable magazine, folding/telescoping stocks, pistol grips, ability
to accept a bayonet, flash suppressors, bipods, grenade launchers, and night sights); (b) a semiautomatic version of a machinegun; and
(c) chambered to accept a centerfire cartridge case having a length of 2.25 inches or less. 1989 Report and Recommendation on the Importability
of Certain Semiautomatic Rifles (1989 Study) at 6-9.
3
  1998 Department of the Treasury Study on the Sporting Suitability of Modified Semiautomatic Rifles (1998 Study) at 2.
4
  “Plinking” is shooting at random targets such as bottles and cans. 1989 Report at 10.
5
  1989 Report at 8-9; 1998 Study at 18-19.
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suitability of shotguns. A shotgun study working group (working group) was assigned to
perform a shotgun study under the § 925(d)(3) sporting purposes test. The working group
considered the 1989 and 1998 studies, but neither adopted nor entirely accepted findings from
those studies as conclusive as to shotguns.

Sporting Purpose

Determination of whether a firearm is generally accepted for use in sporting purposes is the
responsibility of the Attorney General (formerly the Secretary of the Treasury). As in the
previous studies, the working group considered the historical context of “sporting purpose” and
that Congress originally intended a narrow interpretation of sporting purpose under § 925(d)(3).

While the 1989 and 1998 studies considered all rifles in making their recommendations, these
studies first identified firearm features and subsequently identified those activities believed to
constitute a legitimate “sporting purpose.” However, in reviewing the previous studies, the
working group believes that it is appropriate to first consider the current meaning of “sporting
purpose” as this may impact the “sporting” classification of any shotgun or shotgun features. For
example, military shotguns, or shotguns with common military features that are unsuitable for
traditional shooting sports, may be considered “particularly suitable for or readily adaptable to
sporting purposes” if military shooting competitions are considered a generally recognized
sporting purpose. Therefore, in determining the contemporary meaning of sporting purposes, the
working group examined not only the traditional sports of hunting and organized competitive
target shooting, but also made an effort to consider other shooting activities.

In particular, the working group examined participation in and popularity of practical shooting
events as governed by formal rules, such as those of the United States Practical Shooting
Association (USPSA) and International Practical Shooting Confederation (IPSC), to determine
whether it was appropriate to consider these events a “sporting purpose” under § 925(d)(3).
While the number of members reported for USPSA is similar to the membership for other
shotgun shooting organizations, 6 the working group ultimately determined that it was not
appropriate to use this shotgun study to determine whether practical shooting is “sporting” under
§ 925(d)(3). A change in ATF’s position on practical shooting has potential implications for rifle
and handgun classifications as well. Therefore, the working group believes that a more thorough
and complete assessment is necessary before ATF can consider practical shooting as a generally
recognized sporting purpose.

The working group agreed with the previous studies in that the activity known as “plinking” is
“primarily a pastime” and could not be considered a recognized sport for the purposes of

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6
  Organization websites report these membership numbers: for the United States Practical Shooting Association, approx. 19,000; Amateur
Trapshooting Association, over 35,000 active members; National Skeet Shooting Association, nearly 20,000 members; National Sporting Clays
Association, over 22,000 members; Single Action Shooting Society, over 75,000 members.
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importation. 7 Because almost any firearm can be used in that activity, such a broad reading of
“sporting purpose” would be contrary to the congressional intent in enacting section 925(d)(3).
For these reasons, the working group recommends that plinking not be considered a sporting
purpose. However, consistent with past court decisions and Congressional intent, the working
group recognized hunting and other more generally recognized or formalized competitive events
similar to the traditional shooting sports of trap, skeet, and clays.

Firearm Features

In reviewing the shotguns used for those activities classified as sporting purposes, the working
group examined State hunting laws, rules, and guidelines for shooting competitions and shooting
organizations; industry advertisements and literature; scholarly and historical publications; and
statistics on participation in the respective shooting sports. Following this review, the working
group determined that certain shotgun features are not particularly suitable or readily adaptable
for sporting purposes. These features include:

              (1) Folding, telescoping, or collapsible stocks;
              (2) bayonet lugs;
              (3) flash suppressors;
              (4) magazines over 5 rounds, or a drum magazine;
              (5) grenade-launcher mounts;
              (6) integrated rail systems (other than on top of the receiver or barrel);
              (7) light enhancing devices;
              (8) excessive weight (greater than 10 pounds for 12 gauge or smaller);
              (9) excessive bulk (greater than 3 inches in width and/or greater than 4 inches in depth);
              (10) forward pistol grips or other protruding parts designed or used for gripping the
              shotgun with the shooter’s extended hand.

Although the features listed above do not represent an exhaustive list of possible shotgun
features, designs or characteristics, the working group determined that shotguns with any one of
these features are most appropriate for military or law enforcement use. Therefore, shotguns
containing any of these features are not particularly suitable for nor readily adaptable to
generally recognized sporting purposes such as hunting, trap, sporting clay, and skeet shooting.
Each of these features and an analysis of each of the determinations are included within the main
body of the report.




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7
    1989 Study at 10; 1998 Study at 17.
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                                                 Study on the Importability of Certain Shotguns

The purpose of this study is to establish criteria that the Bureau of Alcohol, Tobacco, Firearms
and Explosives (ATF) will use to determine the importability of certain shotguns under the
provisions of the Gun Control Act of 1968 (GCA).

                                                                   Background on Shotguns

A shotgun is defined by the GCA as “a weapon designed or redesigned, made or remade, and
intended to be fired from the shoulder and designed or redesigned and made or remade to use the
energy of an explosive to fire through a smooth bore either a number of ball shot or a single
projectile for each single pull of the trigger.” 8

Shotguns are traditional hunting firearms and, in the past, have been referred to as bird guns or
“fowling” pieces. They were designed to propel multiple pellets of shot in a particular pattern
that is capable of killing the game that is being hunted. This design and type of ammunition
limits the maximum effective long distance range of shotguns, but increases their effectiveness
for small moving targets such as birds in flight at a close range. Additionally, shotguns have
been used to fire slugs. A shotgun slug is a single metal projectile that is fired from the barrel.
Slugs have been utilized extensively in areas where State laws have restricted the use of rifles for
hunting. Additionally, many States have specific shotgun seasons for deer hunting and, with the
reintroduction of wild turkey in many States, shotguns and slugs have found additional sporting
application.

Shotguns are measured by gauge in the United States. The gauge number refers to the “number
of equal-size balls cast from one pound of lead that would pass through the bore of a specific
diameter.” 9 The largest commonly available gauge is 10 gauge (.0775 in. bore diameter).
Therefore, a 10 gauge shotgun will have an inside diameter equal to that of a sphere made from
one-tenth of a pound of lead. By far, the most common gauges are 12 (0.729 in. diameter) and
20 (0.614 in. diameter). The smallest shotgun that is readily available is known as a “.410,”
which is the diameter of its bore measured in inches. Technically, a .410 is a 67 gauge shotgun.

                                                               Background on Sporting Suitability

The GCA generally prohibits the importation of firearms into the United States. 10 However, the
statute exempts four narrow categories of firearms that the Attorney General shall authorize for
importation. Originally enacted by Title IV of the Omnibus Crime Control and Safe Streets Act
of 1968, 11 and amended by Title I of the GCA 12 enacted that same year, this section provides, in
pertinent part:
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8
  18 U.S.C. § 921(a)(5).
9
  The Shotgun Encyclopedia at 106.
10
   18 U.S.C. § 922(l).
11
   Pub. Law 90-351 (June 19, 1968).
12
   Pub. Law 90-618 (October 22, 1968).
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              the Attorney General shall authorize a firearm . . . to be imported or brought into
              the United States . . . if the firearm . . . (3) is of a type that does not fall within the
              definition of a firearm as defined in section 5845(a) of the Internal Revenue Code
              of 1954 and is generally recognized as particularly suitable for or readily
              adaptable to sporting purposes, excluding surplus military firearms, except in
              any case where the Secretary has not authorized the importation of the firearm
              pursuant to this paragraph, it shall be unlawful to import any frame, receiver, or
              barrel of such firearm which would be prohibited if assembled. 13 (Emphasis
              added)

This section addresses Congress’ concern that the United States had become a “dumping ground
of the castoff surplus military weapons of other nations,” 14 in that it exempted only firearms with
a generally recognized sporting purpose. In recognizing the difficulty in implementing this
section, Congress gave the Secretary of the Treasury (now the Attorney General) the discretion
to determine a weapon’s suitability for sporting purposes. This authority was ultimately
delegated to what is now ATF. Immediately after discussing the large role cheap imported .22
caliber revolvers were playing in crime, the Senate Report stated:

              [t]he difficulty of defining weapons characteristics to meet this target without
              discriminating against sporting quality firearms, was a major reason why the
              Secretary of the Treasury has been given fairly broad discretion in defining and
              administering the import prohibition.15

Indeed, Congress granted this discretion to the Secretary even though some expressed
concern with its breadth:

              [t]he proposed import restrictions of Title IV would give the Secretary of
              the Treasury unusually broad discretion to decide whether a particular type of
              firearm is generally recognized as particularly suitable for, or readily adaptable
              to, sporting purposes. If this authority means anything, it permits Federal officials
              to differ with the judgment of sportsmen expressed through consumer preference
              in the marketplace…. 16

Since that time, ATF has been responsible for determining whether firearms are generally
recognized as particularly suitable for or readily adaptable to sporting purposes under the statute.


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13
   18 U.S.C. § 925(d)(3). In pertinent part, 26 U.S.C. § 5845(a) includes “a shotgun having a barrel or barrels of less than 18 inches in length.”
14
   90 P.L. 351 (1968).
15
   S. Rep. No. 1501, 90th Cong. 2d Sess. 38 (1968).
16
   S. Rep. No. 1097, 90th Cong. 2d. Sess. 2155 (1968) (views of Senators Dirksen, Hruska, Thurmond, and Burdick). In Gun South, Inc. v.
Brady, 877 F.2d 858, 863 (11th Cir. 1989), the court, based on legislative history, found that the GCA gives the Secretary “unusually broad
discretion in applying section 925(d)(3).”
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On December 10, 1968, the Alcohol and Tobacco Tax Division of the Internal Revenue Service
(predecessor to ATF) convened a “Firearm Advisory Panel” to assist with defining “sporting
purposes” as utilized in the GCA. This panel was composed of representatives from the
military, law enforcement, and the firearms industry. The panel generally agreed that firearms
designed and intended for hunting and organized competitive target shooting would fall into the
sporting purpose criteria. It was also the consensus that the activity of “plinking” was primarily
a pastime and therefore would not qualify. Additionally, the panel looked at criteria for
handguns and briefly discussed rifles. However, no discussion took place on shotguns given
that, at the time, all shotguns were considered inherently sporting because they were utilized for
hunting or organized competitive target competitions.

Then, in 1984, ATF organized the first large scale study aimed at analyzing the sporting
suitability of certain firearms. Specifically, ATF addressed the sporting purposes of the Striker-
12 and Streetsweeper shotguns. These particular shotguns were developed in South Africa as
law enforcement, security and anti-terrorist weapons. These firearms are nearly identical 12-
gauge shotguns, each with 12-round capacity and spring-driven revolving magazines. All 12
rounds can be fired from the shotguns within 3 seconds.

In the 1984 study, ATF ruled that the Striker-12 and the Streetsweeper were not eligible for
importation under 925(d)(3) because they were not “particularly suitable for sporting purposes.”
In doing this, ATF reversed an earlier opinion and specifically rejected the proposition that
police or combat competitive shooting events were a generally accepted “sporting purpose.”
This 1984 study adopted a narrow interpretation of organized competitive target shooting
competitions to include the traditional target events such as trap and skeet. ATF ultimately
concluded that the size, weight and bulk of the shotguns made them difficult to maneuver in
traditional shooting sports and, therefore, these shotguns were not particularly suitable for or
readily adaptable to these sporting purposes. At the same time, however, ATF allowed
importation of a SPAS-12 variant shotgun because its size, weight, bulk and modified
configuration were such that it was particularly suitable for traditional shooting sports. 17 The
Striker-12 and Streetsweeper were later classified as “destructive devices” pursuant to the
National Firearms Act. 18

In 1989, and again in 1998, ATF conducted studies to determine whether certain rifles could be
imported under section 925(d)(3). The respective studies focused primarily on the application of
the sporting purposes test to a type of firearm described as a “semiautomatic assault weapon.” In
both 1989 and 1998, ATF was concerned that certain semiautomatic assault weapons had been
approved for importation even though they did not satisfy the sporting purposes test.


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17
     Private letter Ruling of August 9, 1989 from Bruce L. Weininger, Chief, Firearms and Explosives Division.
18
     See ATF Rulings 94-1 and 94-2.
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1989 Study

In 1989, ATF announced that it was suspending the importation of several semiautomatic assault
rifles pending a decision on whether they satisfied the sporting criteria under section 925(d)(3).
The 1989 study determined that assault rifles were a “type” of rifle that contained a variety of
physical features that distinguished them from traditional sporting rifles. The study concluded
that there were three characteristics that defined semiautomatic assault rifles:

       (1) a military configuration (ability to accept a detachable magazine, folding/telescoping
           stocks, pistol grips, ability to accept a bayonet, flash suppressors, bipods, grenade
           launchers, and night sights);
       (2) semiautomatic version of a machinegun;
       (3) chambered to accept a centerfire cartridge case having a length of 2.25 inches or less.19

The 1989 study then examined the scope of “sporting purposes“ as used in the statute. 20 The
study noted that “[t]he broadest interpretation could take in virtually any lawful activity or
competition which any person or groups of persons might undertake. Under this interpretation,
any rifle could meet the “sporting purposes” test. 21 The 1989 study concluded that a broad
interpretation would render the statute useless. The study therefore concluded that neither
plinking nor “police/combat-type” competitions would be considered sporting activities under
the statute. 22

The 1989 study concluded that semiautomatic assault rifles were “designed and intended to be
particularly suitable for combat rather than sporting applications.” 23 With this, the study
determined that they were not suitable for sporting purposes and should not be authorized for
importation under section 925(d)(3).

1998 Study

The 1998 study was conducted after “members of Congress and others expressed concern that
rifles being imported were essentially the same as semiautomatic assault rifles previously
determined to be nonimportable” under the 1989 study. 24 Specifically, many firearms found to
be nonimportable under the 1989 study were later modified to meet the standards outlined in the
study. These firearms were then legally imported into the country under section 925(d)(3). ATF
commissioned the 1998 study on the sporting suitability of semiautomatic rifles to address
concerns regarding these modified firearms.

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19
   1989 Report and Recommendation on the ATF Working Group on the Importability of Certain Semiautomatic Rifles (1989 Study).
20
   Id. at 8.
21
   Id.
22
   Id. At 9.
23
   Id. At 12.
24
   1998 Study at 1.
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The 1998 study identified the firearms in question and determined that the rifles shared an
important feature—the ability to accept a large capacity magazine that was originally designed
for military firearms. The report then referred to such rifles as Large Capacity Military
Magazine rifles or “LCMM rifles.” 25

The study noted that after 1989, ATF refused to allow importation of firearms that had any of the
identified non-sporting features, but made an exception for firearms that possessed only a
detachable magazine. Relying on the 1994 Assault Weapons Ban, the 1998 study noted that
Congress “sent a strong signal that firearms with the ability to expel large amounts of
ammunition quickly are not sporting.” 26 The study concluded by adopting the standards set forth
in the 1989 study and by reiterating the previous determination that large capacity magazines are
a military feature that bar firearms from importation under section 925(d)(3). 27

Present Study

While ATF conducted the above mentioned studies on the sporting suitability of rifles, to date,
no study has been conducted to address the sporting purposes and importability of shotguns.
This study was commissioned for that purpose and to ensure that ATF complies with it statutory
mandate under section 925(d)(3).

                                                               Methodology

To conduct this study, the working group reviewed current shooting sports and the sporting
suitability of common shotguns and shotgun features. At the outset, the working group
recognized the importance of acknowledging the inherent differences between rifles, handguns
and shotguns. These firearms have distinct characteristics that result in specific applications of
each weapon. Therefore, in conducting the study, the working group generally considered
shotguns without regard to technical similarities or differences that exist in rifles or handguns.

The 1989 and 1998 studies examined particular features and made sporting suitability
determinations based on the generally accepted sporting purposes of rifles. These studies served
as useful references because, in recent years, manufacturers have produced shotguns with
features traditionally found only on rifles. These features are typically used by military or law
enforcement personnel and provide little or no advantage to sportsmen.

Following a review of the 1989 and 1998 studies, the working group believed that it was
necessary to first identify those activities that are considered legitimate “sporting purposes” in
the modern era. While the previous studies determined that only “the traditional sports of
hunting and organized competitive target shooting” would be considered “sporting,” 28 the
working group recognized that sporting purposes may evolve over time. The working group felt
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25
   1998 Study at 16.
26
   1998 Study at 3.
27
   The 1994 Assault Weapons Ban expired Sept. 13, 2004, as part of the law's sunset provision.
28
   1998 Study at 16
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that the statutory language supported this because the term “generally recognized” modifies, not
only firearms used for shooting activities, but also the shooting activities themselves. This is to
say that an activity is considered “sporting” under section 925(d)(3) if it is generally recognized
as such. 29 Therefore, activities that were “generally recognized” as legitimate “sporting
purposes” in previous studies are not necessarily the same as those activities that are “generally
recognized” as sporting purposes in the modern era. As stated above, Congress recognized the
difficulty in legislating a fixed meaning and therefore gave the Attorney General the
responsibility to make such determinations. As a result, the working group did not simply accept
the proposition that sporting events were limited to hunting and traditional trap and skeet target
shooting. In determining whether an activity is now generally accepted as a sporting purpose,
the working group considered a broad range of shooting activities.

Once the working group determined those activities that are generally recognized as a “sporting
purpose” under section 925(d)(3), it examined numerous shotguns with diverse features in an
effort to determine whether any particular firearm was particularly suitable for or readily
adaptable to those sports. In coming to a determination, the working group recognized that a
shotgun cannot be classified as sporting merely because it may be used for a sporting purpose.
During debate on the original bill, there was discussion about the meaning of the term "sporting
purposes." Senator Dodd stated:

              Here again I would have to say that if a military weapon is used in a special
              sporting event, it does not become a sporting weapon. It is a military weapon used in a
              special sporting event . . . . As I said previously the language says no firearms will be
              admitted into this country unless they are genuine sporting weapons. 30

In making a determination on any particular feature, the working group considered State hunting
laws, currently available products, scholarly and historical publications, industry marketing, and
rules and regulations of organization such as the National Skeet Shooting Association, Amateur
Trapshooting Association, National Sporting Clays Association, Single Action Shooting Society,
International Practical Shooting Confederation (IPSC), and the United States Practical Shooting
Association (USPSA). Analysis of these sources as well as a variety of shotguns led the working
group to conclude that certain shotguns were of a type that did not meet the requirements of
section 925(d)(3), and therefore, could not lawfully be imported.




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29
   ATF previously argued this very point in Gilbert Equipment Company , Inc. v. Higgins, 709 F.Supp. 1071, 1075 (S.D. Ala. 1989). The court
agreed, noting, “according to Mr. Drake, the bureau takes the position…that an event has attained general recognition as being a sport before
those uses and/or events can be ‘sporting purposes’ or ‘sports’ under section 925(d)(3). See also Declaration of William T. Drake, Deputy
Director, Bureau of Alcohol, Tobacco and Firearms.
30
   114 Cong. Rec. 27461-462 (1968).
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                                                               Analysis

A. Scope of Sporting Purposes

In conducting the sporting purposes test on behalf of the Attorney General, ATF examines the
physical and technical characteristics of a shotgun and determines whether those characteristics
meet this statutory requirement. A shotgun’s suitability for a particular sport depends upon the
nature and requirements inherent to that sport. Therefore, determining a “sporting purpose” was
the first step in this analysis under section 925(d)(3) and is a critical step of the process.

A broad interpretation of “sporting purposes” may include any lawful activity in which a shooter
might participate and could include any organized or individual shooting event or pastime. A
narrow interpretation of “sporting purposes” would clearly result in a more selective standard
governing the importation of shotguns.

Consistent with previous ATF decisions and case law, the working group recognized that a sport
or event must “have attained general recognition as being a ‘sport,’ before those uses and/or
events can be ‘sporting purposes’ or ‘sports’ under Section 925(d)(3).” 31 The statutory language
limits ATF’s authority to recognize a particular shooting activity as a “sporting purpose,” and
therefore requires a narrow interpretation of this term. As stated however, the working group
recognized that sporting purposes may change over time, and that certain shooting activities may
become “generally recognized” as such.

At the present time, the working group continues to believe that the activity known as “plinking”
is not a generally recognized sporting purpose. There is nothing in the legislative history of the
GCA to indicate that section 925(d)(3) was meant to recognize every conceivable type of activity
or competition that might employ a firearm. Recognition of plinking as a sporting purpose
would effectively nullify section 925(d)(3) because it may be argued that any shotgun is
particularly suitable for or readily adaptable to this activity.

The working group also considered “practical shooting” competitions. Practical shooting events
generally measure a shooter’s accuracy and speed in identifying and hitting targets while
negotiating obstacle-laden shooting courses. In these competitions, the targets are generally
stationary and the shooter is mobile, as opposed to clay target shooting where the targets are
moving at high speeds mimicking birds in flight. Practical shooting consist of rifle, shotgun and
handgun competitions, as well as “3-Gun” competitions utilizing all three types of firearm on
one course. The events are often organized by local or national shooting organizations and
attempt to categorize shooters by skill level in order to ensure competitiveness within the
respective divisions. The working group examined participation in and popularity of practical
shooting events as governed under formal rules such as those of the United States Practical
Shooting Association (USPSA) and International Practical Shooting Confederation (IPSC) to see

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31
     Gilbert at 1085.
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if it is appropriate to consider these events a legitimate “sporting purpose” under section
925(d)(3).

The USPSA currently reports approximately 19,000 members that participate in shooting events
throughout the United States. 32 While USPSA’s reported membership is within the range of
members for some other shotgun shooting organizations, 33 organizations involved in shotgun
hunting of particular game such as ducks, pheasants and quail indicate significantly more
members than any of the target shooting organizations.34 Because a determination on the
sporting purpose of practical shooting events should be made only after an in-depth study of
those events, the working group determined that it was not appropriate to use this shotgun study
to make a definitive conclusion as to whether practical shooting events are “sporting” for
purposes of section 925(d)(3). Any such study must include rifles, shotguns and handguns
because practical shooting events use all of these firearms, and a change in position by ATF on
practical shooting or “police/combat-type” competitions may have an impact on the sporting
suitability of rifles and handguns. Further, while it is clear that shotguns are used at certain
practical shooting events, it is unclear whether shotgun use is so prevalent that it is “generally
recognized” as a sporting purpose. If shotgun use is not sufficiently popular at such events,
practical shooting would have no effect on any sporting suitability determination of shotguns.
Therefore, it would be impractical to make a determination based upon one component or aspect
of the practical shooting competitions.

As a result, the working group based the following sporting suitability criteria on the traditional
sports of hunting, trap and skeet target shooting.

B. Suitability for Sporting Purposes

The final step in our review involved an evaluation of shotguns to determine a “type” of firearm
that is “generally recognized as particularly suitable or readily adaptable to sporting purposes.”
Whereas the 1989 and 1998 studies were conducted in response to Congressional interest
pertaining to a certain “type” of firearm, the current study did not benefit from a mandate to
focus upon and review a particular type of firearm. Therefore, the current working group
determined that it was necessary to consider a broad sampling of shotguns and shotgun features
that may constitute a “type.”

Whereas rifles vary greatly in size, function, caliber and design, historically, there is less
variation in shotgun design. However, in the past several years, ATF has witnessed increasingly
diverse shotgun design. Much of this is due to the fact that some manufacturers are now
applying rifle designs and features to shotguns. This has resulted in a type of shotgun that has
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32
     See www.uspsa.org.
33
   Organization websites report these membership numbers: for the United States Practical Shooting Association, approx. 19,000; Amateur
Trapshooting Association, over 35,000 active members; National Skeet Shooting Association, nearly 20,000 members; National Sporting Clays
Association, over 22,000 members; Single Action Shooting Society, over 75,000 members.
34
   Organization websites report these membership numbers: Ducks Unlimited, U.S adult 604,902 (Jan. 1, 2010); Pheasants/Quail Forever, over
130,000 North American members (2010) http://www.pheasantfest.org/page/1/PressReleaseViewer.jsp?pressReleaseId=12406.
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features or characteristics that are based on tactical and military firearms. Following a review of
numerous shotguns, literature, and industry advertisements, the working group determined that
the following shotgun features and design characteristics are particularly suitable for the military
or law enforcement, and therefore, offer little or no advantage to the sportsman. Therefore, we
recognized that any shotgun with one or more of these features represent a “type” of firearm that
is not “generally recognized as particularly suitable or readily adaptable to sporting purposes”
and may not be imported under section 925(d)(3).

(1) Folding, telescoping or collapsible stock.

Shotgun stocks vary in style, but sporting stocks have largely resembled the traditional design.35
Many military firearms incorporate folding or telescoping stocks. The main advantage of this
feature is portability, especially for airborne troops. These stocks allow the firearm to be fired
from the folded or retracted position, yet it is difficult to fire as accurately as can be done with an
open or fully extended stock. While a folding stock or telescoping stock makes it easier to carry
the firearm, its predominant advantage is for military and tactical purposes. A folding or
telescoping stock is therefore not found on the traditional sporting shotgun. Note that certain
shotguns may utilize adjustable butt plates, adjustable combs, or other designs intended only to
allow a shooter to make small custom modifications to a shotgun. These are not intended to
make a shotgun more portable, but are instead meant to improve the overall “fit” of the shotgun
to a particular shooter. These types of adjustable stocks are sporting and are, therefore,
acceptable for importation.

(2) Bayonet Lug.

A bayonet lug is generally a metal mount that allows the installation of a bayonet onto the end of
a firearm. While commonly found on rifles, bayonets have a distinct military purpose.
Publications have indicated that this may be a feature on military shotguns as well. 36 It enables
soldiers to fight in close quarters with a knife attached to their firearm. The working group
discovered no generally recognized sporting application for a bayonet on a shotgun.

(3) Flash Suppressor.

Flash suppressors are generally used on military firearms to disperse the muzzle flash in order to
help conceal the shooter’s position, especially at night. Compensators are used on military and
commercial firearms to assist in controlling recoil and the “muzzle climb” of the shotgun.
Traditional sporting shotguns do not have flash suppressors or compensators. However, while
compensators have a limited benefit for shooting sports because they allow the shooter to quickly
reacquire the target for a second shot, there is no particular benefit in suppressing muzzle flash in
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35
     Exhibit 1.
36
     A Collector’s Guide to United States Combat Shotguns at 156.
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sporting shotguns. Therefore, the working group finds that flash suppressors are not a sporting
characteristic, while compensators are a sporting feature. However, compensators that, in the
opinion of ATF, actually function as flash suppressors are neither particularly suitable nor
readily adaptable to sporting purposes.

(4) Magazine over 5 rounds, or a Drum Magazine.

A magazine is an ammunition storage and feeding device that delivers a round into the chamber
of the firearm during automatic or semiautomatic firing. 37 A magazine is either integral (tube
magazine) to the firearm or is removable (box magazine). A drum magazine is a large circular
magazine that is generally detachable and is designed to hold a large amount of ammunition.

The 1989 Study recognized that virtually all modern military firearms are designed to accept
large, detachable magazines. The 1989 Study noted that this feature provides soldiers with a
large ammunition supply and the ability to reload rapidly. The 1998 Study concurred with this
and found that, for rifles, the ability to accept a detachable large capacity magazine was not a
sporting feature. The majority of shotguns on the market today contain an integral “tube”
magazine. However, certain shotguns utilize removable box magazine like those commonly
used for rifles. 38

In regard to sporting purposes, the working group found no appreciable difference between
integral tube magazines and removable box magazines. Each type allowed for rapid loading,
reloading, and firing of ammunition. For example, “speed loaders” are available for shotguns
with tube-type magazines. These speed loaders are designed to be preloaded with shotgun shells
and can reload a shotgun with a tube-type magazine in less time than it takes to change a
detachable magazine.

However, the working group determined that magazines capable of holding large amounts of
ammunition, regardless of type, are particularly designed and most suitable for military and law
enforcement applications. The majority of state hunting laws restrict shotguns to no more than 5
rounds. 39 This is justifiable because those engaged in sports shooting events are not engaging in
potentially hostile or confrontational situations, and therefore do not require the large amount of
immediately available ammunition, as do military service members and police officers.

Finally, drum magazines are substantially wider and have considerably more bulk than standard
clip-type magazines. They are cumbersome and, when attached to the shotgun, make it more
difficult for a hunter to engage multiple small moving targets. Further, drum magazines are
generally designed to contain more than 5 rounds. Some contain as many as 20 or more


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37
   Steindler’s New Firearms Dictionary at 164.
38
   See Collector’s Guide to United States Combat Shotguns at 156-7, noting that early combat shotguns were criticized because of their limited
magazine capacity and time consuming loading methods.
39
   Exhibit 2.
           Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 193 of 295
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rounds. 40 While such magazines may have a military or law enforcement application, the
working group determined that they are not useful for any generally recognized sporting purpose.
These types of magazines are unlawful to use for hunting in most states, and their possession and
manufacture are even prohibited or restricted in some states. 41

(5) Grenade Launcher Mount.

Grenade launchers are incorporated into military firearms to facilitate the launching of explosive
grenades. Such launchers are generally of two types. The first type is a flash suppressor
designed to function as a grenade launcher. The second type attaches to the barrel of the firearm
either by screws or clamps. Grenade launchers have a particular military application and are not
currently used for sporting purposes.

(6) Integrated Rail Systems. 42

This refers to a mounting rail system for small arms upon which firearm accessories and features
may be attached. This includes scopes, sights, and other features, but may also include
accessories or features with no sporting purpose, including flashlights, foregrips, and bipods.
Rails on the sides and underside of shotguns—including any accessory mount—facilitate
installation of certain features lacking any sporting purpose. However, receiver rails that are
installed on the top of the receiver and barrel are readily adaptable to sporting purposes because
this facilitates installation of optical or other sights.

(7) Light Enhancing Devices.

Shotguns are generally configured with either bead sights, iron sights or optical sights,
depending on whether a particular sporting purpose requires the shotgun to be pointed or
aimed. 43 Bead sights allow a shooter to “point” at and engage moving targets at a short distance
with numerous small projectiles, including birds, trap, skeet and sporting clays. Iron and optical
sights are used when a shooter, firing a slug, must “aim” a shotgun at a target, including deer,
bear and turkeys. 44 Conversely, many military firearms are equipped with sighting devices that
utilize available light to facilitate night vision capabilities. Devices or optics that allow
illumination of a target in low-light conditions are generally for military and law enforcement
purposes and are not typically found on sporting shotguns because it is generally illegal to hunt
at night.



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40
   Exhibit 3.
41
   See, e.g., Cal Pen Code § 12020; N.J. Stat. § 2C:39-9.
42
   Exhibit 4.
43
   NRA Firearms Sourcebook at 178.
44
   Id.
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(8) Excessive Weight. 45

Sporting shotguns, 12 gauge and smaller, are lightweight (generally less than 10 pounds fully
assembled), 46 and are balanced and maneuverable. This aids sportsmen by allowing them to
carry the firearm over long distances and rapidly engage a target. Unlike sporting shotguns,
military firearms are larger, heavier, and generally more rugged. This design allows the
shotguns to withstand more abuse in combat situations.

(9) Excessive Bulk. 47

Sporting shotguns are generally no more than 3 inches in width or more than 4 inches in depth.
This size allows sporting shotguns to be sufficiently maneuverable in allowing hunters to rapidly
engage targets. Certain combat shotguns may be larger for increased durability or to withstand
the stress of automatic fire. The bulk refers to the fully assembled shotgun, but does not include
magazines or accessories such as scopes or sights that are used on the shotgun. For both width
and depth, shotguns are measured at the widest points of the action or housing on a line that is
perpendicular to the center line of the bore. Depth refers to the distance from the top plane of the
shotgun to the bottom plane of the shotgun. Width refers to the length of the top or bottom plane
of the firearm and measures the distance between the sides of the shotgun. Neither measurement
includes the shoulder stock on traditional sporting shotgun designs.

(10) Forward Pistol Grip or Other Protruding Part Designed or Used for Gripping the Shotgun
with the Shooter’s Extended Hand. 48

While sporting shotguns differ in the style of shoulder stock, they are remarkably similar in fore-
end design. 49 Generally, sporting shotguns have a foregrip with which the shooter’s forward
hand steadies and aims the shotgun. Recently, however, some shooters have started attaching
forward pistol grips to shotguns. These forward pistol grips are often used on tactical firearms
and are attached to those firearms using the integrated rail system. The ergonomic design allows
for continued accuracy during sustained shooting over long periods of time. This feature offers
little advantage to the sportsman. Note, however, that the working group believes that pistol
grips for the trigger hand are prevalent on shotguns and are therefore generally recognized as
particularly suitable for sporting purposes. 50

While the features listed above are the most common non-sporting shotgun features, the working
group recognizes that other features, designs, or characteristics may exist. Prior to importation,
ATF will classify these shotguns based upon the requirements of section 925(d)(3). The working
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45
   See generally Gilbert.
46
   Shotgun Encyclopedia 2001 at 264.
47
   Exhibit 5.
48
   Exhibit 6.
49
   See Exhibit 1. See generally NRA Firearms Sourcebook at 121-2.
50
   See Exhibit 1.
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group expects the continued application of unique features and designs to shotguns that may
include features or designs based upon traditional police or military tactical rifles. However,
even if a shotgun does not have one of the features listed above, it may be considered “sporting”
only if it meets the statutory requirements under section 925(d)(3). Further, the simple fact that
a military firearm or feature may be used for a generally recognized sporting purposes is not
sufficient to support a determination that it is sporting under 925(d)(3). Therefore, as required
by section 925(d)(3), in future sporting classifications for shotguns, ATF will classify the
shotgun as sporting only if there is evidence that its features or design characteristics are
generally recognized as particularly suitable for or readily adaptable to generally recognized
sporting purposes.

The fact that a firearm or feature was initially designed for military or tactical applications,
including offensive or defensive combat, may indicate that it is not a sporting firearm. This may
be overcome by evidence that the particular shotgun or feature has been so regularly used by
sportsmen that it is generally recognized as particularly suitable for or readily adaptable to
sporting purposes. Such evidence may include marketing, industry literature and consumer
articles, scholarly and historical publications, military publications, the existence of State and
local statutes and regulations limiting use of the shotgun or features for sporting purposes, and
the overall use and the popularity of such features or designs for sporting purposes according to
hunting guides, shooting magazines, State game commissioners, organized competitive hunting
and shooting groups, law enforcement agencies or organizations, industry members and trade
associations, and interest and information groups. Conversely, a determination that the shotgun
or feature was originally designed as an improvement or innovation to an existing sporting
shotgun design or feature will serve as evidence that the shotgun is sporting under section
925(d)(3). However, any new design or feature must still satisfy the sporting suitability test
under section 925(d)(3) as outlined above.

The Attorney General and ATF are not limited to these factors and therefore may consider any
other factor determined to be relevant in making this determination. The working group
recognizes the difficulty in applying this standard but acknowledges that Congress specifically
intended that the Attorney General perform this function. Therefore, the working group
recommends that sporting determinations for shotguns not specifically addressed by this study be
reviewed by a panel pursuant to ATF orders, policies and procedures, as appropriate.

                                                               Conclusion

The purpose of section 925(d)(3) is to provide a limited exception to the general prohibition on
the importation of firearms without placing “any undue or unnecessary Federal restrictions or
burdens on law-abiding citizens with respect to the acquisition, possession, or use of
firearms….” 51 Our determinations will in no way preclude the importation of true sporting
shotguns. While it will certainly prevent the importation of certain shotguns, we believe that
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51
     90 P.L. 351 (1968).
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those shotguns containing the enumerated features cannot be fairly characterized as “sporting”
shotguns under the statute. Therefore, it is the recommendation of the working group that
shotguns with any of the characteristics or features listed above not be authorized for
importation.
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                                   Shotgun Stock Style Comparison
                                                                      Exhibit 1


“Straight” or “English” style stock (Ruger Red Label):




“Pistol grip” style stock (Browning Citori):




“Pistol grip” style stock (Mossberg 935 Magnum Turkey):




“Thumbhole” style stock (Remington SP-10):




Stock with Separate Pistol Grip
                                                                   Hunting Statutes by State                                              Exhibit 2


State         Gauge                                        Mag Restriction / plugged         Attachments              Semi-Auto   Other
                                                           with one piece filler requiring
                                                           disassembly of gun for
                                                           removal
Alabama       10 gauge or smaller;                         (Species specific) 3 shells                                            1




Alaska        10 gauge or smaller

Arizona       10 gauge or smaller                          5 shells


Arkansas      ч 10 gauge; some zones ш .410; ш20 gauge    (Species specific) 3 shells
              for bear

California    ч 10 gauge; Up to 12 gauge in some areas     (Species specific) 3 shells



Colorado      ш 20 gauge; Game Mammals ч 10 gauge          3 shells


Connecticut   ч 10-gauge                                   (Species specific) 3 shells       telescopic sights




Delaware      20, 16, 12, 10 gauge                         3 shells                          Muzzleloaders may be                 2
                                                                                             equipped with scopes


Florida       Muzzleloading firing ш 2 balls ш 20-gauge;   (Species specific) 3 shells
              Migratory birds ч 10-gauge; opossums -
              single-shot .41 -gauge shotguns

Georgia       ш 20-gauge; Waterfowl ч 10-gauge             5 shells                          Scopes are legal
Hawaii        ч 10 gauge                                   (Species specific) 3 shells
Idaho                                                                                        some scopes allowed                  3


Illinois      20 - 10 gauge; no .410 or 28 gauge allowed   3 shells
                                                                                                                                                      Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 198 of 295




Indiana                                                    (Species specific) 3 shells       Laser sights are legal
                                                                   Hunting Statutes by State                                                                Exhibit 2


Iowa            10-, 12-, 16-, and 20-gauge


Kansas          ш 20 gauge; ч 10 gauge,                     (Species specific) 3 shells
Kentucky        up to and including 10-gauge, includes      (Species specific) 3 shells   Telescopic sights (scopes)
                .410-

Louisiana       ч 10 gauge                                  3 shells                      Nuisance Animals; infrared,
                                                                                          laser sighting devices, or night
                                                                                          vision devices
Maine           10 - 20 gauge                               (Species specific) 3 shells   may have any type of sights,       Auto-loading illegal if hold
                                                                                          including scopes                   more than 6 cartridges

Maryland        Muzzle loading ш 10 gauge ; Shotgun ч 10-   (Species specific) 3 shells   may use a telescopic sight on
                gauge                                                                     muzzle loading firearm

Massachusetts   ч 10 gauge                                  (Species specific) 3 shells
Michigan        any gauge                                   (Species specific) 3 shells                                      Illegal: semi-automatic
                                                                                                                             holding > 6 shells in barrel
                                                                                                                             and magazine combined


Minnesota       ч 10 gauge                                  (Species specific) 3 shells
Mississippi     any gauge                                   (Species specific) 3 shells   Scopes allowed on primitive
                                                                                          weapons
Missouri        ч 10 gauge                                  (Species specific) 3 shells
Montana         ч 10 gauge                                  (Species specific) 3 shells
Nebraska        ш 20 gauge                                  (Species specific) 3 shells                                      Illegal: semi-automatic
                                                                                                                             holding > 6 shells in barrel
                                                                                                                             and magazine combined
Nevada          ч 10 gauge; ш 20 gauge                      (Species specific) 3 shells




New             10 - 20 gauge                               (Species specific) 3 shells
Hampshire
New Jersey       10 gauge;  20 gauge; or .410 caliber     (Species specific) 3 shells   Require adjustable open iron,
                                                                                          peep sight or scope affixed if
                                                                                          hunting with slugs. Telescopic
                                                                                          sights Permitted
New Mexico      ш 28 gauge, ч 10 gauge                      (Species specific) 3 shells
New York        Big game ш 20 gauge                                                       scopes allowed                     No semi-automatic
                                                                                                                             firearm with a capacity to
                                                                                                                                                                        Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 199 of 295




                                                                                                                             hold more than 6 rounds
                                                                         Hunting Statutes by State                                                            Exhibit 2


North Carolina   ч 10 gauge                                       (Species specific) 3 shells
North Dakota     ш 410 gauge; no ч 10 gauge                       3 shells (repealed for
                                                                  migratory birds)
Ohio             ч 10 gauge                                       (Species specific) 3 shells
Oklahoma         ч 10 gauge                                       (Species specific) 3 shells
Oregon           ч 10 gauge; ш 20 gauge                           (Species specific) 3 shells   Scopes (permanent and
                                                                                                detachable), and sights
                                                                                                allowed for visually impaired
Pennsylvania     ч 10 gauge; ш 12 gauge                           (Species specific) 3 shells
Rhode Island     10, 12, 16, or 20-gauge                          5 shells
South Carolina                                                    (Species specific) 3 shells
South Dakota     (Species specific) ч 10 gauge                    5 shells                                                      No auto-loading firearm
                                                                                                                                holding > 6 cartridges
Tennessee        Turkey: ш 28 gauge                               (Species specific) 3 shells   May be equipped with sighting
                                                                                                devices
Texas            ч 10 gauge                                       (Species specific) 3 shells   scoping or laser sighting
                                                                                                devices used by disabled
                                                                                                hunters
Utah             ч 10 gauge; ш 20 gauge                           (Species specific) 3 shells
Vermont          ш 12 gauge                                       (Species specific) 3 shells
Virginia         ч 10 gauge                                       (Species specific) 3 shells
Washington       ч 10 gauge                                       (Species specific) 3 shells
West Virginia
Wisconsin        10, 12, 16, 20 and 28 gauge; no .410             (Species specific) 3 shells
                 shotgun for deer/bear

Wyoming                                                                                                                                                   4

1                Shotgun/rifle combinations (drilling)
                 permitted
2                large game training course - Students in
                 optional proficiency qualification bring their
                 own pre-zeroed,  .243 , scoped shotgun
3                no firearm that, in combination with a
                 scope, sling and/or any attachments,
                 weighs more than 16 pounds



4                no relevant restrictive laws concerning
                 shotguns
                                                                                                                                                                          Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 200 of 295
                                                         GeneralFirearmStatutesbyStateExhibit2
                                                                                                                                                                                        
State         Source                                     Semi-Auto                 Attachments                  Prohibited* (in addition to possession of short-barrel or sawed-off
                                                         Restrictions                                           shotguns by non-authorized persons, e.g., law enforcment officers
                                                                                                                for official duty purposes)
Alabama       Alabama Code, title 13:


Alaska        Alaska Statutes 11.61.200.(h)

Arizona       Arizona Rev. Statutes 13-3101.8.           single shot               silencer prohibited


Arkansas      Arkansas Code Title 5, Chapter 73.
California    California Penal Code, Part 4.12276. and   San Diego includes                                     "Assault weapons": Franchi SPAS 12 and LAW 12; Striker 12;
              San Diego Municipal Code 53.31.            under "assault                                         Streetsweeper type S/S Inc. ; semiautomatic shotguns having both a
                                                         weapon," any                                           folding or telescoping stock and a pistol grip protruding conspicuously
                                                         shotgun with a                                         beneath the action of the weapon, thumbhole stock, or vertical handgrip;
                                                         magazine capacity of                                   semiautomatic shotguns capable of accepting a detachable magazine; or
                                                         more than 6 rounds                                     shotguns with a revolving cylinder.



Colorado      2 CCR 406-203


Connecticut   Connecticut Gen. Statutes 53-202a.                                                                "Assault weapons": Steyr AUG; Street Sweeper and Striker 12 revolving
                                                                                                                cylinder shotguns

D.C           7-2501.01.
                                                                                                                                                                                            Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 201 of 295
                                                       GeneralFirearmStatutesbyStateExhibit2
                                                                                                                                                                                      
Delaware   7.I.§ 711.                                                                                         7.I.§ 711. Hunting with automatic-loading gun prohibited; penalty
                                                                                                              (a) No person shall hunt for game birds or game animals in this State,
                                                                                                              except as authorized by state-sanctioned federal depredation/conservation
                                                                                                              orders for selected waterfowl species, with or by means of any automatic-
                                                                                                              loading or hand-operated repeating shotgun capable of holding more than
                                                                                                              3 shells, the magazine of which has not been cut off or plugged with a filler
                                                                                                              incapable of removal through the loading end thereof, so as to reduce the
                                                                                                              capacity of said gun to not more than 3 shells at 1 time, in the magazine
                                                                                                              and chamber combined.
                                                                                                              (b) Whoever violates this section shall be guilty of a class C environmental
                                                                                                              misdemeanor.
                                                                                                              (c) Having in one's possession, while in the act of hunting game birds or
                                                                                                              game animals, a gun that will hold more than 3 shells at one time in the
                                                                                                              magazine and chamber combined, except as authorized in subsection (a)
                                                                                                              of this section, shall be prima facie evidence of violation of this section.




Florida    Florida statutes, Title XLVI.790.001.


Georgia


Hawaii     Hawaii Rev. Statutes, Title 10., 134-8.                               silencer prohibited


Idaho      Idaho Code, 18-3318.


Illinois   Code of Ordinances, City of Aurora 29-43.   Aurora includes                                        "Assault weapons": Street Sweeper and Striker 12 revolving cylinder
                                                       under "assault                                         shotguns or semiautomatic shotguns with either a fixed magazine with a
                                                       weapon," any                                           capacity over 5 rounds or an ability to accept a detachable magazine and
                                                       shotgun with a                                         has at least a folding / telescoping stock or a pistol grip that protrudes
                                                       magazine capacity of                                   beneath the action of firearm and which is separate and apart from stock
                                                       more than 5 rounds
                                                                                                                                                                                              Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 202 of 295
                                                     GeneralFirearmStatutesbyStateExhibit2
                                                                                                                                                                                    
Indiana     Indiana Code 35-47-1-10. and Municipal                             South Bend under             South Bend includes under "assault weapon," any shotgun with a
            Code of the City of South Bend 13-95.                              "assault weapon"             magazine capacity of more than 9 rounds
                                                                               firearms which have
                                                                               threads, lugs, or other
                                                                               characteristics
                                                                               designed for direct
                                                                               attachment of a
                                                                               silencer, bayonet,
                                                                               flash suppressor, or
                                                                               folding stock; as well
                                                                               as any detachable
                                                                               magazine, drum, belt,
                                                                               feed strip, or similar
                                                                               device which can be
                                                                               readily made to accept
                                                                               more than 15. rounds




Iowa        Iowa Code, Title XVI. 724.1.                                                                    Includes as an offensive weapon, "a firearm which shoots or is designed
                                                                                                            to shoot more than one shot, without manual reloading, by a single
                                                                                                            function of the trigger"

Kansas


Kentucky    Kentucky Revised Statutes- 150.360


Louisiana   Louisiana RS 56:116.1


Maine       Maine Revised Statutes
            12.13.4.915.4.§11214. F.

Maryland    Maryland Code 5-101.                                                                            "Assault weapons": F.I.E./Franchi LAW 12 and SPAS 12 assault shotgun;
                                                                                                            Steyr-AUG-SA semi-auto; Holmes model 88 shotgun; Mossberg model
                                                                                                            500 Bullpup assault shotgun; Street sweeper assault type shotgun; Striker
                                                                                                            12 assault shotgun in all formats; Daewoo USAS 12 semi-auto shotgun
                                                                                                                                                                                        Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 203 of 295
                                                           GeneralFirearmStatutesbyStateExhibit2
                                                                                                                                                                                          
Massachusetts   Massachusetts Gen L. 140.121.              under "assault                                         "Assault weapons": revolving cylinder shotguns, e.g., Street Sweeper and
                                                           weapon": any                                           Striker 12; also "Large capacity weapon" includes any semiautomatic
                                                           shotgun with (fixed                                    shotgun fixed with large capacity feeding device (or capable of accepting
                                                           or detachable)                                         such), that uses a rotating cylinder capable of accepting more than 5
                                                           magazine capacity of                                   shells
                                                           more than 5 rounds




Michigan        II.2.1. (2)


Minnesota       Minnesota Statutes 624.711                                                                        "Assault weapons": Street Sweeper and Striker-12 revolving cylinder
                                                                                                                  shotgun types as well as USAS-12 semiautomatic shotgun type



Mississippi     Mississippi Code 97-37-1.                                            silencer prohibited


Missouri        Code of State Regulations 10-7.410(1)(G)


Montana


Nebraska        Nebraska Administrative Code Title 163
                Chapter 4 001.

Nevada          Nevada Revised Statutes 503.150 1.


New Hampshire


New Jersey      New Jersey Statutes 23:4-13. and 23:4-     magazine capacity                                      "Assault weapons": any shotgun with a revolving cylinder, e.g. "Street
                44. and New Jersey Rev. Statutes 2C39-     of no more than 5                                      Sweeper" or "Striker 12" Franchi SPAS 12 and LAW 12 shotguns or USAS
                1.w.                                       rounds                                                 12 semi-automatic type shotgun; also any semi-automatic shotgun with
                                                                                                                  either a magazine capacity exceeding 6 rounds, a pistol grip, or a folding
                                                                                                                  stock


New Mexico      New Mexico Administrative Code
                19.31.6.7H., 19.31.11.10N. ,
                19.31.13.10M. and 19.31.17.10N.
                                                                                                                                                                                               Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 204 of 295
                                                          GeneralFirearmStatutesbyStateExhibit2
                                                                                                                                                                                         
New York         New York Consolidated Laws 265.00. 22.   magazine capacity         sighting device making       "Assault weapons": Any semiautomatic shotgun with at least two of the
                 and Code of the City of Buffalo 1801B.   of no more than 5         a target visible at night    following:folding or telescoping stock;pistol grip that protrudes
                                                          rounds                    may classify a shotgun       conspicuously beneath the action of the weapon;fixed magazine capacity
                                                                                    as an assault weapon         in excess of five rounds;an ability to accept a detachable magazine; or any
                                                                                                                 revolving cylinder shotguns, e.g., Street Sweeper and Striker 12; Buffalo
                                                                                                                 1801B. Assault Weapon:(2) A center-fire rifle or shotgun which employs
                                                                                                                 the force of expanding gases from a discharging cartridge to chamber a
                                                                                                                 fresh round after each single pull of the trigger, and which has:(a) A flash
                                                                                                                 suppressor attached to the weapon reducing muzzle flash;(c) A sighting
                                                                                                                 device making a target visible at night;(d) A barrel jacket surrounding all or
                                                                                                                 a portion of the barrel, to dissipate heat therefrom; or(e) A multi-burst
                                                                                                                 trigger activator.(3) Any stockless pistol grip shotgun.




North Carolina   North Carolina Gen. Statutes 14-288.8                              silencer prohibited


North Dakota     North Dakota Century Code 20.1-01-09.
                 Section 20.1-04-10, SHOTGUN SHELL-
                 HOLDING CAPACITY RESTRICTION,
                 repealed/eliminated

Ohio             Ohio Rev. Code 2923.11. and Columbus     magazine capacity                                      semiautomatic shotgun that was originally designed with or has a fixed
                 City Codes 2323.11.                      of no more than 5                                      magazine or detachable magazine with a capacity of more than five
                                                          rounds                                                 rounds. Columbus includes under "Assault weapon" any semi-automatic
                                                                                                                 shotgun with two or more of the following: pistol grip that protrudes
                                                                                                                 conspicuously beneath the receiver of the weapon; folding, telescoping or
                                                                                                                 thumbhole stock; fixed magazine capacity in excess of 5 standard 2-3/4,
                                                                                                                 or longer, rounds; or ability to accept a detachable magazine; also any
                                                                                                                 shotgun with revolving cylinder




Oklahoma


Oregon           Oregon Rev. Statutes 166.272.                                      silencer prohibited


Pennsylvania     Title 34 Sec. 2308. (a)(4) and (b)(1)


Rhode Island     Rule 7, Part III, 3.3 and 3.4
                                                                                                                                                                                                  Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 205 of 295




South Carolina   SECTION 50-11-310. (E) and ARTICLE 3.
                 SUBARTICLE 1. 123 40
                                                           GeneralFirearmStatutesbyStateExhibit2
                                                                                                                                                                                          
South Dakota    South Dakota Codified Laws 22,1,2, (8)                               silencer prohibited


Tennessee


Texas


Utah            Utah Administrative Code R657-5-9. (1),
                R657-6-6. (1) and R657-9-7.

Vermont


Virginia        Virginia Code 18.2-308.                    magazine capacity                                      "Assault weapons": Striker 12's commonly called a "streetsweeper," or any
                                                           no more than 7                                         semi-automatic folding stock shotgun of like kind with a spring tension
                                                           rounds (not                                            drum magazine capable of holding twelve shotgun shells prohibited
                                                           applicable for
                                                           hunting or sport
                                                           shooting)


Washington      Washington Administrative Code 232-12-
                047




West Virginia   West Virginia statute 8-12-5a.




Wisconsin       Wisconsin Administrative Code – NR 10.11
                and NR 10.12




Wyoming         Wyoming Statutes, Article 3. Rifles and                              silencer prohibited
                Shotguns [Repealed] and 23-3-112.
                                                                                                                                                                                              Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 206 of 295
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                
Exhibit 3
Drum Magazine
Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 208 of 295
                       Integrated Rail System                   Exhibit 4


                                Sporting




                                Sporting




       Non-Sporting                             Non-Sporting
     Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 209 of 295
                                      Bulk Measurements                                  Exhibit 5


Depth refers to the distance from the top plane of the shotgun to the bottom plane of the shotgun.
Depth measurement “A” below is INCORRECT; it includes the trigger guard which is not part
of the frame or receiver. Depth measurement “B” below is CORRECT; it measures only the
depth of the frame or receiver:




Width refers to the length of the top or bottom pane of the firearm and measures the distance
between the sides of the shotgun. Width measurement “A” below is CORRECT; it measures
only the width of the frame or receiver. Width measurement “B” below is INCORRECT; it
includes the charging handle which is not part of the frame or receiver:
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                           Forward Pistol Grip                  Exhibit 6
Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 211 of 295
                                                                      




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                        EXHIBIT 12
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                        EXHIBIT 13
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                        EXHIBIT 14
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                        EXHIBIT 15
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                        EXHIBIT 16
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                        EXHIBIT 18
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Special Reports > Exclusives



'There's Nothing to Repair':
Emergency Docs on Injuries From
Assault Weapons
— "You have to see the damage ... to really respect and
understand how dangerous these weapons are"
by Jennifer Henderson, Enterprise & Investigative Writer, MedPage Today
May 31, 2022




Last Tuesday, Christopher Colwell, MD, chief of emergency medicine at
Zuckerberg San Francisco General Hospital and Trauma Center, was looking
forward to a rare dinner that his entire family of five would be able to
attend.

He had left his shift at the emergency department and drove straight
home, listening to music in the car rather than the news. But when he
arrived, he knew something terrible had happened. His wife, as well as his
   Case 1:22-cv-11431-FDS
daughter,                   Document
          who is in high school,      21-1
                                 and his twoFiled 01/31/23
                                              sons, who arePage 250 of 295
                                                            in college, were
sitting on the couch waiting for him. They had heard about the horrific
mass shooting in Uvalde, Texas, in which 19 children and two teachers were
killed. And they knew the emotional impact it would have on Colwell, who
responded to the scene at Columbine High School 23 years ago.

In fact, since the mass shooting at Columbine, during which 12 students
and a teacher were killed, Colwell has also witnessed the brutal aftermath
of two other similar tragedies -- the Aurora movie theater shooting in
2012, in which 12 people were killed and dozens of others wounded, and
the San Francisco UPS shooting in 2017, in which three workers were killed
and several more injured.

"I've gone through different iterations of this," Colwell told MedPage
Today. "In 1999, it felt kind of lonely. There weren't that many medical
folks who had dealt with mass shootings. You just didn't see events like
Columbine. At that point, it felt relatively unique. As time has gone on,
reliving some of this, it's painful each time and becoming more so,
knowing that it's no longer lonely."

The medical professionals who experienced the aftermath of the two most
recent mass shootings -- in Uvalde, and the killing of 10 Black, mostly
elderly, people in a Buffalo, New York, supermarket -- are going to have to
live with that for the rest of their careers, he said.

Colwell and other physicians said that one reason the U.S. is seeing more
and deadlier mass shootings is the prevalence and accessibility of AR-15-
style weapons. Now, the nation is in a "far, far worse place" than in 1999,
when there was still a federal ban on assault weapons, Colwell noted.

"You have to see the damage that these weapons do to really respect and
understand how dangerous these weapons are," he said, adding that he's
not arguing that a .22 pistol can't end a life, but there's a reason why you
don't see them used in mass shootings today.

Medical News from Around the Web
BBC

Robot snake could be used in cancer surgery in 10 years
NBC NEWS

Tennessee says it's cutting federal HIV funding. Will other states follow?
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New 'concerning' strain of drug-resistant gonorrhea found in U.S. for 1st
time
"There's no way to cause the type of havoc that these people are looking
to cause without something of the power and speed of an assault
weapon," he continued. "Assault weapons are specifically designed to more
rapidly eject bullets, and the power that they have, and the speed that
they have, there is no question ... most of the devastating injuries happen
in the first minutes of the event."

Colwell went to Columbine High after the horrific events unfolded, hoping
to find someone alive. However, all of the carnage had happened almost
immediately.

"The primary way you can cause that kind of damage in that amount of
time is with a weapon shooting that powerful of a ballistic that quickly,"
he pointed out. "Over and over again, what are they using? I've never seen
the number of devastating wounds when you're not dealing with assault
weapons -- the number of victims and the number of wounds."

Colwell's memories of the young victims at Columbine have stayed with
him.

"I vividly remember seeing one of the victims at Columbine [who] had a
text book that I had in high school," he recalled. "It really did put me back
in our high school library."

"They barely had a chance to hide," he added.

There's no way a shooter could have done that with a pistol or non-semi-
automatic weapon, he said. Seeing the wounds, the facial expressions of
the victims, and the way they were lying at the scene, the emotional
impact lasts forever, he noted.

William Begg, MD, vice president of medical affairs at Vassar Brothers
Medical Center in Poughkeepsie, New York, and an emergency medicine
physician at Danbury Hospital in Connecticut, has also seen the horror of
mass shootings firsthand.
   Case 1:22-cv-11431-FDS
He attended                Document
             to young patients in the21-1  Filed 01/31/23
                                      aftermath           Page
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                                                              shooting  at
Sandy Hook Elementary School in the Newtown, Connecticut borough, in
which 20 children and six adults lost their lives. The fact that it happened
again in Uvalde struck him especially hard.

"The more closely a mass casualty relates to one you've already been
involved in ... the more you're affected," Begg told MedPage Today. "This
tragedy in Uvalde disproportionately affected my institution and myself
compared to all the other mass shootings over the years because we could
so closely identify with the pain and sadness and anger that those
healthcare workers are dealing with presently."

Though hospitals and communities across the nation experience other
disasters, natural ones like hurricanes and tornadoes aren't self-induced,
he said.

"This was a self-inflicted injury from our country's culture," he noted. "And
it was preventable."

"It's a public health issue somewhat unique to the U.S.," he added. "If you
look at all the other developed countries ... no country in the world has
even close to the number of mass shootings. When you have a public
health crisis, you have options to respond. And we in our country have not
taken all the options to respond."

Begg said that the use of assault weapons by those who are not military
or law enforcement is completely unnecessary, as is the allowance of high-
capacity magazines. Not having background checks related to gun
purchases is also a failure.

When you have a child that is hit with between three and 11 high-capacity
bullets that explode inside their body, "it's not a survivable event," he
noted. "That's why all these children died at the scene."

Regular handgun bullets come out one at a time, he pointed out. With the
lower velocity, the survival rate is significantly higher, both for children
and adults. And that is why there are scarce data on those who are shot
with assault weapons -- because, most of the time, no one survives.
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        survivors of SandyDocument 21-1
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or legs, he said, as opposed to those who were shot in the head, neck,
abdomen, or pelvis. Sadly and similarly, those in Uvalde who were shot
multiple times in the center of the body did not survive.

In previously testifying before Congress, Begg recalled using a simulation
video to show the difference between damage inflicted by a regular bullet
and an assault weapon bullet. The regular bullet went in and out of an
artificial block representing a human body. However, the assault weapon
bullet went through what would have been organs, like the liver or heart,
and completely blew them apart.

Without prevention efforts, Begg predicts that the U.S. will have "more
and more shooters" who "become more brazen."

There comes a point where a great infrastructure for trauma and
resuscitation has already been developed, he added. "The biggest
opportunity is prevention."

Mark Kline, MD, chief medical officer and physician-in-chief at Children's
Hospital New Orleans, concurred.

"I've worked in children's hospitals and pediatric trauma centers long
enough to have seen a lot of the physical damage -- there's too much of it,
and there has been a long time," Kline told MedPage Today. "It really has
reached epidemic proportions, I think. It's not just mass shootings ... it's
accidental shootings in the home, it's kids caught in crossfire. There's just
too darn many guns, and it just seems to me that the least we can do, as
we debate the role of mental health issues and gang violence and video
games ... is try to restrict access to the high-power guns that hold big
magazines that can shoot however many rounds per minute, and inflict
the kind of damage that we saw in Uvalde."

"They're weapons of war," he added of assault weapons. "They really have
no purpose in civil society."

The explosive power and velocity from the projectiles "disintegrate
organs," and "there's nothing to repair," he added.
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                                                    the families   of 295
                                                                 who  lost
children, to the children who witnessed the horrific event, and to the
entire community and to the first responders, Kline said.

For Colwell, he feels that speaking out is the only way to bring about
change.

"We have to, as a medical community, make our political leaders as
uncomfortable or more uncomfortable facing us than gun lobbyists," he
said. "That, in my mind, has to change."

"We can continue to talk about how we can prepare for these things," he
added. "But there's no way you're going to prepare for something that has
my family waiting in the living room 23 years later. Until our voices are
heard ... these events are not only going to keep happening, but keep
happening more frequently."

          Jennifer Henderson joined MedPage Today as an enterprise and investigative writer in Jan.
          2021. She has covered the healthcare industry in NYC, life sciences and the business of law,
          among other areas.




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                               https://www.nytimes.com/2018/03/04/health/parkland-shooting-victims-ar15.html



Wounds From Military-Style Rifles? ʻA Ghastly Thing to Seeʼ
Trauma surgeons tell what it is really like to try to repair such devastating injuries. “Bones are exploded, soft tissue is absolutely destroyed,”
one said.



By Gina Kolata and C. J. Chivers
March 4, 2018




   Left, an X-ray of a leg showing a bullet wound delivered by an assault rifle used in combat. Right, an X-ray of a leg that sustained a bullet wound from a low-energy bullet,
   inflicted by a weapon like a handgun in Philadelphia. via Dr. Jeremy W. Cannon


Perhaps no one knows the devastating wounds inflicted by assault-style rifles better than the trauma surgeons who struggle to repair
them. The doctors say they are haunted by their experiences confronting injuries so dire they struggle to find words to describe them.

At a high school in Parkland, Fla., 17 people were recently killed with just such a weapon — a semiautomatic AR-15. It was legal there for
Nikolas Cruz, 19, the suspect in the shooting, to buy a civilian version of the military’s standard rifle, while he would have had to be 21 to
buy a less powerful and accurate handgun.

Many factors determine the severity of a wound, including a bullet’s mass, velocity and composition, and where it strikes. The AR-15, like
the M4 and M16 rifles issued to American soldiers, shoots lightweight, high-speed bullets that can cause grievous bone and soft tissue
wounds, in part by turning sideways, or “yawing,” when they hit a person. Surgeons say the weapons produce the same sort of horrific
injuries seen on battlefields.

Civilian owners of military-style weapons can also buy soft-nosed or hollow-point ammunition, often used for hunting, that lacks a full
metal jacket and can expand and fragment on impact. Such bullets, which can cause wider wound channels, are proscribed in most
military use.


https://www.nytimes.com/2018/03/04/health/parkland-shooting-victims-ar15.html                                                                                                      1/6
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A radiologist at the hospital that treated victims of the Parkland attack wrote in The Atlantic about a surgeon there who “opened a young
victim in the operating room and found only shreds of the organ that had been hit.”

What follows are the recollections of five trauma surgeons. Three of them served in the military, and they emphasized that their opinions
are their own and do not represent those of the armed forces. One has treated civilian victims of such weapons in American cities. And a
pediatric surgeon treated victims of a Texas church shooting last year.


Dr. Jeremy Cannon, the University of Pennsylvaniaʼs Perelman School of Medicine.
He served in Iraq and Afghanistan and is a lieutenant colonel in the Air Force Reserve.




   Dr. Jeremy Cannon in the trauma center at Penn Presbyterian Medical Center Advanced Care Pavilion in Philadelphia Mark Makela for The New York Times


“The tissue destruction is almost unimaginable. Bones are exploded, soft tissue is absolutely destroyed. The injuries to the chest or
abdomen — it’s like a bomb went off.” If a bullet hits an arm or a leg, he said, the limb often hangs at an unnatural angle. Such victims can
need a dozen surgeries over months. “Some eventually decide to undergo an amputation if there is severe pain in the limb and it is
dysfunctional,” he said.

“Bystanders are traumatized just seeing the victims. It’s awful, terrible. It’s just a ghastly thing to see.”

Dr. Cannon recalled the aphorism by José Narosky, the Argentine writer: “In war, there are no unwounded soldiers.”

His corollary: “In mass shootings, there are no unwounded victims.”




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Dr. Martin Schreiber, Oregon Health & Science University.
He was an Army reservist who served in Iraq in 2005 and in Afghanistan in 2010 and 2014.




                                      Dr. Martin Schreiber Gabriella Marks for The New York Times


What makes injuries from these rifles so deadly, he said, is that the bullets travel so fast. Those from an M16 or AR-15 can depart the
muzzle at a velocity of more than 3,000 feet per second, while bullets from many common handguns move at less than half or a third that
speed. The result: “The energy imparted to a human body by a high velocity weapon is exponentially greater” than that from a handgun.

“You will see multiple organs shattered. The exit wounds can be a foot wide.”

“I’ve seen people with entire quadrants of their abdomens destroyed.”




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Dr. Jeffrey Kerby, the University of Alabama at Birmingham.
He was formerly an Air Force surgeon.




   Dr. Jeffrey Kerby Bob Miller for The New York Times


Dr. Kerby will never forget the first victim of a high velocity bullet wound he treated when he was serving in the Southern Philippines 16
years ago. The soldier had been shot in the outer thigh. His first thought was that the wound did not look so bad. There was just a tiny hole
where the bullet went in. Then he looked where the bullet had exited. The man’s inner thigh, he said, “was completely blown out.”

Later he came to expect the telltale pattern. “You will typically see a small penetrating wound. Then you roll the patient over and you see a
huge exit wound.”

The high energy bullet creates a blast wave around the bullet. And the yaw can contribute to the larger exit wound. Striking bone can also
cause bone fragments that radiate outward, cutting tissue in each fragment’s path.

“Then the bullet starts tumbling, causing more and more destruction.” Even a bullet that misses bone can result in surprising damage; as
the blast wave travels through the body, it pushes tissues and organs aside in a temporary cavity larger than the bullet itself. They bounce
back once the bullet passes. Organs are damaged, blood vessels rip and many victims bleed to death before they reach a hospital. Those
who survive long enough are whisked to operating rooms, but often the injuries cannot be repaired.

“If they are shot in the torso, there often is not a whole lot we can do,” he said.

With a handgun, the bullets mostly damage tissues and organs in their direct path. Eventually, the bullets may be slowed and stopped by
the body. Emergency surgery often can save handgun victims.

Dr. Kerby said it used to be that surgeons like him saw victims of assault rifle shootings only in the military. No more. Now, though the
wounds are still rare on the streets of Birmingham, he operates on occasional victims — that is, those who survive long enough to reach
the hospital.

“These weapons are meant to kill people,” he said.



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   An X-ray of a rifle bullet wound to an arm. via Dr. Jeremy W. Cannon


Dr. Alok Gupta, Beth Israel Deaconess Medical Center in Boston.
Dr. Gupta never served in the military, but he has treated victims of assault-style weapons in New York and Baltimore. Attacks using AR-
15-style weapons are still rare, he emphasized. He sees mostly handgun wounds and some from shotguns.

“A single wound from a handgun follows a narrow path, pretty much the direct path the bullet took,” Dr. Gupta said. “It is easier to figure
out what is injured.” Even a bullet wound to the heart can be repaired, he said, if the patient survives long enough to get to the hospital.

But like other trauma surgeons, Dr. Gupta has been struck by the devastation modern rifle bullets produce. The wide swath of damage
makes it difficult to determine the extent of the injuries, and even more difficult to repair them. And if the bullet strikes the heart or other
major organ, the victim usually cannot be saved.

“What we hear about in the news are the mass shootings,” Dr. Gupta said.

The victims of military-style weapons that Dr. Gupta has treated in American cities are the silent victims.


Dr. Lillian Liao, University Hospital and UT Health in San Antonio
She operated on children shot in Sutherland Springs, Tex., at the First Baptist Church. Twenty-six churchgoers were killed and 20 others
were wounded in a mass shooting carried out with an AR-15 rifle.

Nine of the victims made it to her hospital that day. Four were children, one of whom died.

Dr. Liao was initially clinical in describing the wounds during an interview. “Muscles and skin and fat surrounding skin can be sheared off.
We saw holes in intestines and bladders.”

Asked about the emotional impact of the killings, she said she thought she had moved on. Then came the Parkland shootings, and the
horror came flooding back.

Lauren Katzenberg and Thomas Gibbons-Neff contributed to this article.


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   A memorial at the First Baptist Church in Sutherland Springs, Tex., in December. Ruth Fremson/The New York Times


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          Health & Science


          As the wounded kept
          coming, hospitals dealt
          with injuries rarely seen
          in the U.S.
By Tim Craig, Felicia Mello and Lena H. Sun October 3 at 8:13 PM


LAS VEGAS — As trauma nurse Renae Huening rushed into Sunrise Hospital and Medical Center on
Sunday night, she “followed a trail of blood indoors.”


Dozens of patients already were crammed into the waiting area, hallways and rooms of the hospital’s
emergency department. Some were “red-tagged,” meaning they needed attention immediately. Names were
being assigned randomly because there was no time to register people or find IDs.


Huening could smell the blood.


“The air smells like iron,” she recalled Tuesday, barely 24 hours after hundreds of doctors and nurses
throughout Las Vegas treated more than 500 victims of the worst mass shooting in modern U.S. history.


“You’re standing in a pool of blood trying to care for your patient, slipping and sliding,” Huening said. “Soon
you’re covered in blood yourself.”


As investigators fill in the details of Stephen Paddock’s rampage during a country music festival along the
Las Vegas Strip, doctors, nurses and paramedics are recounting injuries they say are rarely seen in this
country. And even the hardiest medical professionals acknowledged being rattled.




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With Paddock perched on the 32nd floor of the Mandalay Bay Resort and Casino and firing military-style
rifles onto the crowd of concertgoers below, the scale and degree of physical damage were extreme.


So many patients poured into the city’s hospitals that pediatric surgeons were operating on adults and
obstetricians were attending to trauma patients.


Many of the most critically wounded patients arrived at the 541-bed University Medical Center of Southern
Nevada, the state’s only Level One trauma center. Over about four hours, it received 104 patients. More
than 80 percent were gunshot victims.


Douglas R. Fraser, the hospital’s chief of trauma surgery, struggled with other doctors there to deal with
bullet wounds in torsos and limbs that had shredded human flesh into “unusual patterns,” caused “extreme
fractures” and bounced through bodies with horrific force.


“These were quite large wounds that we saw,” he said Tuesday. “The fractured shrapnel created a different
pattern and really injured bone and soft tissue very readily. This was not a normal pattern of injuries.”


Gun deaths are this nation’s third-leading cause of injury-
related fatalities, with the most recent data showing that firearms accounted for more than 36,200 deaths in
2015. Over a nine-year period, according to data from the Centers for Disease Control and Prevention,
almost 971,000 people were hurt or killed by firearms in the United States — with a just-released study
finding that such injuries cost nearly $25 billion in hospital emergency and inpatient care from 2006 to
2014.


The devastation that semiautomatic rifles cause to the human body is extreme because they put vastly more
energy behind bullets than handguns do.


The velocity of a bullet fired from a typical 9mm handgun is 1,200 feet per second. From an AR-15
semiautomatic, the bullet travels roughly three times faster, and the body must absorb all of that energy.


If a 9mm bullet strikes someone in the liver, for example, that person might suffer a wound perhaps an inch
wide, said Ernest E. Moore, a longtime trauma surgeon at Denver Health and editor of the Journal of
Trauma and Acute Care Surgery. “But if you’re struck in the liver with an AR-15, it would be like dropping a
watermelon onto the cement. It just is disintegrated.”




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Survival generally depends on several factors: the position of the body when it was struck and its distance
from the weapon; the velocity of the bullet and the type used; and the location of the entry wound and path
the bullet follows before it exits — if it exits at all.


Once inside the body, a high-velocity bullet causes a shock wave as it blasts through tissue. The
reverberations expand outward, causing more harm.


“When that happens, it stretches all the blood vessels and tears them, and you lose blood supply to the
entire area,” said Faran Bokhari, chairman of the Trauma and Burn Unit at Cook County Health and
Hospitals System in Chicago, which sees 1,000 gunshot victims a year.


By contrast, even a grievous knife wound damages only the organs and tissues directly in its path.


About half of the victims taken to University Medical Center suffered graze wounds, probably from bullets
that ricocheted off the ground, Fraser said. Other patients may have been struck by bullets that passed
through other victims. Some were hurt as they tried to flee — or were trampled in the panic.


But 30 were in critical condition after suffering direct hits, he said.


Across the city, hospital administrators called in their entire staffs within minutes of hearing of the shooting
and mass casualties. Elite neurosurgeons were mobilized. Environmental technicians were tasked with
cleaning up blood.


And the patients just kept coming — by ambulance, in the beds of pickup trucks, in the backs of SUVs.


Of those who arrived at University Medical Center, Fraser believes, doctors were unable to revive only one
— someone who had been shot in the head.


“A lot of the injuries were gunshots to the chest,” Fraser said. He spoke Tuesday as a professional, matter of
fact rather than emotional. “Many did not require surgery but required chest tubes to the chest so they
could breathe better. The other patients had surgery to remove holes to their bowels and intestines.”


For hours, some patients were in danger of suffocating on their own blood. So many wounds resembled
those most often seen on battlefields that the hospital quickly contacted four Air Force trauma surgeons
who happened to be participating in a visiting-fellow program there.




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“They are used to seeing those things,” Fraser said.


At one point early Monday, surgeons were conducting five operations simultaneously. “They just came in by
the dozens — some of them in a bed, some on a seat — and we just tried to make room for these folks,” said
Syed Saquib, who was the chief surgeon on duty.


About five miles away at Sunrise Hospital, 214 patients were treated in three hours — nearly the number
typically seen in a day.


Scott Scherr, the director of emergency medicine, got to his hospital about 30 minutes after the attack
began, breaking “every traffic law in Las Vegas” along the way.


The scene inside stunned him. He remembers blood pouring off gurneys.


“That moment was shocking, but as soon as that moment passed, I knew I had a job to do,” Scherr said. He
would end up working 20 straight hours.


Hospital staffers gave each patient red or green triage tags identifying the degree of their injuries. When
beds filled up, some of the less injured sat on the floor.


Identifying the most critical wasn’t always easy. Bullets can tumble as they pierce a body, meaning that even
a patient with a small hole in a shoulder could have a tear in a lung or aorta, too.


“They look okay, but they can turn in a heartbeat,” said Huening, the trauma nurse.


The surgeries were back to back and seemingly endless. Anesthesiologist Dean Polce was involved in 27
operations. Twenty-six of the patients lived, he said Tuesday, breaking down as he spoke.


“I wish we could have done more,” Polce said, lowering his eyes as he choked up. “Where that bullet goes in
the body is really hard to guess.”


There weren’t enough X-ray machines at times, given the volume. Some supplies ran low. At one point, the
emergency room ran out of chest tubes, and staff from nearby MountainView Hospital drove over with a
pickup truck full of them.




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Certified nursing assistant Jacqueline Rodriguez said she can’t forget one patient, clearly very scared, who
needed a chest tube inserted quickly.


“I saw the look of terror in her eyes. I said, ‘Squeeze my hand, scream, do whatever you need to do. It’s
going to hurt, but years later, you’re going to look back at this, and you’re going to be alive.’ ”


Sun reported from Washington. Heather Long and Lynh Bui in Las Vegas contributed to this report.




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SJGMJOH XIJDIOFDFTTJUBUFTUIBUUIFEJBNFUFS DBMJCFS PGUIF
CVMMFUNBUDIFTUIFJOUFSOBMEJBNFUFSPGUIFCBSSFM 4JODF
CVMMFUT BSF FTTFOUJBMMZ BYJTZNNFUSJD CPEJFT EFTJHOFE UP
BGGPSEUIFNJOJNVNBSFBPGQSFTFOUBUJPODPNCJOFEXJUI
UIF NBYJNVN QPTTJCMF NBTT  UIF TQJO JT OFDFTTBSZ GPS
BQQSPQSJBUFPSJFOUBUJPOPGUIFCVMMFUEVSJOHGMJHIUXJUIJUT
UJQ OPTF QPJOUJOHGPSXBSE<>
1SPKFDUJMFTBSFDVTUPNBSJMZDMBTTJGJFEBT“MPX“PS“IJHI
WFMPDJUZ” SPVHIMZDPSSFTQPOEJOHUPUIFUXPNBJODBUFHPSJFT
PGTNBMMBSNT IBOEHVOTBOESJGMFT< >8IJMFMPXWFMPDJUZ
JT HFOFSBMMZ DPOTJEFSFE TZOPOZNPVT UP TVCTPOJD MFTT
                                                                                     'JHVSF&YBNQMFTPGNPEFSONJMJUBSZSJGMFDBSUSJEHFTNN
UIBO  NT  < >  UIF IJHI WFMPDJUZ SBOHF JT MFTT XFMM                /"50 MFGU NN/"50 DIBNCFSFEJOUIF.SJGMF  NJEEMF 
EFGJOFE *OUIFDPOUFYUPGXPVOECBMMJTUJDT IJHIWFMPDJUZ                          × ", ,BMBTIOJLPW  SJHIU  .JMJUBSZ BNNVOJUJPO
                                                                                     UFSNJOPMPHZVTFTNFUSJDTZTUFNXJUICVMMFUEJBNFUFSFYQSFTTFEJO
JTDPOTJEFSFEUPTUBSUBQQSPYJNBUFMZBU NT BCPWF
                                                                                     NN
XIJDI“FYQMPTJWFFGGFDUT”BSFDPNNPOMZTFFO<> .FEJVN
PS JOUFSNFEJBUF WFMPDJUJFT  NT  <> BSF BDIJFWFE                       % VSJOH GMJHIU  CVMMFUT BSF TVCKFDUFE JOJUJBMMZ UP UIF
CZNPSFQPXFSGVMIBOEHVOT TVDIBTUIPTFVTJOH .BHOVN                              EFTUBCJMJ[JOHFGGFDUTPGUIFFTDBQJOHHBTFTGSPNUIFNV[[MF
BNNVOJUJPO<>                                                                     PGUIFHVO<> BOEUIFSFBGUFSUPUIFESBHGPSDFTGSPNUIFBJS
5IFOPTFDPOUPVSBOEUIFNBTTPGUIFCVMMFUBSFJNQPSUBOU                         SFTJTUBODFXIJDIJODSFBTFXJUICVMMFUWFMPDJUZ <> #FDBVTF
GPSUIFNBJOUFOBODFPGJUTWFMPDJUZBOEFOFSHZEVSJOHGMJHIU                        UIFTFGPSDFTDPODFOUSBUFPOUIFBOUFSJPSQBSUPGUIFCVMMFU
<> # BTFE PO UIF NFBTVSFNFOUT QVCMJTIFE JO CBMMJTUJD                      XIJMF JUT DFOUFS PG NBTT JT MPDBUFE UPXBSET JUT SFBS  BO
UBCMFT <>  UIF NV[[MF FOFSHZ JT DPOTJEFSFE UP EFDSFBTF                    PWFSUVSOJOHNPNFOUFNFSHFT NPTUQSPNJOFOUPOTQJU[FS
TJHOJGJDBOUMZCFZPOE NGPSNPTUIBOEHVOCVMMFUT BOE                            CVMMFUT  XIJDI DBVTFT UIF CVMMFU’T MPOHJUVEJOBM BYJT UP
CFZPOE   N GPS SJGMF CVMMFUT <> 6 OGPSUVOBUFMZ  NPTU                   EJWFSHFGSPNUIFMJOFPGUSBKFDUPSZ< >5IJTEJWFSHFODF
DJWJMJBO(48BSFJOGMJDUFEGSPNBOBWFSBHFPGN<>                             JTDBMMFEZBXBOEJTFYQSFTTFECZUIFBOHMFCFUXFFOUIF
 .PEFSONJMJUBSZ BTTBVMU SJGMFTMBVODIUIFJSQSPKFDUJMFT                        CVMMFU’TBYJTBOEUIFWFMPDJUZWFDUPS <    > #FDBVTF
BU    NT . JMJUBSZ SJGMF CVMMFUT IBWF B TMFOEFS                      PGUIFTQJO ZBXJOHSFTVMUTJOBDPNQMFYTQJSBMSFWPMVUJPO
TUSFBNMJOFEQSPGJMFXJUIBTPDBMMFETQJU[FS QPJOUFE OPTF                         PGUIFCVMMFU’TUJQJOTQBDFBCPVUJUTDFOUFSPGNBTT XIJDI
         Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 272 of 295
                                          1BOBHJPUJT,4UFGBOPQPVMPTFUBM+PVSOBMPG"DVUF%JTFBTF  


JTLOPXO BT QSFDFTTJPO  TJNJMBS UP UIF EJTUVSCBODF PG B                     UJTTVFSFTJTUBODFDBVTFTUIFTFCVMMFUTUPCFDPNFGMBUUFOFE
TQJOOJOH UPQ LOPDLFE TJEFXBZT <> 'JHVSF   )PXFWFS                        PSEFGPSNJOUPBNVTISPPNTIBQF<> %FGPSNFECVMMFUT
VOEFSUIFHZSPTDPQJDTUBCJMJ[BUJPOCZUIFTQJOQSFDFTTJPO                           EPOPUZBX<>)PMMPXQPJOUSJGMFCVMMFUTBSFNBOEBUPSZ
EJTQMBZTBEFDMJOJOHBNQMJUVEFXJUIEJTUBODF<>                                  GPSIVOUJOHQVSQPTFTJOPSEFSUPQSPEVDFJOTUBOU“IVNBOF”
                                                                                    LJMMJOHPGUIFBOJNBM<> CVUBSFTUSJDUMZQSPIJCJUFEGPS
                                                                                    NJMJUBSZ QVSQPTFT VOEFS UIF )BHVF $POWFOUJPO PG 
                                                                                    BT UIFZ DBVTF “FYDFTTJWF” XPVOEJOH <>)PMMPXQPJOU
'JHVSF  $POEFOTFE ESBXJOH EFNPOTUSBUJOH CVMMFU ZBX XJUI
                                                                                    IBOEHVOCVMMFUT 'JHVSF BSFJOVTFCZTPNFQPMJDFGPSDFT 
QSFDFTTJPO MFGU QSPDFFEJOH UP UVNCMJOH SJHIU  "SSPX JOEJDBUFT
EJSFDUJPOPGCVMMFUNPWFNFOU                                                       CFDBVTFEFGPSNBUJPOPGBMPXWFMPDJUZQSPKFDUJMFQSFWFOUT
                                                                                    PWFSQFOFUSBUJPOPGUIFUBSHFU XIJDIPUIFSXJTFDPVMESFTVMU
  8IFO BO '.+ CVMMFU QFOFUSBUFT UJTTVF  UIF SFTJTUBODF                    JOBDDJEFOUBMXPVOEJOHPGCZTUBOEFST
FODPVOUFSFESFTVMUJOHJOJUTSFUBSEBUJPOBGGFDUTJUTTUBCJMJUZ
BOE PDDBTJPOBMMZ JUT JOUFHSJUZ  CFDBVTF UJTTVF EFOTJUZ
JT BCPVU  UJNFT HSFBUFS UIBO UIBU PG BJS BOE UIF TQJO                &OFSHZUSBOTGFSDIBSBDUFSJTUJDTPGHVOTIPUXPVOET
DBOOPMPOHFSNBJOUBJOUIFCVMMFU’TQSFWJPVTPSJFOUBUJPO
<> 0WFSBDFSUBJOEJTUBODF XIJDIWBSJFTEFQFOEJOHPO                           4FWFSBMBVUIPST <   >IBWFEJTDVTTFEUIFGBMMBDZPG
UIFUZQFPGUIFCVMMFU ZBXJOHCFDPNFTJSSFWFSTJCMF BOE                           EFTDSJCJOHUIFTFWFSJUZPG (48CZNFBOTPGUIFWFMPDJUZ
XJUIJOBTVGGJDJFOUMZMPOHQBUIUVNCMJOHFWFOUVBMMZPDDVST                         DIBSBDUFSJTUJDTPGUIFQFOFUSBUJOHNJTTJMF *OUIFDPOUFYUPG
UIFSFBGUFS UIF CVMMFU BEWBODJOH CBTFGPSXBSE <  >                       XPVOECBMMJTUJDT “MPXWFMPDJUZ”BOE“IJHIWFMPDJUZ”DBO
'JHVSF                                                                          POMZ SFGFS UP UIF DJSDVNTUBODFT PG XPVOEJOH  JOEJDBUJOH
                                                                                    XPVOETGSPNIBOEHVOTBOESJGMFTSFTQFDUJWFMZ<>)PXFWFS 
                                                                                    UIFVTFPGTVDIUFSNTBTFTUJNBUFTPGUIFXPVOEJUTFMGJT
                                                                                    JOBDDVSBUFBOEQPUFOUJBMMZNJTMFBEJOH BTJUJTCBTFEPOUIF
                                                                                    FSSPOFPVTJNQSFTTJPOUIBUUIFFYUFOUPGXPVOEJOHJTEJSFDUMZ
                                                                                    QSPQPSUJPOBMUPUIFJNQBDUFOFSHZPGUIFQSPKFDUJMF XIJDIJT
                                                                                     HSFBUMZJOGMVFODFECZJUTWFMPDJUZBDDPSEJOHUPUIFGBNJMJBS
                                                                                    LJOFUJDFOFSHZGPSNVMB ,&NW  <> *OGBDU JUJTPOMZ
                                                                                    UIF FOFSHZ EFQPTJUFE UP UIF UJTTVFT UIBU JT USBOTGPSNFE
                                                                                    UP XPSL SFTVMUJOH JO UJTTVF EJTSVQUJPO <  > "MUIPVHI
                                                                                    UIF FGGFDUT PG SJGMF CVMMFUT DBO CF GBS NPSF EFTUSVDUJWF
                                                                                    DPNQBSFEUPIBOEHVOTCFDBVTFPGUIFJSIJHIFSFOFSHZ<> 
                                                                                    BMNPTUBMMPGUIFTFTPDBMMFE“FYQMPTJWF”FGGFDUTDBOCF
                                                                                    USBDFE UP UIF QIFOPNFOPO PG DBWJUBUJPO <>  B QSPNJOFOU
                                                                                    NBOJGFTUBUJPOPGIJHIFOFSHZUSBOTGFS BTEFTDSJCFECFMPX
'JHVSF%JGGFSFOU IBOEHVO CVMMFU DPOTUSVDUJPO TFNJKBDLFUFE                 "U UIF PUIFS FYUSFNF  B OPOEFGPSNJOH '.+  SJGMF CVMMFU
IPMMPXQPJOU 4+)1 POUIFMFGU BOEGVMMNFUBMKBDLFUFESPVOEOPTF                USBWFSTJOHJOTUBCMFGMJHIUBMJNJUFEXJEUIPGTPGUUJTTVFXJMM
 '.+3/ POUIFSJHIU#PUIDBSUSJEHFTBSFNN-VHFS
                                                                                    TQFOEPOMZBTNBMMGSBDUJPOPGJUTFOPSNPVTLJOFUJDFOFSHZ
  5 IF PUIFS NBKPS UZQF PG CVMMFU DPOTUSVDUJPO JT UIF                    <> 5IFSFGPSF JUJTNPSFBQQSPQSJBUFUPUIJOLJOUFSNTPG

EFGPSNJOHPSFYQBOEJOHCVMMFUXIJDITVTUBJOTBOJODSFBTF                           FOFSHZ USBOTGFS PS EFQPTJUJPO UP UIF XPVOE JO PSEFS UP
JO EJBNFUFS XJUIJO UIF UBSHFU 5IJT JODMVEFT TPMJE MFBE                    PVUMJOFJUTFYUFOUBOETFWFSJUZSBUIFSUIBODPODFOUSBUJOHPO
CVMMFUT BOEUIFTQFDJGJDBMMZEFTJHOFEQBSUJBMMZKBDLFUFE                          UIFQIZTJDBMQSPQFSUJFTPGUIFNJTTJMF<  >
CVMMFUTXIJDIIBWFUIFUJQPGUIFMFBEDPSFFJUIFSTJNQMZ                          . PSFPWFS  UIF FYUFOU PG UJTTVF EBNBHF BMPOH UIF
MFGUFYQPTFE KBDLFUFETPGUQPJOUCVMMFUT  +41 PSIPMMPXFE                       XPVOE USBDL NBZ WBSZBT B SFTVMU PG OPOMJOFBS FOFSHZ
TFNJKBDLFUFEIPMMPXQPJOUCVMMFUT  4+)1  6QPOJNQBDU                           EFQPTJUJPO < > 5IFSBUFPGFOFSHZUSBOTGFSUPUIFXPVOE
         Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 273 of 295
                                           1BOBHJPUJT,4UFGBOPQPVMPTFUBM+PVSOBMPG"DVUF%JTFBTF  
                                                                                                                                                

JT EFUFSNJOFE CZ UIF UJTTVF SFTJTUBODF UP QFOFUSBUJPO                      QSPKFDUJMF’TTVSGBDF < > *OBEEJUJPO JODPOUBDUPSDMPTF
XIJDIJTBGGFDUFECZUIFGSPOUBMTVSGBDFBSFBPGUIFCVMMFU                       SBOHF (48  UIF JOKVSZ JT BHHSBWBUFE CZ UIF CMBTU FGGFDU
“QSFTFOUFE”UPUIFUJTTVF< > 5IFDSJUJDBMGBDUPSMFBEJOH                    PGUIFFTDBQJOHQSPQFMMBOUHBTFTJOUPUIFUJTTVF <  >
UPIJHIFSBNPVOUTPGFOFSHZEFQPTJUJPOBMPOHUIFNJTTJMF                          5JTTVFCVSOJOH <> BMTPPDDVSTXJUICVMMFUTSFUBJOFEJOUIF
USBDLJTBOZJODSFBTFJOUIFQSFTFOUFEBSFB XIJDIJOWJUFT                        XPVOE
ESBH GPSDFT PG HSFBUFS NBHOJUVEF 5 IFSF BSF UXP NBJO
NFDIBOJTNT SFTQPOTJCMF GPS TVDI BO PDDVSSFODF 8JUI                         %JSFDUUJTTVFEBNBHF
ZBXJOH UIFQSFTFOUFEBSFBPGUIFCVMMFUDBOPOMZFOMBSHF
BTUIFZBXBOHMFBQQSPBDIFT EFHSFFTCPUIUIFFOFSHZ                             $ SVTI JOKVSZ GPMMPXFE CZ SVQUVSF PG UIF UJTTVF
USBOTGFS BOE UIF SFTVMUJOH XPVOEJOH FGGFDU JODSFBTF                         FODPVOUFSFECZUIFMFBEJOHFEHFPGUIFBEWBODJOHCVMMFU
NBSLFEMZ<> BTUIFCVMMFUFTTFOUJBMMZTFWFSTUJTTVFXJUI                       MFBETUPUIFGPSNBUJPOPGUIFXPVOEUSBDL<     >5IJT
BMMJUTMFOHUI < > 5IFTNBMMDBMJCFSCVMMFUTPGUIF .                   DPNCJOBUJPOIBTCFFODBMMFEQSPNQUEBNBHFBTJUPDDVST
BOE ,BMBTIOJLPW ", BTTBVMU SJGMFT ZBX BOE UVNCMF                        JNNFEJBUFMZ JO UIF EJSFDU WJDJOJUZ PG UIF QSPKFDUJMF<>
TJHOJGJDBOUMZFBSMJFSUIBOUIFUXJDFIFBWJFSCVMMFUVTFECZ                       SFQSFTFOUJOHUIFQSFEPNJOBOUNFDIBOJTNPGUJTTVFJOKVSZ
UIF VCJRVJUPVT ", SJGMF  UIVT DSFBUJOH MBSHF XPVOET                     JOMPXFOFSHZ(48
FBSMZJOUIFJSQBUI <> 5IFPUIFSNFDIBOJTNJODSFBTJOH                        5IFSFTJEVBMXPVOEUSBDLXIJDISFNBJOTBGUFSUIFQBTTBHF
UIFQSFTFOUFEBSFBPGUIFQSPKFDUJMF BOEBMTPUIFEJBNFUFS                         PGUIFQSPKFDUJMFJTDPNNPOMZSFGFSSFEUPBTUIFQFSNBOFOU
PGUIFXPVOEUSBDL JTCVMMFUEFGPSNBUJPO< >                                 DBWJUZ <  > BMUIPVHIUIFUFSN“DBWJUZ”TIPVMEQSPCBCMZ
                                                                                   CF SFTFSWFE GPS UIF UFNQPSBSZ DBWJUBUJPO QIFOPNFOPO
                                                                                   5 IF NPSF DPNQSFIFOTJWF UFSNT“QFSNBOFOU XPVOE
.FDIBOJTNTPGHVOTIPUJOKVSJFT                                                  DIBOOFM”<> BOE“QFSNBOFOUXPVOEUSBDU”<>IBWFCFFO
                                                                                   VTFE JOEJDBUJOHUIF DFOUSBM EFGFDU QFSNBOFOU “DBWJUZ” 
                                                                                   UPHFUIFSXJUIBOZTVSSPVOEJOHBSFBPGJSSFWFSTJCMFUJTTVF
  " CVMMFU SFUBJOFE XJUIJO UIF UJTTVFT IBT EFMJWFSFE BMM                EBNBHF<> UIFMBUUFSSFTVMUJOHGSPNUIFDSVTIJOHFGGFDUPG
JUTFOFSHZ DSFBUJOHBCMJOEXPVOEXJUIPOMZBOFOUSBODF                           UIFPWFSQSFTTVSFNFDIBOJTNBOEUIFQPUFOUJBMEJTSVQUJPO
BQFSUVSF " MUFSOBUJWFMZ  B QFSGPSBUJOH UISPVHIBOE                            GSPNDBWJUBUJPO *SSFWFSTJCMZEBNBHFEUJTTVFTVCTFRVFOUMZ
UISPVHI XPVOENBZCFQSPEVDFE XJUIUIFCVMMFUMFBWJOH                           VOEFSHPFT OFDSPTJT BOE TMPVHI DPOUSJCVUJOH UP UIF
UIF CPEZ UISPVHI BO FYJU XPVOE <> " MUIPVHI B MPX                      QFSNBOFOU“DBWJUZ”GPSNBUJPO <> *UJTTVSSPVOEFECZBO
WFMPDJUZCVMMFUNBZFYJUUIFXPVOEEFQFOEJOHPOUIFXJEUI                         PVUFSIFNPSSIBHJDBSFBUFSNFEUIFFYUSBWBTBUJPO[POF 
BOE EFOTJUZ PG UIF UJTTVFT USBWFSTFE  JU IBT CFFO TUBUFE                 XIJDIJTDIBSBDUFSJ[FECZJOUFSTUJUJBMCMFFEJOHCVUBCTFODF
UIBUBUIJHIJNQBDUWFMPDJUJFT BCPWF NT BNJMJUBSZ                        PGNBDSPTDPQJDBMMZFWJEFOUUJTTVFEFTUSVDUJPO< >
SJGMFCVMMFUXJMMBMXBZTFYJUBOBOJNBMUIFTJ[FPGBNBO 
GPMMPXJOHBSFMBUJWFMZTUSBJHIUDPVSTF <> &YJUXPVOETUFOE                   $BWJUBUJPO
UP CF MBSHFS BOE NPSF JSSFHVMBS UIBO FOUSBODF XPVOET 
UZQJDBMMZBTBSFTVMUPGCVMMFUUVNCMJOH< >                                  "TUIFQSPKFDUJMFJTNPWJOHGPSXBSE UJTTVFEFUBDIFTGSPN
 (48BSFDPOTJEFSFEBTQFDJBMGPSNPGCMVOUUSBVNB <>                         UIF QSPKFDUJMFUJTTVF JOUFSGBDF  BT B SFTVMU PG CPVOEBSZ
5IFZ EP OPU DPOTJTU TJNQMZ JO QMBJO UJTTVF QFOFUSBUJPO                    GMPXTFQBSBUJPO BOEJTTVCTFRVFOUMZBDDFMFSBUFESBEJBMMZ 
TJODFUIFZJOWPMWFDSVTIJOHEVFUPPWFSQSFTTVSFJOGSPOU                          UIFTBNFXBZBTBTQFFECPBUEJTQMBDFTXBUFS <> XIJMF
PGUIFQSPKFDUJMF BOEBMTPJOEJSFDUEBNBHFGSPNUFNQPSBSZ                        UIFNPNFOUVNJNQBSUFEUPUJTTVFQBSUJDMFTSFTVMUTJOUIF
DBWJUZ GPSNBUJPO JO JUT XBLF SFHJPO <      >                  GPSNBUJPOPGBWBDVVN<   > 5IFVOEFSMZJOHQSPDFTT
5IFTFNFDIBOJTNTDBOCFJOUFSQSFUFEBTBTFRVFODFPG                              DBMMFEDBWJUBUJPOCFDPNFTDMJOJDBMMZJNQPSUBOUBUJNQBDU
GMVJEEZOBNJDQIFOPNFOB <> XJUIUIFCVMMFUWJFXFEBT                          WFMPDJUJFTFYDFFEJOH NT<> UIVTDPOTJEFSFEUIFNPTU
BO JNNFSTFE CPEZ BOE UIF TVSSPVOEJOH UJTTVF XJUI JUT                      JNQPSUBOU GFBUVSF JO XPVOE CBMMJTUJDT PG IJHIWFMPDJUZ
IJHI XBUFS DPOUFOU BT “GMPXJOH” CBDLXBSET BSPVOE UIF                       QSPKFDUJMFT<  > $BWJUBUJPOJTBOFYUSFNFMZEZOBNJD
          Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 274 of 295
                                              1BOBHJPUJT,4UFGBOPQPVMPTFUBM+PVSOBMPG"DVUF%JTFBTF  


QIFOPNFOPO XIJDIFYDFFETUIFDBQBDJUZPGUIFTPGUUJTTVF                              TUSFUDIJOHEVFUPUFOTJMFTUSBJO CVUBMTPGSPNDPNQSFTTJPO
UPZJFMEUPUIFQSFTTVSFDIBOHFTDSFBUFECZUIFQFOFUSBUJOH                             PG UIF TVSSPVOEJOH UJTTVF BT XFMM BT TIFBSJOH PG GBTDJBM
NJTTJMF #FDBVTFPGUIJTJOFSUJB UJTTVFEJTQMBDFNFOUMBHT                            JOUFSGBDFTXJUIJOJU < > "MUIPVHIDPOUSPWFSTZTUJMMFYJTUT
CFIJOEUIFCVMMFU BOEUIFSFTVMUBOUEFGPSNJUZ LOPXOBT                               SFHBSEJOHUIFSFMBUJWFJNQPSUBODFPGUIFTFFGGFDUTBOEUIF
UIFUFNQPSBSZDBWJUZ SFBDIFTNBYJNVNTJ[FXJUIJOTFWFSBM                              FYUFOUPGUIFSFTVMUBOUOFDSPTJTJONVTDMFUJTTVF<    > 
NJMMJTFDPOETBGUFSJUTQBTTBHF <   > 4VCTFRVFOUMZ UIF                        DBWJUBUJPOJTDMFBSMZEFWBTUBUJOHJOTVTDFQUJCMFPSHBOTTVDI
FOFSHZTUPSFEJOBOZEJTQMBDFEUJTTVFXJUIFOPVHIFMBTUJDJUZ                           BTUIFCSBJOBOEMJWFS< > *OUIFFYUSBWBTBUJPO[POFUJTTVF
DBVTF UIF DBWJUZ XBMMT UP DPMMBQTF  XJUI B GFX DZDMFT PG                     JOKVSZSFTVMUTGSPNUFBSJOHPGUIFFMFNFOUTNPTUTFOTJUJWF
FYQBOTJPO BOE DPOUSBDUJPO “QVMTBUJPOT”  GPMMPXJOH JO                              UPUFOTJMFGPSDFT OBNFMZUIFDBQJMMBSJFT< > BOEUIFSFJTB
B XBOJOH GBTIJPO  VOUJM UJTTVF TFUUMFT JO UIF GPSN PG UIF                    EJSFDUSFMBUJPOTIJQCFUXFFOUIFTJ[FPGUIFUFNQPSBSZDBWJUZ
SFTJEVBM XPVOE USBDL 5IJT TIPSUMJWFE DIBSBDUFS PG UIF                         BOEUIFXJEUIPGUIFFYUSBWBTBUJPO[POF <>.PSFPWFS UIF
DBWJUZJTFNQIBTJ[FECZUIFOBNF“UFNQPSBSZ”< >                                    WBDVVNDSFBUFEEVSJOHUIFFYQBOTJPOPGUIFDBWJUZDBVTFT
                                                                                        TVDUJPOPGGPSFJHONBUFSJBMBOEEFCSJTJOUPUIFXPVOE<> PO
                            1FSNBOFOUDBWJUZ                                           UPQPGUIFDPOUBNJOBUJPOBMSFBEZQSFTFOUGSPNUIFCVMMFU
                                                                                        TVSGBDF XIJDIJTOPUTUFSJMJ[FEGSPNIFBUJOHBTDPNNPOMZ
                                                                                        CFMJFWFE< > 5 IF DMJOJDBM QJDUVSF PG B XPVOE DIBOOFM
                                                                                        XIJDIJTCPSEFSFECZDPOUVTFEBOEQPUFOUJBMMZOFDSPTJOH
                                                                                         UJTTVF JOPDVMBUFE XJUI CBDUFSJB SFQSFTFOUT UIF IBMMNBSL
           /BSSPXDIBOOFM                  5FNQPSBSZDBWJUZ                             PG IJHIFOFSHZ HVOTIPU JOKVSZ  <  >  5 IF FYUFSOBM
'JHVSF*EFBMJ[FEESBXJOHPGUFNQPSBSZDBWJUZGPSNBUJPO EPUUFE                      BQQFBSBODFPGTVDIBXPVOENBZCFEFDFQUJWFXJUISFTQFDU
MJOF CZNJMJUBSZSJGMFCVMMFU5IFDBWJUZFYQBOETJOTQJOEMFTIBQFE                   UPUIFEBNBHFQSPEVDFEEFFQJOUIFUJTTVFT "TQSFWJPVTMZ
GBTIJPO BT UIF CVMMFU ZBXT BOE UVNCMFT  BGUFS UIF JOJUJBM OBSSPX
                                                                                        NFOUJPOFE IPXFWFS BNJMJUBSZSJGMFCVMMFUNBZJOEVDFB
DIBOOFM5IFSFTJEVBMXPVOEUSBDL QFSNBOFOU“DBWJUZ” BQQFBSTJO
TPMJEMJOF"SSPXJOEJDBUFTEJSFDUJPOPGCVMMFUNPWFNFOU                                MPXFOFSHZXPVOEJODBTFPGBQFSGPSBUJOHXPVOEUSBDLOP
                                                                                        MPOHFSUIBOUIFOBSSPXDIBOOFMTJNVMBUFEGPSUIBUUZQFPG
 5IFNBHOJUVEFPGUIFDBWJUBUJPOQIFOPNFOPOJTSFMBUFE                               CVMMFU<>
UP UIF SBUF PG FOFSHZ EFQPTJUJPO 5 IF TUVEZ PG NJMJUBSZ
SJGMF CVMMFUT JO TZOUIFUJD NBUFSJBMT TJNVMBUJOH NVTDMF                           #POFJOKVSJFT
UJTTVFTVHHFTUTUIBUBTMPOHBTUIFCVMMFUNPWFTXJUIJOUIF
UBSHFU XJUIPVU TJHOJGJDBOU ZBXJOH  UIVT TVTUBJOJOH MJUUMF                          #BMMJTUJD CPOF JOKVSZ JT B NPSF DPNQMFY QSPDFTT UIBO
SFUBSEBUJPO  UIF XPVOE USBDL SFNBJOT“OBSSPX”  B MJUUMF                          QFOFUSBUJPOPGTPGUUJTTVF<>*OHFOFSBM CPOFUJTTVFDBVTFT
XJEFS UIBO UIF CVMMFU EJBNFUFS <> " MUIPVHI UIJT TP                         NBSLFE SFUBSEBUJPO PG UIF QFOFUSBUJOH CVMMFU <  >  BT
DBMMFE OBSSPX DIBOOFM BMTP JOWPMWFT B NJOPS UFNQPSBSZ                           FYQFDUFECZJUTHSFBUFSEFOTJUZDPNQBSFEUPTPGUUJTTVFBOE
DBWJUBUJPOBMFGGFDU<> BOFYQBOEJOHTQJOEMFTIBQFEDBWJUZ                           JUTSFMBUFENFDIBOJDBMQSPQFSUJFT QBSUJDVMBSMZJUTIBSEOFTT
CFDPNFTFWJEFOUBTUIFZBXBOHMFJODSFBTFTJSSFWFSTJCMZ                                 < > XIJDINBZBMTPDBVTFUIFCVMMFUUPEFGPSNPSCSFBL

BOECFDPNFTNBYJNVNJODSPTTTFDUJPOXIFOUIFCVMMFU                                   VQ< >
ZBXT BU   EFHSFFT DBVTJOH XJEF TFQBSBUJPO PG UJTTVF                          %SJMMIPMFEFGFDUT XIJDIBSFDIBSBDUFSJTUJDPGMPXFOFSHZ
“GMPX” 'JHVSF  DPOTJTUFOUXJUIBESBNBUJDJODSFBTFJO                              CBMMJTUJDQFOFUSBUJPO BSFNPSFDPNNPOJOUIFNFUBQIZTFBM
FOFSHZUSBOTGFS '.+IBOEHVOCVMMFUTNBZBMTPZBXXJUIJO                              SFHJPO PG MPOH CPOFT CFDBVTF PG UIF HSFBUFS QSPQPSUJPO
UJTTVFCVUEPOPUFMJDJUTJHOJGJDBOUDBWJUBUJPOCFDBVTFUIFTF                          PGDBODFMMPVTCPOFBOEUIFBTTPDJBUFEFOFSHZBCTPSQUJWF
CVMMFUTBSFTIPSUFSUIBOSJGMFCVMMFUTBOEUIFJSQSFTFOUFE                             DBQBDJUZ XIJDI MJNJUT UIF FYUFOTJPO PG GSBDUVSF MJOFT
BSFB JODSFBTFT POMZ OFHMJHJCMZ XJUI ZBXJOH < > 0O UIF                       < >  ) JHIFOFSHZ CBMMJTUJD JNQBDUT UZQJDBMMZ QSPEVDF

PUIFSIBOE EFGPSNJOHIBOEHVOCVMMFUTEFQFOEJOHPOUIFJS                               DPNNJOVUFE GSBDUVSFT<  >GSPN UIF FYQMPTJWF FGGFDUT
WFMPDJUZHJWFSJTFUPSFMBUJWFMZMBSHFUFNQPSBSZDBWJUJFT< >                      PG DBWJUBUJPO BTTPDJBUFEXJUIUIF GMVJE QSPQFSUJFT PG CPOF
  5 IF EBNBHF QSPEVDFE CZ DBWJUBUJPO SFTVMUT GSPN                               NBSSPX <  >#POF DPNNJOVUJPO JT OPU VODPNNPOXJUI
          Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 275 of 295
                                             1BOBHJPUJT,4UFGBOPQPVMPTFUBM+PVSOBMPG"DVUF%JTFBTF  
                                                                                                                                                         

IBOEHVOJOKVSJFT < >BOENBZSFTFNCMFSBEJPMPHJDBMMZB                         -BSHFUFNQPSBSZDBWJUJFTGSPN '.+IBOEHVOCVMMFUTIBWF
IJHIFOFSHZGSBDUVSF CVUUIFMBUUFSJOWPMWFTBNVDINPSF                           CFFO EFNPOTUSBUFE JO FYQFSJNFOUBM NPEFMT PG CBMMJTUJD
TFWFSFMZEBNBHFE[POFPGTPGUUJTTVF<>                                          CSBJOJOKVSZ<>.PSFPWFS BVUPQTZGJOEJOHT<>BOEQSFWJPVT
                                                                                     BOJNBMTUVEJFTTVHHFTUUIBUUIF“PSEJOBSZ”QSFTTVSFXBWFT
)FBEJOKVSJFT                                                                   <>BTTPDJBUFEXJUIDBWJUBUJPO SBUIFSUIBOUIFFBSMZCBMMJTUJD

                                                                                     QSFTTVSFXBWF “TIPDLXBWF” NBZCFJNQPSUBOUDBVTFTJO
  5 IF JNQBDU FOFSHZ PG UIF QSPKFDUJMF  UIF BOHMF PG                      UIFQBUIPHFOFTJTPGSFTQJSBUPSZBSSFTUGPMMPXJOHMPXWFMPDJUZ
JOUFSBDUJPOXJUIUIFCPOZTVSGBDF BOEUIFVOEFSMZJOHCPOF                          CBMMJTUJDUSBVNBPGUIFIFBE JOUIFBCTFODFPGTJHOJGJDBOU
UIJDLOFTTBSFJNQPSUBOUEFUFSNJOBOUTPGTLVMMQFOFUSBUJPO                           NBTTFGGFDUPSEJSFDUJOWPMWFNFOUPGCSBJOTUFNTUSVDUVSFT
< > 5BOHFOUJBMCVMMFUXPVOETPGUIFTLVMMBSFLOPXOBT                        CZUIFNJTTJMFUSBDL
“HVUUFS” XPVOET UIFZ NBZ JOWPMWF POMZ UIF PVUFS UBCMF
PS UIF GVMM UIJDLOFTT PG UIF CPOF <> #VMMFUT DBQBCMF PG
FOUFSJOHUIFTLVMMVTVBMMZIBWFFOPVHISFNBJOJOHFOFSHZ                             $PODMVTJPO
UPSFBDIUIFPQQPTJUFTJEFFJUIFSQFSGPSBUJOHUISPVHIJUPS
CFDPNJOH BSSFTUFE XJUIPVU FYJUJOH<> 5IJT JT DPNNPOMZ                         5IF EBNBHF QSPEVDFE CZ QFOFUSBUJOH CVMMFUT EFQFOET
BTTPDJBUFE XJUI FBSMZ EFTUBCJMJ[BUJPO PS EFGPSNBUJPO PG                       POUIFBNPVOUPGUIFJSJNQBDUFOFSHZUIBUJTEFMJWFSFEUP
UIF QFOFUSBUJOH QSPKFDUJMF  BOE BMTP DSFBUJPO PG CPOF                        UIF UJTTVFT  UIF SBUF BU XIJDI UIJT PDDVST  BOE UIF MPDBM
GSBHNFOUTXIJDINBZBDUBTTFDPOEBSZNJTTJMFT <> '.+                           SFTQPOTF PG UIF UJTTVF [POF TVCKFDUFE UP DBWJUBUJPOBM
CVMMFUT BSF NPSF MJLFMZ UP QFSGPSBUF UIF TLVMM BOE UIJT                    FGGFDUTGSPNIJHIFOFSHZJOKVSJFT "MUIPVHIUIFDPNQMFY
MJLFMJIPPE JODSFBTFTXJUIUIFDBMJCFS )PXFWFS UIFTJ[F                          JOUFSBDUJPOTPGUIFQSPKFDUJMFXJUIUIFWBSJPVTUJTTVFTSFTVMU
PG UIF QFSNBOFOU XPVOE DIBOOFMJO UIF CSBJO CFBST OP                         JO B XJEF SBOHF PG CBMMJTUJD JOKVSZ QBUUFSOT  BXBSFOFTT
SFMBUJPOTIJQUPUIFDBMJCFSPSNV[[MFFOFSHZPGUIFCVMMFU<>                      PG UIF TQFDJGJD NFDIBOJTNT UIBU DBVTF JODSFBTFE UJTTVF
 5IFIFBESFQSFTFOUTBQBSUJDVMBSTUSVDUVSFGSPNBXPVOE                           EFTUSVDUJPO OBNFMZCVMMFUUVNCMJOHBOEEFGPSNBUJPO XJMM
CBMMJTUJDTQPJOUPGWJFX <> 5IFQSFTTVSFCVJMEVQCZUIF                        BTTJTUSFDPHOJUJPOPGUIFMFTTDPNNPOJOKVSJFTJOWPMWJOH
FYQBOTJPO PG UIFUFNQPSBSZDBWJUZXJUIJOJUDBOPOMZCF                           IJHI FOFSHZ USBOTGFS  XIJDI BSF BMTP BTTPDJBUFE XJUI B
SFMJFWFECZCVSTUJOHPGUIFTLVMM <> BTEFNPOTUSBUFEXJUI                       IJHIFSSJTLPGJOGFDUJPVTDPNQMJDBUJPOT
IJHIWFMPDJUZQSPKFDUJMFTQFOFUSBUJOHFJUIFSJOUBDUBOJNBM                           
IFBET<>PSIVNBOTLVMMTGJMMFEXJUIHFMBUJOUPTJNVMBUFUIF
CSBJOTVCTUBODF <> #ZDPOUSBTU JOUIFBCTFODFPGBOPO                        $POGMJDUPGJOUFSFTUTUBUFNFOU
DPNQSFTTJCMFDPOUFOUXJUIGMVJEQSPQFSUJFTUPUSBOTNJUUIF
QSFTTVSFUPUIFCSBJODBTF UIFPOMZEFGFDUTQSPEVDFECZ
UIFTBNFUZQFTPGQSPKFDUJMFTJOUIFFNQUZTLVMMXFSFOFBU                          8FEFDMBSFUIBUXFIBWFOPDPOGMJDUPGJOUFSFTU
FOUSBODFBOEFYJUIPMFTXJUIOPTIBUUFSJOHPGCPOF < >
5IFTBNFNFDIBOJTNPGIZESBVMJDQSFTTVSFJTSFTQPOTJCMF
GPS JOEJSFDU GSBDUVSFT PG UIF UIJO PSCJUBM QMBUFT BMNPTU                    3FGFSFODFT
JOWBSJBCMZQSPEVDFECZIBOEHVOCVMMFUTQFOFUSBUJOHUIF
IFBE<  >
 #SBJOUJTTVFIBTMJUUMFUPMFSBODFUPTVEEFOJODSFBTFTJO                         <>$BMMFOEFS (3  'SFODI 38 8PVOE CBMMJTUJDT TUVEJFT JO UIF
QSFTTVSFBTJUJTGJSNMZFODMPTFEXJUIJOBOVOZJFMEJOHDBTF                               NFDIBOJTN PG XPVOE QSPEVDUJPO CZ SJGMF CVMMFUT .JM 4VSH
BOEUIJTBQQFBSTUPFOIBODFUIFDPOTFRVFODFTPGDBWJUBUJPO                                  
QSPEVDFEFWFOCZMPXWFMPDJUZQSPKFDUJMFT 1BSFODIZNBM                             <>'SFODI38 $BMMFOEFS(3#BMMJTUJDDIBSBDUFSJTUJDTPGXPVOEJOH
DIBOHFTFYUFOEJOHGPSTPNFEJTUBODFBSPVOEUIFQFSNBOFOU                                   BHFOUT*O#FZFS+$ FE 8PVOECBMMJTUJDT8BTIJOHUPO %$
XPVOE DIBOOFM IBWF CFFO PCTFSWFE XJUI GBUBM IBOEHVO                                0GGJDFPGUIF4VSHFPO(FOFSBM %FQBSUNFOUPGUIF"SNZ Q
JOKVSJFT NPTUMJLFMZBUUSJCVUFEUPUFNQPSBSZDBWJUBUJPO<>                            
                                                                                     <>)BSWFZ&/ .D.JMMFO+) #VUMFS&( 1VDLFUU80.FDIBOJTN
             Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 276 of 295
                                             1BOBHJPUJT,4UFGBOPQPVMPTFUBM+PVSOBMPG"DVUF%JTFBTF  


      PGXPVOEJOH*O#FZFS+$ FE 8PVOECBMMJTUJDT8BTIJOHUPO                          -JUUMF3" .BZOBSE3- FET 4DJFOUJGJDGPVOEBUJPOTPGUSBVNB
      %$ 0GGJDF PG UIF 4VSHFPO (FOFSBM  %FQBSUNFOU PG UIF                         0YGPSE#VUUFSXPSUI)FJOFNBOO Q
      "SNZ Q                                                             <>.PTT(. -FFNJOH%8 'BSSBS$-.JMJUBSZCBMMJTUJDTBCBTJD
<>#FMMBNZ3' ;BKUDIVL3$POWFOUJPOBMXBSGBSFCBMMJTUJD CMBTU                        NBOVBM-POEPO#SBTTFZ’T Q
      BOECVSOJOKVSJFT8BTIJOHUPO %$8BMUFS3FFE"SNZ.FEJDBM                     <>+ BOEJBM 3  3FJDIXBHF #  -FWZ .  %VFOBT 7  4UVSEJWBO -
      $FOUFS 0GGJDFPGUIF4VSHFPO(FOFSBM Q                                 #BMMJTUJDTGPSUIFOFVSPTVSHFPO/FVSPTVSHFSZ  
<>8BOH;( +JBOH+5IJOLJOHPOXPVOECBMMJTUJDTSFTFBSDI*OU                         
      3FW"SNFE'PSDFT.FE4FSW                                         <>(VHBMB ;  -JOETFZ 38 $MBTTJGJDBUJPO PG HVOTIPU JOKVSJFT JO
<>1BZOF-%.JMJUBSZXPVOECBMMJTUJDTIJTUPSZBOESFOBJTTBODF+                      DJWJMJBOT$MJO0SUIPQ3FMBU3FT
      3"SNZ.FE$PSQT                                            <>%F.VUI 8&  +S #VMMFU WFMPDJUZ BT BQQMJFE UP NJMJUBSZ SJGMF
<>#SFF[F+ 4FENBO"+ +BNFT(3 /FXCFSZ58 )FQQFS"&                                XPVOEJOHDBQBDJUZ+5SBVNB  
      %FUFSNJOJOH UIF XPVOEJOH FGGFDUT PG CBMMJTUJD QSPKFDUJMFT UP             <>" QQFOEJY " 5BCMFT *O ,OFVCVFIM #1  $PVQMBOE 3. 
      JOGPSNGVUVSFJOKVSZNPEFMTBTZTUFNBUJDSFWJFX+3"SNZ.FE                         3PUITDIJME." 5IBMJ.+ FET 8PVOECBMMJTUJDTCBTJDTBOE
      $PSQT                                                                BQQMJDBUJPOT 5SBOTMBUJPO PG UIF SFWJTFE SE (FSNBO FEJUJPO 
<>)BZXPPE *3.JTTJMFJOKVSZ 1SPCM(FO4VSH                             #FSMJO4QSJOHFS Q
                                                                                   <>0 SEPH (+  #BMBTVCSBNBOJVN 4  8BTTFSCFSHFS +  ,SBN ) 
<>:PHBOBOEBO/ 1JOUBS'" ,VNBSFTBO4 .BJNBO%+ )BSHBSUFO                           #JTIPQ. 4IPFNBLFS8&YUSFNJUZHVOTIPUXPVOET1BSUPOF–
      48 %ZOBNJD BOBMZTJT PG QFOFUSBUJOH USBVNB + 5SBVNB                            JEFOUJGJDBUJPOBOEUSFBUNFOUPGQBUJFOUTBUIJHISJTLPGWBTDVMBS
                                                                             JOKVSZ+5SBVNB  
<>;IBOH+ :PHBOBOEBO/ 1JOUBS'" (FOBSFMMJ5"5FNQPSBSZ                      <>(ZGUPLPTUBT% ,PNCPSP[PT#5IFNFDIBOJTNPGGJSFBSNJOKVSZ
      DBWJUZBOEQSFTTVSFEJTUSJCVUJPOJOBCSBJOTJNVMBOUGPMMPXJOH                         <BSUJDMFJO(SFFL>*BUSJLB$ISPOJLB  
      CBMMJTUJDQFOFUSBUJPO+/FVSPUSBVNB                      <>)PQLJOTPO%" .BSTIBMM5,'JSFBSNJOKVSJFT#S+4VSH
<>, OFVCVFIM #1  $PVQMBOE 3.  3PUITDIJME ."  5IBMJ                                  
      .+ 8VOECBMMJTUJL (SVOEMBHFO VOE "OXFOEVOHFOSE                           <>1 FUFST $&  4FCPVSO $-  $SPXEFS )- 8PVOE CBMMJTUJDT
      FE)FJEFMCFSH4QSJOHFS                                                           PG VOTUBCMF QSPKFDUJMFT 1BSU * QSPKFDUJMF ZBX HSPXUI BOE
<>% J.BJP 7+(VOTIPU XPVOET QSBDUJDBM BTQFDUT PG GJSFBSNT                        SFUBSEBUJPO+5SBVNB 4VQQM 44
      CBMMJTUJDT BOEGPSFOTJDUFDIOJRVFTOEFE#PDB3BUPO '-                    <>, OFVCVFIM #1 #BTJDT *O ,OFVCVFIM #1  $PVQMBOE 3. 
      $3$1SFTT                                                                        3PUITDIJME." 5IBMJ.+ FET 8PVOECBMMJTUJDTCBTJDTBOE
<>)PMMFSNBO++ 'BDLMFS.- $PMEXFMM%. #FO.FOBDIFN:                                BQQMJDBUJPOT 5SBOTMBUJPO PG UIF SFWJTFE SE (FSNBO FEJUJPO 
      (VOTIPU XPVOET  #VMMFUT  CBMMJTUJDT  BOE NFDIBOJTNT PG                       #FSMJO4QSJOHFS Q
      JOKVSZ"+3"N+3PFOUHFOPM                                   <>+ BO[PO # 1SPKFDUJMFNBUFSJBM JOUFSBDUJPOT TJNVMBOUT *O
<>$PVQMBOE3. ,OFVCVFIM#1 3PXMFZ%* #PXZFS(88PVOE                                $PPQFS (+  %VEMFZ )"  (BOO %4  -JUUMF 3"  .BZOBSE 3-
      CBMMJTUJDT TVSHFSZBOEUIFMBXPGXBS5SBVNB                           FET 4DJFOUJGJDGPVOEBUJPOTPGUSBVNB0YGPSE#VUUFSXPSUI
<>(SJGGJUIT% $MBTQFS+#VMMFUBOECMBTUJOKVSJFT JJJ .JMJUBSZ                     )FJOFNBOO Q
      MJNCJOKVSJFTCBMMJTUJDGSBDUVSFT$VSS0SUIPQ                   <>%J.BJP7+. %BOB4&)BOECPPLPGGPSFOTJDQBUIPMPHZOE
                                                                                          FE#PDB3BUPO '-$3$1SFTT Q
<>, OFVCVFIM #1 (FOFSBM XPVOE CBMMJTUJDT*O ,OFVCVFIM                     <>'BDLMFS.-$JWJMJBOHVOTIPUXPVOETBOECBMMJTUJDTEJTQFMMJOH
      #1  $PVQMBOE 3.  3PUITDIJME ."  5IBMJ .+ FET  8PVOE                          UIFNZUIT&NFSH.FE$MJO/PSUI"N  
      CBMMJTUJDTCBTJDTBOEBQQMJDBUJPOT 5SBOTMBUJPOPGUIFSFWJTFESE              <>,OFVCVFIM#18PVOECBMMJTUJDTPGCVMMFUTBOEGSBHNFOUT*O
      (FSNBOFEJUJPO #FSMJO4QSJOHFS Q                                        ,OFVCVFIM#1 $PVQMBOE3. 3PUITDIJME." 5IBMJ.+ FET 
<>'BDLMFS.- .BMJOPXTLJ+"5IFXPVOEQSPGJMFBWJTVBMNFUIPE                         8PVOE CBMMJTUJDT CBTJDT BOE BQQMJDBUJPOT 5SBOTMBUJPO PG UIF
      GPS RVBOUJGZJOH HVOTIPU XPVOE DPNQPOFOUT+ 5SBVNB                          SFWJTFESE(FSNBOFEJUJPO #FSMJO4QSJOHFS Q
                                                                                 
<>+BO[PO# )VMM+# 3ZBO+.1SPKFDUJMFNBUFSJBMJOUFSBDUJPOT                  <>4BOUVDDJ3" $IBOH:+#BMMJTUJDTGPSQIZTJDJBOTNZUITBCPVU
      TPGU UJTTVF BOE CPOF *O $PPQFS (+  %VEMFZ )"  (BOO %4                      XPVOE CBMMJTUJDT BOE HVOTIPU JOKVSJFT+ 6SPM    
             Case 1:22-cv-11431-FDS Document 21-1 Filed 01/31/23 Page 277 of 295
                                                               1BOBHJPUJT,4UFGBOPQPVMPTFUBM+PVSOBMPG"DVUF%JTFBTF  
                                                                                                                                                                            
                                                                                             <>'BDLMFS.- #SFUFBV+1 $PVSCJM-+ 5BYJU3 (MBT+ 'MFWFU+1
<>+ BO[PO #  4FFNBO 5 .VTDMF EFWJUBMJ[BUJPO JO IJHIFOFSHZ                                     0QFO XPVOE ESBJOBHF WFSTVT XPVOE FYDJTJPO JO USFBUJOH UIF
      NJTTJMF XPVOET  BOE JUT EFQFOEFODF PO FOFSHZ USBOTGFS +                                      NPEFSOBTTBVMUSJGMFXPVOE4VSHFSZ  
      5SBVNB                                                                       <>(SPßF1FSEFLBNQ. ,OFVCVFIM#1 4FSS" 7FOOFNBOO# 
<>%[JFNJBO "+  .FOEFMTPO +"  -JOETFZ % $PNQBSJTPO PG UIF                                      1PMMBL4(VOTIPUSFMBUFEUSBOTQPSUPGNJDSPPSHBOJTNTGSPN
      XPVOEJOH DIBSBDUFSJTUJDT PG TPNF DPNNPOMZ FODPVOUFSFE                                            UIFTLJOPGUIFFOUSBODFSFHJPOJOUPUIFCVMMFUQBUI*OU+-FHBM
      CVMMFUT+5SBVNB                                                                     .FE  
<>#POP $.  )FBSZ 3' (VOTIPU XPVOET UP UIF TQJOF 4QJOF +                              <>0 XFO4NJUI .4 )JHI WFMPDJUZ NJTTJMF XPVOET -POEPO
                                                                                           &EXBSE"SOPME Q
<># FMMBNZ 3' 5IF NFEJDBM FGGFDUT PG DPOWFOUJPOBM XFBQPOT                               <>.PMEFÅ (SBZ3-FUUFSUPUIFFEJUPS*OKVSZ  
      8PSME+4VSH                                                                 <>)VFMLF%' #VFHF-+ )BSHFS+)#POFGSBDUVSFTQSPEVDFECZ
<>%F.VUI 8&  +S  4NJUI +. )JHIWFMPDJUZ CVMMFU XPVOET PG                                      IJHIWFMPDJUZJNQBDUT"N+"OBU  
      NVTDMFBOECPOFUIFCBTJTPGSBUJPOBMFBSMZUSFBUNFOU+5SBVNB                                <>#BSUMFUU $4 $MJOJDBM VQEBUF HVOTIPU XPVOE CBMMJTUJDT $MJO
                                                                                           0SUIPQ3FMBU3FT
<>1 PMMBL 4  4BVLLP 1+ (VOTIPU XPVOET *O +BNJFTPO "                                   <>4UFGBOPQPVMPT1, 'JMJQQBLJT, 4PVQJPV05 1B[BSBLJPUJT7$
      .PFOTTFOT" FET 8JMFZFODZDMPQFEJBPGGPSFOTJDTDJFODF                                           8PVOE CBMMJTUJDT PG GJSFBSNSFMBUFE JOKVSJFT1BSU  NJTTJMF
      8FTU4VTTFY8JMFZ Q                                                                DIBSBDUFSJTUJDTBOENFDIBOJTNTPGTPGUUJTTVFXPVOEJOH*OU+
<>, BSHFS # 'PSFOTJD CBMMJTUJDT *O 5TPLPT . FE  'PSFOTJD                                  0SBM.BYJMMPGBD4VSH  
      QBUIPMPHZ SFWJFXT 7PMVNF  5PUPXB  /+ )VNBOB 1SFTT                                   <>)VFMLF%' )BSHFS+) #VFHF-+ %JOHNBO)( )BSHFS%3"O
       Q                                                                                       FYQFSJNFOUBMTUVEZJOCJPCBMMJTUJDTGFNPSBMGSBDUVSFTQSPEVDFE
<>% BWJETPO 1- 5BZMPS .$ 8JMTPO 4+ 8BMTI ,"+ ,JFTFS+"                                             CZQSPKFDUJMFT+#JPNFDI  
      1IZTJDBMDPNQPOFOUTPGTPGUUJTTVFCBMMJTUJDXPVOEJOHBOEUIFJS                                 <>3 PTF 4$  'VKJTBLJ $,  .PPSF && *ODPNQMFUF GSBDUVSFT
      JOWPMWFNFOUJOUIFHFOFSBUJPOPGCMPPECBDLTQBUUFS+'PSFOTJD                                       BTTPDJBUFEXJUIQFOFUSBUJOHUSBVNBFUJPMPHZ BQQFBSBODF BOE
      4DJ                                                                            OBUVSBMIJTUPSZ+5SBVNB  
<>' FMTNBOO .;  4[BSFL +  'FMTNBOO .  #BCJOTLB * 'BDUPST                                <>-FGGFST% $IBOEMFS385JCJBMGSBDUVSFTBTTPDJBUFEXJUIDJWJMJBO
      BGGFDUJOH UFNQPSBSZ DBWJUZ HFOFSBUJPO EVSJOH HVOTIPU XPVOE                                     HVOTIPUJOKVSJFT+5SBVNB  
      GPSNBUJPO JO BOJNBMT –  OFX BTQFDUT JO UIF MJHIU PG GMPX                              <>#PXZFS(8 3PTTJUFS/%.BOBHFNFOUPGHVOTIPUXPVOETPGUIF
      NFDIBOJDTBSFWJFX7FUFSJOBSOJ.FEJDJOB                                            MJNCT+#POF+PJOU4VSH#S  
                                                                                                   <>3PUITDIJME ." 8PVOE CBMMJTUJDT BOE GPSFOTJD NFEJDJOF *O
<>% P V H I F S U Z  1 +  ' B D L M F S  . -   8 P V O E  C B M M J T U J D T   U I F           ,OFVCVFIM#1 $PVQMBOE3. 3PUITDIJME." 5IBMJ.+ FET 
     QBUIPQIZTJPMPHZPGXPVOEJOH*O%PVHIFSUZ1+ FE (VOTIPU                                          8PVOE CBMMJTUJDT CBTJDT BOE BQQMJDBUJPOT 5SBOTMBUJPO PG UIF
     XPVOET3PTFNPOU *-""04 Q                                                            SFWJTFESE(FSNBOFEJUJPO#FSMJO4QSJOHFS Q
<>1 FUFST $&  4FCPVSO $- 8PVOE CBMMJTUJDT PG VOTUBCMF                                    <>0 FINJDIFO .  .FJTTOFS $  ,öOJH )( #SBJO JOKVSZ BGUFS
      QSPKFDUJMFT 1BSU ** UFNQPSBSZ DBWJUZ GPSNBUJPO BOE UJTTVF                                   HVOTIPU XPVOEJOH NPSQIPNFUSJD BOBMZTJT PG DFMM EFTUSVDUJPO
      EBNBHF+5SBVNB 4VQQM 44                                                          DBVTFE CZ UFNQPSBSZ DBWJUBUJPO+ /FVSPUSBVNB    
<>4DPUU31BUIPMPHZPGJOKVSJFTDBVTFECZIJHIWFMPDJUZNJTTJMFT                                    
      $MJO-BC.FE                                                                  <>; IBOH +  :PHBOBOEBO /  1JOUBS '"  (VBO :  (FOOBSFMMJ
<>( JBOOPV $  #BMEBO . 8BS TVSHFSZ XPSLJOH XJUI MJNJUFE                                     5" &YQFSJNFOUBM NPEFM GPS DJWJMJBO CBMMJTUJD CSBJO JOKVSZ
      SFTPVSDFT JO BSNFE DPOGMJDU BOE PUIFS TJUVBUJPOT PG WJPMFODF                                CJPNFDIBOJDTRVBOUJGJDBUJPO+#JPNFDI  
      7PMVNF(FOFWB*OUFSOBUJPOBM$PNNJUUFFPGUIF3FE$SPTT                                          
       Q                                                                                    <>0 FINJDIFO.  .FJTTOFS $  ,öOJH )(  (FIM )# (VOTIPU
<>#PMMJHFS4" 5IBMJ.+ #PMMJHFS.+ ,OFVCVFIM#1(VOTIPU                                           JOKVSJFTUPUIFIFBEBOECSBJODBVTFECZMPXWFMPDJUZIBOEHVOT
      FOFSHZ USBOTGFS QSPGJMF JO CBMMJTUJD HFMBUJO  EFUFSNJOFE XJUI                                 BOESJGMFTBSFWJFX'PSFOTJD4DJ*OU  
      DPNQVUFEUPNPHSBQIZVTJOHUIFUPUBMDSBDLMFOHUINFUIPE*OU+                                  <>$ BSFZ .& &YQFSJNFOUBM NJTTJMF XPVOEJOH PG UIF CSBJO
      -FHBM.FE                                                                        /FVSPTVSH$MJO/PSUI"N  
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                                                                   REVIEW ARTICLE



                      Gunshot wounds: A review of ballistics, bullets,
                                 weapons, and myths

Peter M. Rhee, MD, MPH, Ernest E. Moore, MD, Bellal Joseph, MD, Andrew Tang, MD, Viraj Pandit, MD,
                             and Gary Vercruysse, MD, Tucson, Arizona


I n the United States, someone experiences a gunshot wound
  every 4 minutes 44 seconds, and a person dies as a result each
16 minutes. Annually, this means that approximately 111,000
                                                                                    in the call for reviving and funding research on gun violence
                                                                                    and inadequate recognition and treatment of mental illness that
                                                                                    warrants federal and state tax support.7,8 As health care pro-
Americans are shot and 33,800 die as a result of these injuries,                    viders for trauma care, we have witnessed the ravages of gun-
which equates to 93 deaths caused by ﬁrearms every day.1,2 In                       related violence and, thus, should become proactive in the
contrast, the war in Iraq and Afghanistan has resulted in less                      ongoing national debate as it is our duty.
than 200 deaths per year from gunshot wounds during the                                    The numbers of gunshot wounds are increasing in the
height of the conﬂict (Table 1). Gunshot wound injuries are a                       United States, although the gun-related homicide rates remain
preventable epidemic in the United States. This silent epidemic                     relatively stable.9 Guns are ubiquitous in the United States, and
is largely deaf to the American public because we are so ac-                        it is known that where there are guns, there will be gunshot
customed to these injuries that they rarely make the news. Gun                      wounds.10,11 In other countries, it has been shown that gun law
violence leading to homicide may get some attention, but an                         reforms were associated with a decrease in the numbers of mass
even greater toll is placed on the survivors who must live with                     shootings and ﬁrearm deaths.12Y14 Canada, with their strict
the loss of loved ones or are burdened by the costs associated                      handgun control, has one-third fewer gunshot wounds than the
with the temporary or permanent disability caused by these                          United States. Australia and the United Kingdom have less than
wounds. Gunshot wounds not only hurt the body and mind of                           half of the deaths from gunshot wounds seen in Canada.10 The
the victim but also burden the family of the victim and the                         United States, which constitutes approximately 5% of the
society, both mentally and from a ﬁnancial perspective. It is not                   world’s population, owns between 35% and 50% of its guns.
unusual to have survivors accumulate hospital costs of more                         Legislation regarding ﬁrearms differs within the United States,
than $1 million per year, and some have total hospital and                          but what is certain is that gunshot wounds are a daily part of our
recovery costs of more than $10 million. Since most do not                          society and will remain a part of it for a very long time. While
have the money to afford these enormous costs, the burden then                      any topic relating to ﬁrearms remains volatile in our country,
falls on the society and ultimately the taxpayers. Additional                       the fact is that where there are guns, people will be shot. The
societal costs that are harder to quantify are the costs associated                 real tragedy is that with as many gunshot wounds occurring
with the permanent disabling and unemployment seen not in-                          daily in the United States, even collection of the basic data,
frequently in the victims of gunshot wounds. Whether these                          scientiﬁc inquiry, policy formation and analysis, and rigorous
injuries are intentional or unintentional, the patients are in our                  evaluation are limited. Firearm research is difﬁcult because
health care system. These costs have been estimated to range                        of politically motivated constraints. A blue ribbon commission
from $100 to $174 billion annually.3                                                appointed by the National Academy of Sciences concluded that
       Furthermore, there has been an alarming escalation in                        very little is currently known about effective ways to reduce
the numbers of mass shootings throughout the United States                          gun violence and injury within the United States because it is
(which leads the world in mass shootings), with 265 individuals                     rarely studied.15 While mortality rates from every major cause
killed and 269 wounded in the past 16 years4 (Table 2).5 Recent                     of death have declined dramatically during the past half cen-
terrorist-related mass shootings have reignited vigorous and                        tury,16 the homicide and gunshot wound rates in America are
volatile public debate over access to weapons designed for                          the same as those in 1950. Without challenging the Second
inﬂicting mass casualties.6 The predictable reﬂex response to                       Amendment of the Constitution, we can still work toward some
these mass shootings has been in several forms, of which one is                     semblance of regulation and control. The costs of inaction are
                                                                                    more gunshot wounds to both intended and unintended victims.
                                                                                    The cost of total freedom to bear arms is measured not only in
Submitted: January 14, 2016, Revised: February 8, 2016, Accepted: March 10,
   2016, Published online: March 15, 2016.                                          terms of the ﬁnancial burden to the society but also in terms of
From the Division of Trauma, Critical Care, Burns and Emergency Surgery (P.M.R.,    lives and lives ruined. The cost to life and the society is too
   B.J., A.T., V.P., G.V.), Department of Surgery, University of Arizona, Tucson,   enormous to ignore. The costs are generally to the taxpayers
   Arizona; and Department of Surgery (E.E.M.), University of Colorado, Denver,
   Denver, Colorado.
                                                                                    because it is costly to the court system, police system, and
Address for reprints: Peter M. Rhee, MD, MPH, Division of Trauma, Critical          health care system. By promoting discussions on this topic and
   Care, Burns and Emergency Surgery, University of Arizona, Department of          synergy of collaboration, we can at least attempt to make ef-
   Surgery, 1501 N Campbell Ave, Room 5411, PO Box 245063 Tucson, AZ                fectual progress.
   85724; email: prhee@surgery.arizona.edu.
                                                                                           Despite gunshot wounds being an epidemic, many health
DOI: 10.1097/TA.0000000000001037                                                    care providers’ understanding of ballistics, bullets, and guns
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TABLE 1. US Military Combat Casualty Deaths
                                                         Total Deaths                Deaths per Year                US Population                 Deaths per Year per 100,000
Revolution (1775Y1783)                                        8,000                        1,000                        3,929,884                               25.6
War of 1812 (1812Y1815)                                       2,260                          565                        7,036,509                                8.0
Mexican War (1846Y1848)                                       1,733                          577                       17,019,678                                3.4
Civil War (1861Y1865)                                       213,000                       42,400                       30,383,684                              139.5
Spanish-American War (1898)                                     385                          385                       61,116,815                                0.6
World War I (1917Y1918)                                      53,402                       58,258                       91,641,186                               29.1
World War II (1941Y1945)                                    291,557                       81,080                      130,962,661                               44.5
Korean War (1950Y1953)                                       36,574                        9,144                      149,895,183                                6.1
Vietnam War (1964Y1975)                                      47,424                        4,311                      178,554,916                                2.4
War on Terror (March 19, 2001Y2015)*                          5,281                          352                      321,216,397                                0.11
2014 US ﬁrearm deaths                                        32,800                       32,800                      321,216,397                               10.2
    *The Iraq War excludes the nonbattle injury deaths, and ﬁrearm deaths are approximately 50% of the battle-related deaths.




TABLE 2. Mass Shootings in the United States 2000 to 2015
Date                                                                      Location                                                      Killed                           Wounded
December 26, 2000                                         Wakeﬁeld, Massachussetts; ofﬁce                                                   7                                  0
March 5, 2001                                                 Santee, California; school*                                                   2                                 13
October 28, 2002                                              Tucson, Arizona; university                                                   3                                  0
July 8, 2003                                               Meridian, Mississippi; workplace                                                 5                                  9
March 21, 2005                                        Red Lake Indian Res, Minnesota; school*                                               9                                  7
January 30, 2006                                             Goleta, California; post ofﬁce                                                 6                                  0
October 2, 2006                                          Nickel Mines, Pennsylvania; school                                                 5                                  5
February 12, 2007                                       Salt Lake City, Utah; shopping mall*                                                5                                  4
April 16, 2007                                             Blacksburg, Virginia; university                                                32                                 17
December 5, 2007                                          Omaha, Nebraska; shopping mall                                                    8                                  4
February 14, 2008                                             Dekalb, Illinois; university                                                  5                                 16
April 3, 2009                                    Binghamton, New York; immigration services center                                         13                                  4
November 5, 2009                                            Fort Hood, Texas; military base                                                13                                 32
February 12, 2010                                          Huntsville, Alabama; university                                                  3                                  3
August 3, 2010                                              Manchester, Connecticut; court                                                  8                                  2
January 8, 2011                                           Tucson, Arizona; shopping center                                                  6                                 13
October 12, 2011                                          Seal Beach, California; hair salon                                                8                                  1
April 2, 2012                                               Oakland, California; university                                                 7                                  3
July 20, 2012                                              Aurora, Colorado; movie theater                                                 12                                 58
August 5, 2012                                              Oak Creek, Wisconsin; temple                                                    6                                  3
September 28, 2012                                         Minneapolis, Minnesota; ofﬁces                                                   6                                  2
October 21, 2012                                             Brookﬁeld, Wisconsin; salon                                                    3                                  4
December 14, 2012                                           Newtown, Connecticut; school                                                   27                                  1
June 7, 2013                                               Santa Monica, California; home                                                   5                                  0
September 16, 2013                                  Washington, District of Columbia; Navy yard                                            12                                  3
April 2, 2014                                               Fort Hood, Texas; military base                                                 3                                 16
May 23, 2014                                             Isla Vista, California; neighborhood                                               6                                  7
June 18, 2015                                            Charleston, South Carolina; church                                                 9                                  0
July 16, 2015                                         Chattanooga, Tennessee; military centers                                              5                                  3
October 1, 2015                                               Roseburg, Oregon; college                                                     9                                  9
November 29, 2015                               Colorado Springs, Colorado; planned parenthood clinic                                       3                                  9
December 2, 2015                                       San Bernardino, California; workplace                                               14                                 21
                                                                          Total                                                           265                                269
    *Teen shooters. Total number of mass shootings deﬁned as more than two victims and does not count the assailant whether they were killed or committed suicide. In comparison with
the previous 16 years, from 1984 to 1999, the total number of deaths was 135, and wounded was 156.



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are falsely propagated because of media, uneducated beliefs,             External Ballistics
and urban legends.17Y19 Therefore, the purpose of this review                   External ballistics addresses the path (trajectory) of a
was to provide the fundamental facts regarding gunshot                   projectile in ﬂight. It includes the time frame from when a
wounds, ballistics, bullets, and weapons.                                projectile is ﬁred until it reaches its target. Intrinsic factors
                                                                         depending on the type and size of both bullet and weapon along
                           BALLISTICS                                    with extrinsic factors such as wind and gravity are key com-
       Ballistics is deﬁned as the science of mechanics that deals       ponents of external ballistics. After a bullet is ﬁred, the ﬂight of
with the ﬂight, behavior, and effects of projectiles discharged          the bullet determines the amount of energy transferred to the
from guns. The severity of a bullet wound depends on the                 object upon impact of the bullet. Gravity and bullet drag caused
characteristics of the bullet (mass, velocity), orientation of the       by friction are the main forces acting on the projectile during its
bullet, and the tissue that is impacted. Ballistics is broadly           path through the air. Both gravity and friction cause the pro-
classiﬁed into three categories as follows: internal ballistics,         jectile to lose energy during ﬂight, which in turn affects the
external ballistics, and terminal ballistics. Firearms can be            ultimate path of the bullet.
weapons, but not all weapons are ﬁrearms. However, for the                      The effect of gravity on the trajectory of the bullet in
purposes of this review, they will be used interchangeably, and          space is commonly known as bullet drop. A bullet commonly
guns and ﬁrearms may be referred to as weapons, and vice versa.          travels in a parabolic shaped trajectory whose vertex and dis-
                                                                         tance are determined by the energy of the bullet. As a result,
Internal Ballistics                                                      bullets ﬁred at a longer distance need to be ﬁred at a positive
      Internal (initial) ballistics is the study of the propulsion       angle of elevation (inclination angle) to the line of the target.
of a projectile within a weapon from the propellant’s ignition           The path followed by the bullet in space is commonly termed
until the projectile exits the barrel. In addition, it involves          ballistic trajectory, which is determined by the energy potential
understanding the acceleration of the bullet within the weapon           at which the bullet exits the barrel of the weapon (muzzle
and the related processes. Internal ballistics is of importance to       energy), gravity, and the aerodynamic resistance (ballistic co-
designers of weapons. It is determined by the type of pro-               efﬁcient) on the bullet. Shooters routinely use the knowledge of
pellant (gun powder), the chamber (where the cartridge rests             bullet drop trajectory to accurately hit an intended target at
before it is ﬁred), and the barrel (riﬂing and length) of the            distance. The bullet in ﬂight also experiences yaw, roll, and
weapon. Riﬂing or the groove carved inside the barrel de-                pitch (Fig. 1).
termines the amount of spin imparted to the exiting bullet,
which stabilizes ﬂight.
                                                                         Terminal Ballistics
                                                                               The effects of a projectile on a target are known as ter-
                                                                         minal ballistics. The type of weapon, type of bullet (size, shape,
                                                                         material), and the type of tissue injured are the most important
                                                                         factors, which determine the terminal ballistics of a weapon.

                                                                         UNDERSTANDING THE BASIC PHYSICS BEHIND
                                                                                  FIREARM BALLISTICS
                                                                               There are several important laws of physics that should
                                                                         be considered when discussing the ballistics of ﬁrearm injuries.
                                                                         Law of Kinetic Energy
                                                                               The kinetic energy of an object is deﬁned as the 2 mass
                                                                         times the velocity squared
                                                                                                         1
                                                                                                     KE ¼ mv2
                                                                                                         2

                                                                                Thus, both mass and velocity contribute to the energy of
                                                                         the projectile. Mass or size of the bullet is directly proportional
                                                                         to the resulting energy, while the square of its velocity is di-
                                                                         rectly related to the overall energy of the projectile. As a result,
                                                                         for a constant velocity, if the mass is doubled, then the energy is
                                                                         doubled. However, the velocity of the bullet is a more important
                                                                         determinant of tissue injury because if the velocity of the bullet
                                                                         is doubled, the energy increases four times (Table 3). Gunshot
                                                                         wounds are classiﬁed according to the speed of the projectile,
                                                                         as low, medium, or high velocity. Generally, a low-velocity pro-
Figure 1. Ballistics and trajectory of bullet including pitch, roll,     jectile is deﬁned as 1,200 ft/s, medium as 1,200 ft/s to 2,500 ft/s,
and yaw of the bullet.                                                   and high as greater than 2,500 ft/s.20 Bullets from handguns are

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                                                                                                      The ballistic coefﬁcient is the efﬁciency of a bullet in
TABLE 3. Typical Bullet Characteristics of Handgun Rounds
and US Big Game Hunting Riﬂes
                                                                                               delivering potential energy through the air to its target. Vari-
                                                                                               ables that affect the ballistic coefﬁcient include the bullets
                          Bullet Weight,           Velocity,        Muzzle Energy,             mass, cross-sectional diameter, density of the bullet, and shape
Caliber                      Grains                  ft/s               ft lb
                                                                                               of the bullet, which all determine bullet drag. The bullets’
.22LR                             38                 1,000                   100               ability to have yaw, pitch, and roll also has some effect on this
.380                              90                 1,000                   200               coefﬁcient. Factors involved in determining the path of a bullet
.38 special                      115                   900                   220               toward its target are many and varied.
9 mm                             115                 1,200                   400
.357                             125                 1,500                   624               Newton’s Third Law of Motion
10 mm                            155                 1,265                   550                     According to the Newton’s third law of motion, for every
.40                              115                 1,180                   479               action, there is an equal but an opposite reaction. When a
.44 mag                          180                 1,550                   850               person is shot at point blank range, the energy felt by the person
.45 ACP                          185                   970                   386               being shot is the same as the energy of the gun during its recoil.
.45 colt                         225                   800                   250               The effect of Newton’s third law is on the person shooting the
.308                             150                 2,820                 2,648               gun who gets a ‘‘kick’’ or ‘‘recoil,’’ which is equal and opposite
270 Win                          150                 2,900                 2,801               to the direction of the muzzle energy. Typically, in movies,
30-06                            150                 2,920                 2,839               directors often depict the person being shot as absorbing more
7 mm                             165                 2,950                 3,190               energy than the shooter (by ﬂying backward through the air)
300 Win Mag                      180                 2,960                 3,500               and that is physically not possible.
300 WBY Mag                      180                 3,190                 4,005
375 H + H Mag                    300                 2,830                 4,265
458 Win Mag                    2,380                 2,380                 5,030
                                                                                                                            AMMUNITION
                                                                                                     A round, shell, or cartridge is ammunition for the gun.
                                                                                               Modern-day rounds consist of a casing, a primer, propellant,
generally less than 1,000 ft/s, while bullets from riﬂes exceed                                and a projectile. The anatomy of the projectile consists of its
2,500 ft/s. The US military commonly uses 5.56-mm bullets,                                     material and shape and if it has an outer lining or jacket. The
which have a relatively low mass as compared with other bullets;                               nomenclature of a cartridge is variable and often based on the
however, the speed of these bullets is relatively fast (Table 4). As a                         unique characteristics; for example, the .30-06 Springﬁeld is a
result, they produce a larger amount of kinetic energy, which after                            0.30-in-wide military round that was designed at Springﬁeld,
contact with the target is transmitted to these tissues.                                       Arsenal, Massachusetts, in the year 1906.21 However, there
       Muzzle velocity is deﬁned as the speed at which the                                     are considerable variations in the cartridge nomenclature
bullet leaves the barrel of the weapon and is used to calculate                                based on the country of use, type of organization, and company
the muzzle energy, which equates to wounding potential. It is                                  manufacturing the cartridge. Generally, in the United States,
important to keep in mind that bullets do not accelerate after                                 the caliber (diameter) of a round is measured in hundredths of
leaving the barrel of the weapon. A bullet discharged down-                                    an inch (0.30 cal = 30/100ths of an inch), whereas in the rest of
ward does technically accelerate because of forces of gravity,                                 the world, it is measured in millimeters (5.56 cal = 5.56 mm).
but friction has more of a negative effect on the bullet than the                              Modern-day ammunition thus typically has a brass casing with
positive effect of gravity. Thus, the kinetic energy of the bullet                             a primer that detonates upon impact with the ﬁring pin and
generally decreases after ﬁring at a logarithmic rate. As a result,                            results in a small explosion. This in turn causes the smokeless
the energy of impact on the target object is also determined by                                powder in the cartridge to burn very quickly, thus producing
the distance of the target object from the muzzle of the gun. The                              pressurized hot gasses, which propel the projectile or bullet
farther an object is from the muzzle of the weapon, the less                                   through the barrel of the gun and out of the muzzle (the open
energy is imparted to that object.                                                             end of the barrel).

TABLE 4. Typical Military Weapons and Their Ammunition Speciﬁcations
Military Weapon                              Caliber                          Bullet Weight, Grains                        Velocity, ft/s                    Muzzle Energy, ft lb
M1 Garand                              .30-06 Springﬁeld                                 150                                   29,100                                 2,820
M14                                        7.76 NATO                                     144                                    2,749                                 2,437
M16                                     5.56  45 NATO                                    62                                    3,251                                 1,303
M4                                      5.56  45 NATO                                    62                                    3,251                                 1,303
AR15                                    5.56  45 NATO                                    62                                    3,251                                 1,303
AK47                                       7.76 NATO                                     144                                    2,749                                 2,437
AK74                                    5.45  39 NATO                                    53                                    2,900                                   979
     M1 Garand was preplaced by the M14, which was replaced by the M16, which was replaced by the M4. The M4 is similar in capability and function to the M16, but the stock is
collapsible. The AR15 is the civilian version of the military assault riﬂes and does not come from the manufacturer with autocapacity or the three-round burst option. AK47 is Avtomat
Kalashnikova. The prototype was developed in 1947 in the Soviet Union by Major Mikhail Kalashnikov, and he also developed the AK74VAvtomat Kalishikov developed in 1974.



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                                                                          metal tube that shots projectiles such as metal objects, pieces of
                                                                          broken porcelain, or darts and arrows. The Chinese used it
                                                                          against the Mongols who then spread the use of gunpowder
                                                                          across Asia, and soon, it spread worldwide through the Middle
                                                                          East and eventually into Europe.
                                                                                Gunpowder is the most important component of a car-
                                                                          tridge that determines the power or energy. Gunpowder was
                                                                          difﬁcult to use because it was messy and dangerous. Large
                                                                          plumes of black smoke had obvious disadvantages, especially
                                                                          for the shooter, as reloading was not very efﬁcient. In 1846,
                                                                          Christian Schönbein,23 a German chemist, was conducting
                                                                          experiments at his home (against his wife’s wishes) when he
                                                                          spilled a mixture of strong nitric and sulfuric acids in his
                                                                          kitchen. He wiped up the mess with his wife’s cotton apron
                                                                          and hung it over the stove to dry. This apron ignited and
                                                                          disappeared almost instantly, leaving behind no ashes. What
                                                                          he discovered was nitrocellulose. This material provides less
                                                                          heat and smoke and has much more explosive force per gram
                                                                          compared with black powder. This new ‘‘guncotton’’ was no-
                                                                          toriously unstable and thus underwent several generations of
Figure 2. Ammunition, round, shell, or cartridge. 1 indicates             changes. During this evolution, scientists also developed the
bullet; 2, casing; 3, propellant; 4, rim; and 5, primer cap.              primer, which when compressed, would explode. This in-
                                                                          vention enabled the modern cartridge to be developed. In
Casing                                                                    1887, Alfred Nobel obtained a patent for a smokeless gun-
       The casing is typically made from brass, steel, aluminum           powder that he called Ballistite.24 It is believed that the criti-
(or plastic in the case of shotgun shells) containing a propellant,       cism Alfred Nobel bore because of his leading role in the
which is a smokeless gunpowder, and the projectile or bullet,             manufacture and sales of weaponry spurred him to donate his
which is ﬁt tightly at the end. The neck size, overall length, case       wealth to science, both creating the prize that bears his name
body diameter, rim type, case body tapering, bullet weight, and           and simultaneously improving his reputation.
caliber are critical speciﬁcations that are speciﬁc for a particu-
lar type of cartridge. Cartridges are available in various sizes          Projectile/Bullet
or shapes but are commonly cylindrical with a taper toward the                   The projectile or bullet is the part of the cartridge that
head of the cartridge.                                                    exits the weapon and comes in every imaginable shape and
                                                                          size. Bullets are an important part of the damaging potential of
Primer                                                                    a weapon because they affect the kinetic energy imparted to
       Opposite the projectile, the primer is a type of a blasting        the target tissue. It depends not only on the size and weight
cap that ignites the smokeless gunpowder when struck by a
small metal ﬁring pin (Fig. 2). This initial spark causes a
conﬂagration that results in rapidly expanding gasses and
the propulsion of the bullet down the barrel of the weapon.
Centerﬁre and rimﬁre are the two common designs of a
cartridge based on the location of the primer in the cartridge.
In a centerﬁre cartridge, the primer is located in the center of the
cartridge in the back of the cartridge, while in a rimﬁre, the primer
is located on the edge. Centerﬁre cartridges are safer, are more
reliable, and can withstand higher amount of pressure without
disintegrating in comparison with rimﬁre cartridges.

Propellant
       The discovery of gunpowder was revolutionary and di-
rectly related to the evolution of ﬁrearms. Black powder (the
ﬁrst type of gunpowder) was made from mixing sulfur, char-
coal, and potassium nitrate. This invention forever changed the
civilized world. Black powder was initially used for the crea-
tion of ﬁreworks ﬁrst described in the seventh to the ninth
century.22 The explosive power was used in many ways but                  Figure 3. Various sizes of bullets and rounds. Variety of
soon found its way into weaponry and the creation of guns,                cartridges or rounds, from 0.22 cal handgun round, 9-mm
cannons, and rockets. In the 13th century, the ﬁrst primitive             hollow point handgun round, 5.56-mm riﬂe round, 7.63 riﬂe
ﬁrearm was the ﬁre lance, which was made from bamboo or a                 rounds, 0.50 cal riﬂe round, average pen for comparison.

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                                                                        that is, ‘‘abstaining from the use of bullets which expanded or
                                                                        ﬂattened easily in the body.’’ The Hague Convention of 1987
                                                                        reafﬁrmed forbidding projectiles that ‘‘cause unnecessary
                                                                        suffering.’’20

                                                                        Shape
                                                                               The shape of the bullet determines the ﬂight character,
                                                                        penetration capability, and the behavior of the bullet once it
                                                                        enters the target. The bullet penetrates the body easily due to
                                                                        the laws of physics as the point of the bullet is relatively small.
                                                                        The bullet shape and surface area of the bullet are what de-
                                                                        termines penetration. Although a pointy bullet or ‘‘Spitzer
Figure 4. Fully jacketed bullets, on the top row, retain their          bullet’’ (from the German word Spitzgeschoss, which means
shape when traversing tissue. Partially jacketed bullets are            ‘‘pointy bullet’’) confers an aerodynamic advantage, at short
designed to expand upon entering tissue and thus deliver more           range, this is less of an issue. The pointy bullet has a lower drag
of their potential energy to their target.                              coefﬁcient, decelerates less, and is more accurate because it is
                                                                        less affected by crosswinds and is more stable in ﬂight. For
(density) of the bullet but the on composition of the bullet.           riﬂe bullets, there are many conﬁgurations such as ﬂat nose,
The center of the modern bullet is typically made of soft lead          Spitzer, and boat tails, which affect how the bullet acts during
because it is cheap, easy to work with, and readily available.          ﬂight and in the tissue, as the ballistic coefﬁcient variables
The modern-day bullet comes in precise diameters, lengths,              such as sectional density and drag are affected by the shape
mass, shape, and outer jacket, all of these factors help de-            and material. Instability in ﬂight is also important because
termine the energy and tissue damage imparted to the target             bullets do have some tendency to pitch and yaw during ﬂight
(Fig. 3).                                                               and once in the tissue. The roll or the spin caused by riﬂing in
                                                                        the barrel helps reduce the instability and highly affects the
Jacket on the Bullet                                                    ﬂight characteristics. Boat-tailed bullets have a sloping end
       The bullet is often covered by a metal jacket that is            narrowing gently at the base, which reduces the vacuum behind
typically copper, cupronickel, or steel alloy. A full metal jacket      the bullet and thus reduces drag. This reduction in drag will help
round typically refers to the bullet with a soft lead inner core        retain velocity because it is more aerodynamic and is used for
where the front and sides are completely covered by a thin              long-range shots. Although it is mainly designed to affect the
metal. Full metal jacket bullets reduce lead vapor generation,          ﬂight characteristics, some falsely believe that it increases the
which is better suited for indoor ﬁring ranges. A full metal            tumbling of the bullet once the target is hit.
jacket results in less expansion, fragmentation, and deforma-                  Another important variable of shape is the hollow point
tion of a bullet when the target is hit reducing tissue injury.25       bullets designed for handguns (Fig. 5). Handguns are for short
The design of the outer jacket of the bullet is central in de-          range, and thus, the ﬂight characteristics are less important.
termining the magnitude of tissue injury and has been a focus           One of the design intents of hollow point bullets is that the
of international, military consensus meetings during the past           hollow point will result in more deformation of the bullet on
120 years. The jacket is essential for the bullet traveling more        impact, and thus, more tissue injury will occur, but the main
than 2,000 ft/s to prevent deformation and melting from the             design characteristic is that the deformed bullet is less likely to
high temperatures in the barrel. Full metal jacket bullets also         pass through the body, minimizing the potential of bystander
reduce vapor generation, which is important for indoor ﬁring            injury.26 If the bullet deforms and does not pass through the
ranges. Conceptually, a full metal jacket bullet with less ex-          victim, then the entire kinetic energy of the bullet is imparted
pansion, deformation, and fragmentation may traverse tissue
imparting only a portion of its kinetic energy, whereas a par-
tially jacketed bullet deforms and fragments upon entering
tissue, increasing retention and transferring more kinetic en-
ergy to the tissue (Fig. 4). This concept is relevant because
bullets are used in wide circumstances from police handgun
bullets, to assault riﬂes, to small game and big game hunting.
Handguns often have semijacketed, hollow point, ballistic tip
bullets, which are discussed later in this review. On the other
hand, military experts have agreed to minimize devastating
tissue injuries by prohibiting bullets that are not fully jacketed.
Often attributed to the ‘‘Geneva Conventions,’’ the Czar of
Russia proposed and arranged a meeting at The Hague in                  Figure 5. .380 caliber round next to 9-mm hollow point round
1899 that included representatives from 26 nations (includ-             next to 9-mm round next to .380 round. When compared side
ing the United States). The result was a ‘‘Declaration Re-              to side, the rounds are different, but when comparing them
specting the Prohibition of the Use of Expanding Bullets’’              from the back, the diameter of the rounds is similar.

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                                                                           behind the bullet. The .22lr caliber handgun round (the most
TABLE 5. Caliber of Bullets in English and Metric
                                                                           popular of the .22 caliber cartridges) can be shot in revolvers or
Caliber          Conversion        Similar              Type of            semiautomatic handguns or riﬂes and is a very low-energy
in inches       to Millimeter    Metric Round           Firearm            round with a very small bullet. In contrast, the typical round
.22                  5.59                        Handgun and riﬂe          used in military assault riﬂes are the .223 round (metric sys-
.223                 5.66            5.56        Riﬂe                      tem, 5.56 mm). The riﬂe rounds are either 22.3/100th of an
.30                  7.62            7.62        Riﬂe and machine gun      inch or 5.56 mm in diameter (Table 5). Although the caliber of
.357                 9.07               9        Handgun                   the .223 assault riﬂe round is similar to the .22 handgun round
.38 special          9.65                        Handgun                   in diameter, the bullet mass and length are larger and contain
.380 ACP             9.65                        Handgun                   much more propellant or smokeless gunpowder. The result is
.40                 10.16             10         Handgun                   that the assault riﬂe round has more than four times the muzzle
.44 mag             11.18             11         Handgun                   velocity compared with the handgun round and more mass
.45 ACP             11.43                        Handgun                   and thus signiﬁcantly more kinetic energy, even though the
.45 colt            11.43                        Handgun                   calibers are similar (Tables 3 and 4). Similarly, the 9-mm
0.50                12.7                         Riﬂe and machine gun      bullets from the most common handgun are 9 mm in diam-
   ACP, Automatic Colt Pistol.
                                                                           eter. The .380 and .357 bullets (using English dimensions) are
                                                                           similar in caliber to the 9-mm bullet (Fig. 6). Table 1 shows
                                                                           various sizes of the bullets in inches with comparable metric
to the victim. The goal of transferring all of the kinetic energy          equivalent.
is in hopes of knocking down the person or ‘‘dropping’’ the                       The common English nomenclature handgun rounds are
person. This is known as ‘‘stopping power.’’ Some hollow                   the .22, .38, .357, .40, .44, and .45. Grain is an older standard
point bullets are so well designed that the expansion is precise           measure of mass and can refer to the amount of propellant
and reproducible such as the ‘‘black talon’’ bullet. This type of          behind the bullet and also denotes the weight of the bullet.
modiﬁcation to enhance wounding capacity is not modern.                    One grain is equal to 64.79891 mg. Although the .38 special is
One of the earliest reports was in 1897 when the British scored            a common round used in revolvers by the police in the 1960s
the bullets externally to promote fragmentation to stop fa-                and 1970s, this round is vastly different from the .357 mag-
natical Indian Tribesman. The ‘‘dum-dum’’ bullet was devel-                num because of the amount of propellant, even though the
oped by the British by removing the jacket at the nose of the              diameter of the bullet is similar. President Lincoln was as-
bullet to expand (mushroom) on impact to limit penetration                 sassinated with a .44 caliber Derringer revolver, President
and produce a larger-diameter wound for increased incapaci-                Garﬁeld was assassinated with a .44 caliber Webley Bulldog
tation. At the British military facility, Captain Neville Bertie-          revolver, and President McKinley was assassinated with a
Clay developed the Mark IV cartridge, the so-called dum-dum                .32 caliber Iver Johnson ‘‘Safety Automatic’’ revolver that was
bullet (Dum Dum is a city in West Bengal, India). These were               purchased for $4.50.
the types of bullets that have been banned in warfare by the                      The .380 is a round used in a semiautomatic handgun
Hague Convention. During World War I, the Germans also                     that is most well-known for its use by James Bond in the 007
similarly altered their ammunition. A more recent modiﬁca-                 movies. The .380 bullet is similar in diameter to the 9-mm
tion highlighted by the shooting of President Regan is the                 semiautomatic handgun used by law enforcement and the mili-
explosive bullet, designed to detonate after the bullet was                tary. Although the diameter may be similar among various
imbedded in the victim’s tissues.27 The earliest report is at-             bullets, the length and weight of the bullet and the amount of
tributed to the British in 1822, who designed the bullet with              propellant are not normally distinguished in the nomencla-
delayed ignition of powder magazines, and these bullets were               ture. Ultimately, this equates to the muzzle kinetic energy
used in the Civil War. The modern version of this concept is               being different between the .380 and the 9-mm round (Fig. 5).
referred to as ‘‘Devastator’’ brand cartridges, which contained
small aluminum and lead azide explosive charges designed to
explode on contact, and this was used by John Hinckley when
he tried to assassinate President Regan in 1981.28 Hinckley
used a Rohm RG-14 0.22 long riﬂe blue steel revolver and ﬁred
six rounds in 1.7 seconds.

Caliber
       The outer diameter of the bullet is the caliber. It can be
confusing because nomenclature is large. The system is some-
what cumbersome because English or metric systems are used.
The English system measures bullets in hundredths of an inch,
and the metric system uses millimeters. A .22LR, L, or S caliber
bullet is 22/100th of an inch in diameter. The abbreviations               Figure 6. Handgun ammunition is considered low velocity and
after the diameter stand for long riﬂe, long, or short, respec-            designed for short-range targets. The bullets vary widely in
tively, and denote the power charge and size of the casing                 design; the left is a 50 cal magnum; the right, a 22 cal short.

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It seems that in recent modern era, the kinetic energy of
handguns continues to increase.29

              THE ANATOMY OF WEAPONS
       Modern-day ﬁrearms are available in a variety of shapes
and sizes and are routinely classiﬁed based on their caliber
(bore diameter) and the type of used action (revolver, semi-
automatic, automatic, bolt action, muzzle loader, etc). Guns are
traditionally deﬁned as low velocity and high velocity. Most
handguns are considered low velocity, and most riﬂes are
considered high velocity.
Handguns
      Handguns are designed to be handheld. They were
conceived as compact weapons primarily to be used for self-
defense. Legally, handguns are considered concealable and
governed by strict legislations across various states in the
United States. Handguns are also considered low velocity.
Single-shot pistols, revolvers, and semiautomatic are the three
common types of handguns.
                                                                         Figure 8. Semiautomatic pistols. Top gun is Baretta 92FS
Single-Shot Pistols                                                      Brigadier, similar to the weapon used in the military. Bottom
      Single-shot pistols are capable of holding only a single           gun is Walther PPK, which is small and concealable, popularized
round of ammunition and are required to be reloaded after each           in Ian Fleming’s novels featuring James Bond 007.
shot. These are a very simple type of handguns that were used
regularly in the 19th century. However; currently, these have            the shooter to pull the trigger (long pull), which cocks the
been largely replaced by revolvers.                                      hammer and ﬁres the gun, performing a double action with just
                                                                         one pull of the trigger. A double-action revolver can also
Revolvers                                                                function as a single-action revolver when the hammer is cocked
       Revolvers have a revolving cylinder containing multiple           back against the spring and the pull of the trigger (short pull)
chambers5,6 that are capable of ﬁring multiple rounds with a             sends the hammer forward striking the pin.
single load. Revolvers are of two types, namely, single action                 The modern-day revolver such as the .44 magnum (Fig. 7) is
and double action. The single-action pistol requires the ham-            a double-action handgun, and all six bullets can be ﬁred with only
mer to be manually pulled back against a spring with the thumb           six pulls of the hammer. In comparison, the single-action revolver
with the ﬁrst action. The second action of the trigger being             such as the Colt 45 peacemaker western style gun used in western
pulled sends the hammer forward striking the ﬁring pin, which            movies requires the cocking of the hammer in between every
strikes the primer of the round in the chamber causing the bullet        pull of the trigger. Revolvers are simple in design, are cheaper
to ﬁre. Every time the hammer of the revolver is cocked, the             to manufacture, have less moving parts, and are more reliable
revolving cylinder realigns itself to the next chamber and is            in performance and operation as compared with semiauto-
ready to ﬁre the next round. The double-action revolver enables          matic handguns. On the other hand, revolvers are limited to
                                                                         ﬁve or six cartridges when fully loaded.

                                                                         Semiautomatic Pistols
                                                                                Semiautomatic pistols are a third group of handguns that
                                                                         have a single ﬁxed ﬁring chamber that is located in the rear of
                                                                         the barrel and a magazine so they can be used to ﬁre multiple
                                                                         rounds without the requirement of reloading after each round
                                                                         (Fig. 8). This gun requires a manual chambering of the ﬁrst
                                                                         bullet to be ﬁred, which is stored in the magazine or clip. The
                                                                         magazine can typically hold 7 to 17 rounds stacked one on top
                                                                         of the other and have a spring to push the rounds upward. The
                                                                         slide of the gun is pulled back against a spring, and this cocks
                                                                         the hammer and loads the ﬁrst round into the chamber of the
                                                                         gun. When the trigger is pulled (short pull), the hammer strikes
                                                                         a pin that strikes the primer of the round. With the expansion of
                                                                         the gas caused by the conﬂagration of the propellant, the bullet
Figure 7. This is a 44 magnum revolver handgun, also known as            is propelled forward through the barrel and sends the slide
‘‘Dirty Harry,’’ and known for its relatively high muzzle velocity.      backward, cocking the hammer again, ejecting the expelled

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                                                                        of the gun. This provides gyroscopic stability to the projectile
                                                                        in space and minimizes the projectile from tumbling or de-
                                                                        viating from its ballistic path. In addition, this also allows for
                                                                        aerodynamic efﬁciency of the projectile and helps improve
                                                                        range and accuracy of the gun. The riﬂing typically is one full
                                                                        twist per foot. This is termed 1:12, but the modern-day assault
                                                                        riﬂes will come with 1:7 to 1:14.
                                                                               Riﬂes come as single shot, bolt action, or semiautomatic
                                                                        or automatic. Traditional hunting riﬂes were loaded at the
                                                                        breach and had to be reloaded after each shot. Newer hunting
                                                                        riﬂes and sniper riﬂes are typically bolt action riﬂes (Fig. 9).
                                                                        They have a bolt with a handle that is lifted to allow the bolt to
                                                                        come back exposing the chamber, and the round can be
                                                                        placed into the chamber from either above or below with the
                                                                        use of a magazine holding the rounds in a stacked fashion.
                                                                        Each round ﬁred requires a manual process of reloading by
                                                                        manually pulling the bolt back, which also cocks the striker
Figure 9. Bolt action riﬂe, 300 Weatherby magnum riﬂe,                  against a spring and the forward push of the bolt, and then,
typically used for wapiti hunting.                                      twisting and locking the bolt into position readies the riﬂe to
                                                                        be ﬁred with a short pull of the trigger. Hunting riﬂes are
                                                                        designed to kill big game animals with ideally a single shot,
shell, and loading the next round into the chamber and barrel.
                                                                        and thus, the ammunition is relatively bigger compared with
Modern-day semiautomatic pistols have a double-action ca-
                                                                        handgun ammo (Fig. 10). Muzzle loading riﬂes are single shot,
pability. If a round has been chambered already and the
                                                                        usually with a .45 or .50 caliber slug (bullet) that is loaded via the
hammer is in the uncocked position, a long pull of the trigger in
                                                                        end of a barrel.
one action will cock the hammer and send it forward with one
                                                                               The semiautomatic riﬂe, like the semiautomatic hand-
long pull. After discharging the ﬁrst round, the gun is then
                                                                        gun, uses the recoil of the ﬁred round to load the next round into
ready to be ﬁred with a short pull as the discharging and
                                                                        the chamber. The semiautomatic riﬂe ﬁres a round each time
recoiling process cocks the hammer and loads the next round
                                                                        the trigger is ﬁred until the magazine or clip is empty. Assault
simultaneously. Thus, with a semiautomatic handgun, all the
                                                                        riﬂes are semiautomatic or fully automatic. An assault riﬂe is
rounds in the bullet can be ﬁred as fast as the trigger can be
                                                                        shoulder ﬁred and uses intermediate-sized cartridges in a clip or
pulled until the rounds in the magazine are spent. High-
                                                                        magazine and may have selective ﬁre between semiautomatic,
capacity magazines that can hold more than 10 rounds were
federally banned from manufacture in the United States in
1994, but this ban was allowed to expire and has not been
legislatively renewed at the federal level. Eight states currently
have bans on these magazines. Consequently, most pistols sold
in the United States can hold 7 to 17 rounds, but high-capacity
magazines holding up to 30 rounds are easily available.

Long Arms
       Long arms are the category of ﬁrearms with longer barrel.
These weapons are required to be ﬁred using both hands braced
against the shoulder or hips. The barrel length commonly ranges
between 10 in and 36 in and is mounted on a stock (wooden,
plastic, or metal) that provides the grip while ﬁring the gun. Long
arms provide the user more hand grip because of the longer barrel
and also higher precision and stability while aiming at a target
in comparison with handguns. Riﬂes and shotguns are the two
most commonly available types of long arms.

Riﬂes
      A riﬂe is a type of long arm that has helical groove or a         Figure 10. Big game hunting and military ammunition are high
                                                                        velocity and designed to retain bullet stability for delivering
distinct pattern of grooves (riﬂing) cut into the barrel walls. As
                                                                        major destructive kinetic energy at longer distances. The top
a result of this pattern of grooving, the term riﬂe was coined to       row is typical big game hunting ammunition, ranging on the left
this design of a long arm. Within the barrel, a riﬂe has raised         a 300 Weatherby magnum to the right a 30.06 Springﬁeld. On
areas of the riﬂing commonly called as lands. These lands after         the bottom row is typical military ammunition, on the left, an
coming in contact with the projectile impart a spin or roll to          AK47; the middle, an M-4; and the right, an AR15 with a Teﬂon
the projectile around an axis corresponding to the orientation          jacketed bullet.

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automatic, or even burst ﬁre, which is typically three rounds.
Burst ﬁre was developed to save ammunition because typ-
ically only the ﬁrst three rounds will be near the intended
target as the recoil aims the gun elsewhere than intended
(Fig. 11). A machine gun typically refers to an automatic
riﬂe that has its ammunition belt fed. This riﬂe will shoot
continuously as long as the trigger is pulled and stops when
the trigger is released or the rounds have been expended. A
submachine gun is an automatic, magazine-fed weapon that is
typically bigger than a handgun but shoots handgun rounds.
The effect of being shot with a submachine gun is the same as
being shot with a handgun.

Shotguns
       Shotguns are a smooth bore long arms that ﬁre a variety
of projectiles from small spherical pellets (birdshot) to large
spherical pellets (buckshot) to solid lead projectiles (slugs).         Figure 12. A, Shotgun ammunition usually contains multiple
Shotguns have an external appearance similar to riﬂes but differ        pellets, varying considerably in number and size, which are
in the lack of riﬂing inside the barrel. They exist in breach load,     designed for short-range targets. On the right are 50 cal lead
pump (rounds are ejected and the weapon rearmed from a                  slugs used in muzzle loading riﬂes. B, Sears-Roebuck
magazine with a pump of the forearm mechanism), lever action            semiautomatic shotgun.
(works much like a pump shotgun but uses a lever to extract
and chamber shells), and semiautomatic varieties. These have a          of the barrel decreases (Table 6). The most commonly used
wide caliber range, from 5.5 mm to approximately 2 cm (Fig. 12).        shotgun shell is the ‘‘birdshot’’ consisting of hundreds of small
Gauge is the caliber of the shotgun. It is determined by the            lead pellets. ‘‘OO’’ double ought buckshot contains only nine
number of lead balls of equal size that make one pound. A 12-           pellets, and each has the potential wounding equivalent of a
gauge shotgun is the most popular hunting weapon that has               small handgun round, and a ‘‘slug’’ is one large projectile.
a bore diameter equal to the size of 12-lead balls that add up to              Tissue injury is dependent on the kinetic energy of the
one pound. As the gauge of the shotgun increases, the caliber           shotgun shell and the distance between the weapon and the
                                                                        victim.30 When shotgun wounds occur at close range (G3
                                                                        yards), the pellets act as a single large projectile. These injuries
                                                                        can be devastating mainly because of the transfer of energy.31
                                                                        The energy of the pellets is reduced dramatically over relatively
                                                                        short distances. Compared with the energy measured at the
                                                                        muzzle, at 50 yards, this energy is reduced to approximately
                                                                        30% to 50% and even more when pellets are used. Shotgun
                                                                        pellets are not aerodynamically efﬁcient or stable. In inter-
                                                                        mediate range shotgun injuries (3Y7 yards), the pellets will
                                                                        spread apart and no longer act as a single projectile. Typically,
                                                                        at this distance, spread will be approximately 12 in, and fascial
                                                                        penetration and multiple solid and hollow viscus injuries are
                                                                        typical. Long-range (97 yards) shotgun injuries with bird
                                                                        (small) shot will present with many skin wounds over a large
                                                                        area (the whole back, or the entire abdomen and chest) and do
                                                                        not often penetrate the fascia.32
                                                                               Given the relatively large amount of energy imparted to
                                                                        each pellet in a buckshot cartridge as compared with the small
                                                                        amount of energy imparted to each pellet in a birdshot cartridge,


                                                                        TABLE 6. US Shotguns
                                                                        Caliber       Pellet/Grains      Velocity, ft/s       Muzzle Energy, ft lb
                                                                        .410                88              1,825                       650
                                                                        20 gauge           273              1,600                     1,565
                                                                        16 gauge           383              1,500                     2,000
Figure 11. A, Semiautomatic assault riﬂe with adjustable stock,         12 gauge           545              1,330                     2,145
scope, heads up sighting system, and laser targeting device. B,         12 gauge           700              1,320                     2,725
Same riﬂe with a different handguard, lighting system, and sling.

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patients shot with buckshot should be thought of as having been           hit, in which case the bullet will typically fragment, and trail of
shot multiple times with a low-velocity weapon (Table 6). The             fragments and bone can be seen in the general direction of the
vast majority of these patients will have visceral injuries requiring     resulting path. Lacerations are also highly dependent on the
surgery even after a long-range buckshot injury, and conservative         deformation of the bullet as with hollow point bullets, which
management is not recommended.33 Shotguns are commonly                    can be designed to splay out with multiple sharp edges, which
used for hunting fast moving birds and smaller animals at in-             can slow the bullet down to stop in the tissues, thus transferring
termediate ranges.                                                        all of the kinetic energy and causing more tissue injury because
                                                                          of the sharp edges (Fig. 4).

                      TISSUE DAMAGE
                                                                          Cavitation
      Overall, the effect of tissue injury depends not only on                  A bullet with sufﬁcient energy will have a cavitation
the muzzle kinetic energy, the distance from the muzzle to the            effect in addition to the penetrating track injury.35,36 As the
victim, and the dissipation of the kinetic energy, that is, whether       bullet passes through the tissue, initially crushing then lacer-
the bullet is retained or passes through the tissue, but also on          ating, the space left by the tissue forms a cavity, and this is
the type of tissue encountered by the bullet.                             called the permanent cavity. Higher-velocity bullets create a
      As the bullet hits the target object, the kinetic energy of         pressure wave that forces the tissues away, creating not only a
the bullet is transferred to the target tissue. In addition to the        permanent cavity the size of the caliber of the bullet but also
characteristics of the bullet, the type of tissue is key in deter-        a temporary cavity or secondary cavity, which is often many
mining the extent of injury. Skin and lung tissue has low                 times larger than the bullet itself (Fig. 13). This temporary
density but is elastic and therefore is injured less compared             cavity depends not only on the energy imparted by the bullet to
with muscle, which has higher density and only some elasticity.
Similarly, the liver, spleen, and brain have minimal elasticity
and thus are more severely injured by a bullet of similar energy.
Fluid-ﬁlled organs such as the bladder, heart, great vessels, and
bowel can transmit kinetic energy more because they are not
compressible and can result in bursting the organ. Bullets
usually cause fracture and fragmentation of bone because they
have minimal to no elasticity and may even produce secondary
fragments, which can act as another missile resulting in injury
to adjacent tissues.

Types of Tissue Damage
Laceration and Crushing
       Laceration or crushing type of injury patterns are
generated by shear forces. Bullets do not typically follow a
perfect straight line to the target. Rotational forces keep the
bullet off a straight axis of ﬂight. Yaw angle is the angle
between the longitudinal axis of the projectile and the path of
the projectile. When the bullet is travelling with its front end
forward, the yaw angle is zero. However, if the bullet yaws
90 degrees, the entire longitudinal axis of the bullet crushes
a larger tissue area at point of impact.34 There are myths that
bullets tumble in tissue and that all wounds have undergone
similar distortions of gelatin blocks exploding. The tissue
that is injured determines the path of the bullet and what it
does in the body. It is highly variable.
       In contrast to popular opinion, bullets also do not bounce
around in the body. In general, bullets do not tumble when the
skin is pierced, but high-energy rounds may begin to tumble as
energy is dissipated upon travel through deeper tissue. The
natural tendency is that the high-energy bullets will become
unstable as they decelerate. These bullets may pitch and yaw,
and the back end of the bullet may become the leading edge.
During this distance, the energy of the projectile is absorbed by
the surrounding tissue, causing stretching and tearing of tissue.
       In contrast to high-velocity rounds, handgun bullets will
generally travel in a relatively straight line and will either            Figure 13. A, Gunshot wound to the posterior neck with large
traverse the body in a straight line or make one turn if a bone is        tissue defect. B, Wound with surgeons hand in it.

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the tissues but also on the density and elasticity of the tissue        take seconds, minutes, or days to kill a person. It is obvious that
that it passes through, causing stretches and tears.37 This is          rapid lethality is determined by what is injured by the bullet
commonly referred to as blast injury, but the correct termi-            such as the brain, heart, or major vessels. Injuries to the spinal
nology is cavitation injury. Skin, muscles, and intestines are          column can be lethal if the injury is high enough on the spinal
absorbers of energy and hence are highly resistant to the de-           column.39 Lethal wounds do not necessarily incapacitate im-
velopment of secondary cavitation. Organs such as the liver,            mediately. In general, the bigger the bullet, the bigger the gun.
spleen, kidney, and brain, which have relatively low tensile            However, even the largest handgun does not have the kinetic
strength, are likely to split or shatter because of the develop-        energy to knock down an average adult. If a person was shot
ment of temporary cavitation.38 If the muzzle of the weapon is          and the bullet did not exit, then all the kinetic energy of the
close enough to the skin (close range), gases from the con-             bullet is transferred or absorbed by the person. The energy of
ﬂagration of the propellant gunpowder can be blown into the             the bullet simply does not have enough energy to knock back a
tissue causing additional cavitation with expansion of tissues.         person signiﬁcant distances as portrayed in movies. Because of
High-velocity rounds are much more likely to have signiﬁcant            Newton’s third law of physics, if the energy of the bullet was
cavitation injury (Fig. 13). Although the distance traveled by          sufﬁcient to cause a victim to be blown backward after being
the bullet is relatively short, this high-velocity wound to the         shot, then similarly, the shooter would also be blown back
back of the neck results in a large tissue defect. Most agree that      because for every action, there is an opposite and equal re-
the more solid and less elastic the tissue, the more profound is        action. The Hollywood examples of people being shot out of a
the cavitation. Thus, an injury to the thorax will have less            window as they are blown back are ﬁction and propagated by
cavitation than an injury to the liver. In injuries to the thorax,      continued Hollywood productions. The stopping power of a
severe lung injury, when seen, is most likely caused by sec-            weapon depends more on where the target was hit than on the
ondary missiles created by bullet impact and shattering of ribs         energy of the bullet.40 Videos of people being shot during
and the resulting bleeding around the bullet track. When a              common convenient store robberies show that the robber or
chest computed tomography is obtained in cases of a gunshot             clerk shot through the chest or abdomen can be shot numerous
wound to the chest, the ﬂuid-ﬁlled tract is caused more by              times but can still run a distance before falling. A bullet fracturing
hemorrhage than by cavitation injury. Figure 14 is a transaxial         a femur would drop a person no matter the size of the bullet.
abdominal gunshot wound with a high-velocity weapon; on                 The thought that bigger bullets will have a better stopping
the patient’s right side, the entry wound is barely noticeable,         power is most likely for the larger-caliber bullets being used in
but the exit wound on the left side of the abdomen was ap-              civilian urban settings.29
proximately 3 cm, and the cavitation effect resulted in evis-
ceration of bowel.
                                                                        Big Guns Kick, Little Guns Don’t
                                                                                The ‘‘kick’’ of the handgun (known as recoil) does not
                   MYTHS AND FACTS                                      knock down the shooter. In general, weapons with larger
Stopping Power                                                          muzzle energy kick more than lower-energy weapons. How-
                                                                        ever, the kick of the gun depends both on the round that is shot
       Stopping power is the ability to wound enough to inca-
                                                                        as well as on the weight of the weapon (heavier weapons kick
pacitate the victim where they stand. This is in contrast to le-        less.) The kick or recoil of the weapon is dissipated as this
thality, which is killing power. A lethal gunshot wound may             energy is transmitted in a spring-like fashion to the arms and
                                                                        joints of the shooter. When a hunter shoots a riﬂe, the energy
                                                                        felt by the shooter is dissipated because of the body’s ability to
                                                                        absorb this shock. In addition, most hunting riﬂes have recoil
                                                                        pads to absorb some of this energy. The shooter of the riﬂe who
                                                                        shoots a round from standing absorbs the energy, and the
                                                                        energy or recoil is felt in the shoulder. If lying down in a prone
                                                                        position, the energy in the shoulder is higher and felt more than
                                                                        when the shooter is standing because the forces of friction
                                                                        between the shooter and the ground as well as the weight and
                                                                        position of the prone shooter does not allow for as much
                                                                        movement of the body. Thus, a stronger impact on the shoulder
                                                                        is felt. If the hunter were to stand against a big tree or a wall to
                                                                        stabilize themselves with the shoulder against the stationary
                                                                        stabilizer (not recommended), the hunter shooting the riﬂe
                                                                        would feel the entire force of the energy imparted to the riﬂe.
                                                                        The effect will be like a hammer impacting an anvil. The
                                                                        shooter who discharges the riﬂe with his shooting shoulder
                                                                        against an immovable object can have enough energy to cause
Figure 14. Evisceration of bowel through 3-cm exit wound on             injury to the shoulder. This type of injury to the shoulder with
the left side of the abdomen created by high-velocity weapon            dislocations and fractures is seen in inexperienced hunters.
(AK47), probably caused by cavitation effect.                           Handguns dissipate the energy of recoil of the gun at the hands,

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wrist, elbow, and shoulder and will not have as noticeable a            Bureau of Investigation and the military’s Special Forces ex-
kick as a riﬂe or shotgun.                                              perimented with the 10 mm, which is equal to the 40 caliber.
                                                                        Although the muzzle energy is greater in the 10-mm round, the
Large-Caliber Weapons Are More Lethal Than                              difference is not signiﬁcant enough to change the stopping power.
Small-Caliber Weapons                                                   The ability of the bullet to enter but not exit is dependent to a
       Lethality depends more on the number of ‘‘rounds on              degree on the bullet shape such as the hollow point bullets, but
target’’ rather than what gun you are shooting.41,42 Most ex-           even if retained, it does not have the energy to stop a person.
perienced trauma surgeons will testify that what part of the                    In military and law enforcement, shotguns are used as
body is hit by that gun is more important than the size of the          close-range combat weapons or as a weapon for self-defense. In
gun. Some enthusiasts believe that a smaller bullet and power           fact, it could be argued that the shotgun is the optimal weapon
can deliver more precision and accuracy. This equates to more           for home defense for individuals with less experience with
‘‘rounds on target.’’ More rounds on target equates to more             guns. A shotgun at short range is easier to aim and hit a target,
chances of ‘‘knocking down’’ someone. The larger handguns               and the delivered wound can be equivalent to an assault riﬂe
that impart more energy will generate more recoil as well and           (Tables 3 and 4).
thus require more effort to aim and thus affects the number of
‘‘rounds on target’’ with precision and accuracy compared               Trauma Surgeons Are Experts in Ballistics and
with a smaller weapon with less recoil. The 44 magnum, the              Should Be Expert Witnesses in Court
gun used by ‘‘Dirty Harry’’ gun (popularized by the actor Clint                As seen in this lengthy article, ballistics is an ever-
Eastwood), has a bullet with a diameter of .44 in (Fig. 7) and is       changing and difﬁcult ﬁeld to master. For example, deﬁning
similar to the 45 but normally comes with much more grains of           the entrance versus exit wounds of a bullet or multiple bullet
gunpowder in the cartridge and has one of the highest amounts           injuries can be difﬁcult. Study with trauma specialists found
of recoil because it has one of the most amount of muzzle               that fatal or exiting gunshot wounds were misinterpreted 52%
energy in a handgun (Table 3). Knock down power thus is                 of the time.44 Thus, when describing gunshot wounds, it is
affected by what is hit and how many times much more than the           important to characterize the wounds but not label them as
caliber of the weapon. It is conceivable that a person charging         entry and exit wounds (Fig. 14). If the bullet fragments, it is
at the shooter that is shot in the heart may continue with their        possible that only one part of the fragmented bullet may exit
charge until the cardiac output from the heart is sufﬁciently           the patient. In these cases, the exit may be smaller than the
reduced. To stop or incapacitate a person immediately, the              entry. In scenarios when the bullet enters the skull, the entry
person has to be shot in the brain, high spinal cord, or bones of       may be large, depending on how close of a range the person
the leg, resulting in the person being knocked down or stop-            was shot. It is common that, if the energy of the bullet is
ping the person in their tracks.43                                      sufﬁcient, the entry of the bullet into the brain causes frag-
                                                                        mentation of the skull, and this impact causes cavitation, and
The Ideal Home Defense Weapon Exists                                    the entry wound may be larger than the diameter of the bullet.
       Much controversy exists regarding which weapon is best                  In addition to entrance and exit wound errors, trauma
for protection. The optimal home defense weapon would in-               surgeons often use the word ‘‘shrapnel’’ to describe bullet frag-
capacitate the desired target yet never cause collateral damage.        ments. This is a misnomer. Shrapnel injuries technically refer
This weapon does not exist. The typically used 9-mm handgun             to those injured by a Shrapnel shell. These shells, invented by
has been continually challenged as experience has shown that a          Major-General Henry Shrapnel (1761Y1842), a British Army
person shot with this gun does not necessarily stop immedi-             ofﬁcer and inventor, have not been used since World War I.
ately. The military for years issued a .45 caliber handgun              Thus, no one has been injured by shrapnel in almost 100
known as the Colt 1911. This gun was made by the Colt ﬁrearms           years. The shrapnel shell was an antipersonnel artillery
company in the year 1911, and thus, the synonym commonly                munition that has individual bullets or balls that are ejected
used is the 1911-.45. This handgun was the standard issue               out of the front when close to the target. There are variants of
during World War I, World War II, Korean War, and the                   this used currently such as the beehive munitions and the
Vietnam Conﬂict. The Colt 45 or the ‘‘peace maker’’ is a re-            antiballistic missiles.
volver with the same caliber used in most western movies. It is
the single-action 45 revolver. This is the gun used by ‘‘Billy the                                 SUMMARY
Kid’’ and ‘‘The Lone Ranger.’’ The diameters of the western
revolver and the semiautomatic pistol are the same and so are                 Gunshot wounds are, by any deﬁnition, an epidemic in
the kinetic energy in general as shown in Table 4. Approximately        the United States. We as health care providers need to know
three decades ago, the US military opened up to handgun man-            about the truths regarding guns, their ballistic bullets, and
ufacturers to compete for the contract to replace the Colt 1911         gunshot wounds. We have to address this silent injury as we
semiautomatic. The winner of the bidding process was Beretta            seem to ignore it because of its common daily occurrence.
who won the competition with the semiautomatic 9-mm handgun             Suicides by guns are a major factor in the number of deaths
called the Brigade. Complaints followed, but many feel that the         from guns. People attempt suicides everywhere in the world
key issue was that the Beretta was not a US-owned company.              but are particularly successful in the United Stated because
However, Beretta 9-mm Brigade has passed the test of time and           guns are ubiquitous.
has been an extremely reliable handgun. Some felt that the gun was            The statement ‘‘Guns don’t kill people, people kill
not big enough, and many law enforcement including the Federal          people’’ may be true; however, it is difﬁcult to kill with an

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                                                                     CURRENT OPINION



                  Another mass shooting: Time to ban the assault rifle

                                                                     Ernest E. Moore, MD




A     nother mass shooting wrenches the gut of America, and
      again we ask … why? As a trauma surgeon for 40 years
(and avid hunter for much longer), I am dismayed we remain
                                                                                              A confusing but critical concept to those unfamiliar with
                                                                                      firearms is the major difference in the energy between an AR
                                                                                      15 and a typical hunting rifle. The KE of a fired bullet will be
paralyzed over preventive measures. Mass shootings are funda-                         exerted on the shooter as recoil because of Newton's third law
mentally the net result of a deranged individual, who wants to                        of motion (every action has an equal and opposite reaction).
end the lives of random humans, and the ability for that individ-                     The AR 15 bullet carries 1,300 ft lb, whereas the typical hunting
ual to access an assault rifle. Thus, strategies to mitigate mass                     rifle is between 2,600 ft lb and 4,000 ft lb. The excessive recoil
shootings should logically focus on these root causes. Few would                      of a hunting rifle precludes rapid firing on target because of the
debate the need for improved mental health care in the United                         obligatory motion of the gun and its impact on the shooter. Thus,
States, but the typical mass shooter is usually not recognized as                     while providing ample bullet speed to inflict a lethal wound, the
mentally ill in the community. The increasing threat of terrorists                    moderate energy of the AR 15 allows shooting on target literally
further limits the effectiveness of identifying the deranged shooter                  as rapidly as the trigger can be pulled. The efficiency of the AR
prior to the event. Consequently, we are left with the alternative                    15 is further compounded by large capacity ammunition maga-
strategy of limiting access to assault rifles.                                        zines that permit feeding 30 or more bullets into the rifle without
        An assault rifle, by design, is intended to deliver fatal                     reloading. The incredible efficiency of an AR 15 has been well
wounds to multiple individuals within a short time period. The                        described by survivors of mass shootings.
recent shootings in Las Vegas testify to the effectiveness of this                            How do we convince our society that the assault rifle
weapon for this intended purpose. The AR 15, the most com-                            should be banned from public access and limited to military
monly used rifle in United States mass shootings, is the civilian                     and law enforcement? A common argument is that this weapon
version of the military assault rifle (M16 or M4). The effective-                     is essential for self-defense, particularly for those individuals
ness of the AR 15 is based on the ability to deliver small-sized                      who lack experience with handguns. However, a shotgun is
high-velocity bullets in rapid sequence. A brief review of the                        superior at short range (<15 ft); the typical 12 gauge shotgun
physics of firearm ballistics assists with understanding why the                      will deliver 2,200 ft lb. In fact, for this reason, military and
AR 15 is devastating in mass shootings.1 The killing potential                        law enforcement use shotguns for close-range encounters.
of a gun is primarily based on the amount of energy imparted                          Another argument is that we will be unable to eliminate the
by the bullet when it strikes the body. The bullet energy (kinetic                    AR 15 rifles already in existence in our society. A recent study
energy [KE]) is equal to one half of bullet weight (mass)                             from Australia2 reported that a ban on assault rifles in 1996
times the speed of the bullet when fired (velocity) squared                           resulted in no further mass shootings in the ensuing 20 years.
(i.e., KE = ½ MV2). Thus, velocity is the dominant factor in de-                              To mitigate the epidemic of mass causality shootings in
termining the killing potential. The 9 mm handgun is generally                        the United States, a logical first step is the elimination of the
regarded as an effective weapon; its bullet travels at 1,200 ft/s                     assault rifle. This should not be a political issue, but rather a
and delivers a KE of 400 ft lb. By comparison, the AR 15 bullet                       common sense decision based on what is good for society.
travels at 3,251 ft/s and delivers 1,300 ft lb. Tissue destruction of
the AR 15 is further enhanced by the phenomenon referred to as
cavitation, which is the capacity to destroy tissue beyond the
direct pathway of the bullet, and well documented to occur                                                         REFERENCES
with high velocity (>2,500 ft/s) bullets. For example, a typical                      1. Rhee PM, Moore EE, Joseph B, Tang A, Pandit V, Vercruysse G. Gunshot
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tion in the order of 1 in to 2 in. In comparison, an AR 15 will                       2. Chapman S, Alpers P, Jones M. Association between gun law reforms and
literally pulverize the liver, perhaps best described as dropping                        intentional firearm deaths in Australia, 1979–2013. JAMA. 2016;316(3):
a watermelon onto concrete.                                                              291–299.



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